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 6                                       UNITED STATES DISTRICT COURT
 7                                      EASTERN DISTRICT OF CALIFORNIA
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 9   CHAY’IM BEN-SHOLOM                            )    Case No. 1:93-CV-05531 AWI
     a.k.a. Ryan Michael Marshall,                 )
10                                                 )    DEATH PENALTY CASE
                                 Petitioner,       )
11                                                 )    MEMORANDUM DECISION AND ORDER
              vs.                                  )    FOLLOWING EVIDENTIARY HEARING
12                                                 )    GRANTING PETITION FOR WRIT OF
     ROBERT L. AYERS, JR., as Warden               )    HABEAS CORPUS AS TO PETITIONER’S
13   of San Quentin State Prison,*                 )    SENTENCE AND DENYING ALL CLAIMS
                                                   )    AS TO HIS CONVICTION AND DEATH
14                               Respondent.       )    ELIGIBILITY
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27   * Robert L. Ayers is substituted for his predecessor, Jeanne S. Woodford, as Warden of San Quentin
     State Prison pursuant to Federal Rule of Civil Procedure 25(d).
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 1   I.       Factual Background.
 2            This case involves the tragic murder of Silva Teague, a middle-aged homemaker in rural Visalia.
 3   Mrs. Teague was shot to death in her home on Wednesday, January 23, 1985 during a burglary-robbery
 4   of weapons by Petitioner Chay’im Ben-Sholom1 (“Ben-Sholom”) and two companions. It is undisputed
 5   that Ben-Sholom fired four bullets into the base of Mrs. Teague’s skull as she lay face down in her
 6   bathroom. At the time, Ben-Sholom was about six weeks shy of his 19th birthday.2 It is further
 7   undisputed that Ben-Sholom, at the time of the killing was involved in what he perceived as a “military
 8   mission” with the ultimate purpose of obtaining weapons he and his companions would use as members
 9   of the Karen National Liberation Army in the country of Burma (now Myanmar). Ben-Sholom’s
10   companions were John Calhoun, a young man of Ben-Sholom’s age, and Christopher Seaman, who was
11   a few years older. According to Ben-Sholom’s account of the offense, Seaman was the “commander”
12   of the “mission,” Calhoun was next in command, and Ben-Sholom was the “point-man” who was to
13   “take any shells” that might be fired from the house and carry out the orders. Seaman was in charge of
14   the “mission” because he knew where the guns were kept in the Teague residence. The break-in was
15   planned for mid-afternoon because no one was supposed to have been home.                  Ben-Sholom’s
16   understanding was that the order to kill Mrs. Teague emanated from Seaman and was communicated to
17   him by Calhoun. Ben-Sholom shot Mrs. Teague in the manner he did to ensure her death would be
18   painless and instantaneous.
19            The three young men left with five weapons taken from the Teague residence. They planned to
20   go to Mexico and from there to El Salvador or somewhere in South America where they then would
21   proceed to Asia. The were apprehended in Needles, California, near the Arizona state line at
22   approximately 1 p.m. on Thursday, January 24, 1985. Shortly after his booking, Ben-Sholom was
23   transported to an area hospital emergency room by local authorities for treatment of high blood pressure.
24   The anti-hypertensive medication, Inderal, was administered.
25
              1
              Known as Ryan Michael Muldworf until his parents married in 1972 (when he was 7 1/2 years
26   old), his name was changed to Ryan Michael Marshall thereafter. He changed his name legally to
     Chay’m Ben-Sholom after being committed to San Quentin State Prison for the present offense. In this
27   Memorandum Order he is referred to by his legal name, Chay’m Ben-Sholom.
28            2
                  His date of birth is March 11, 1966.

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 1            Investigative questioning of the three young men commenced late that same night, after Sheriff’s
 2   deputies from Tulare County arrived in San Bernardino County. Of the three suspects, Ben-Sholom was
 3   last to be questioned. His interrogation began at 1:15 a.m. on Friday, January 25, 1985, after he was
 4   awakened from his sleep. During the tape-recorded interview, Ben-Sholom described the offense in
 5   terms of a military mission and expressed regret in having been prevented from going to Burma to fight
 6   the Communists has he had planned. Later that day, during business hours, Tulare County officials
 7   obtained and served arrest warrants on the three suspects, who were then transferred to the main San
 8   Bernardino County Jail where they remained until a Tulare County Sheriff’s van came to collect them.
 9   The van was dispatched from Tulare on Sunday, January 27, 1985. On Monday, January 28, 1985, the
10   suspects were returned to Visalia, the county seat for Tulare County.
11            On that day, however, they were not arraigned. Instead, each was re-interviewed by Sheriff’s
12   investigators. In Ben-Sholom’s second custodial statement, which again was tape-recorded, he
13   recounted how the robbery plan was conceived and what the plans were. He also graphically explained
14   how he shot Mrs. Teague. That same day, Monday, January 28, 1985, the District Attorney’s Office
15   hired psychiatrist James R. Richmond, M.D. to interview Ben-Sholom. Dr. Richmond was retained by
16   Deputy District Attorney Patrick O’Hara to determine whether Ben-Sholom would be able to pursue a
17   psychiatric defense at trial.
18            At trial, and to a much greater extent on federal habeas, Ben-Sholom is portrayed as a lost soul,
19   who, as the result of severely abusive treatment at the hands of his father, Lonnie Marshall, and
20   abandonment by his mother, Phyllis Marshall,3 had no real will or sense of identity of own. Initially
21   raised by his Jewish and rather permissive mother, his authoritarian and anti-Semitic father did not
22   become a sustained part of his life until Ben-Sholom was seven and a half years old, when his parents
23   married.4
24
25
26            3
               Phyllis Marshall has remarried and now uses the name Phyllis Pilant. This Memorandum Order
     refers to her as Phyllis Marshall or Ms. Marshall.
27
              4
             Prior to this time, Ben-Sholom and his mother went to live with Mr. Marshall in Louisiana for
28   a four month period beginning when he (Ben-Sholom) was 17 months old.

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 1            Ben-Sholom’s childhood was turned upside down almost immediately. Mr. Marshall exerted
 2   his control and dominion over his wife and son by moving the family to an isolated small town,
 3   subjecting them both to physical violence, and persisting in psychological cruelty. The abuse was
 4   pervasive and constant. In response, Ben-Sholom began running away from home when he was in junior
 5   high school. There also is evidence that Ben-Sholom began hurting (mutilating and killing) animals as
 6   an expression of his rage at his father’s abusive treatment of him. The record reflects that about this
 7   time, Ben-Sholom began psychological counseling at Kings View Mental Health Center in Visalia. The
 8   therapy, however, did not ameliorate Mr. Marshall’s abusive treatment of his son, and Ben-Sholom
 9   continued to run away from home.
10            When Ben-Sholom turned 17, he finally was able to pursue his dream of enlisting in the United
11   States Army. As a result of an ankle injury he sustained on one occasion when he ran away from home,
12   however, he was unable to continue with the rigors of boot camp. The ankle injury and ensuing arthritis
13   created an insurmountable disability. He was honorably discharged based on his adverse medical
14   condition. When he returned to Visalia after his discharge, he drifted aimlessly, looking for something
15   to belong to and fantasizing about becoming a mercenary. His companions at this time have been
16   described as a “rough crowd.” In February of 1984, a month before his 18th birthday, Ben-Sholom
17   burglarized his mother’s house. The juvenile court adjudication found that he had committed second
18   degree burglary and released him to the custody of his father (with whom he was living at the time).
19   Prior to the adjudication, he spent five nights in Juvenile Hall. It was at this time that Ben-Sholom met
20   and befriended John Calhoun. Later, Calhoun introduced him to Chris Seaman, who like Ben-Sholom
21   was interested in guns and being a mercenary.
22            During this period following the juvenile adjudication, Ben-Sholom also experienced extreme
23   hypertension and in July 1984, was placed on high blood pressure medication, Inderal. In September
24   of that year, he accepted a dare and jumped off the roof of the Sequoia Mall, badly breaking his wrist
25   in the process. In December, about a month before the offense, he tried to commit suicide by ingesting
26   an entire bottle of Inderal.
27            Examiners have documented that Ben-Sholom gravitated toward widely divergent types of peer
28   groups. On the one hand, he “hung out” with teenagers who used drugs and engaged in undisclosed

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 1   types of “delinquent” behavior, while on the other, he expressed an interest in being part of traditionally
 2   wholesome family type groups. He disclosed early and frequent heterosexual relations as well as one
 3   broken engagement, said to have had a devastating effect. One of his examiners, however, disputes the
 4   significance of the engagement breakup. In contrast, she found Ben-Sholom had developed an interest
 5   in and was experimenting with homosexuality. His pre-offense depression was said to be exacerbated
 6   by the ending of a homosexual relationship.
 7   II.      Procedural Overview.
 8            On October 5, 2001, the Court ordered a limited evidentiary hearing to explore Ben-Sholom’s
 9   allegations of ineffective assistance of counsel during penalty phase proceedings (Claim 19) and juror
10   misconduct for prejudging the penalty (Claim 22). The hearing was conducted on February 4, 5, 6, 7,
11   11, and 12, 2003, with evidence presented by both Ben-Sholom and Respondent Robert L. Ayers, Jr.,
12   as Warden of San Quentin State Prison, (the “Warden”).5 Specific issues were reserved pending the
13   evidentiary hearing, notably, juror misconduct for the receipt and consideration of extrinsic evidence
14   (Claim 23) and the impropriety of the death sentence in light of mitigating evidence which could have,
15   but was not presented (Claim 27). Ben-Sholom also raises the trial court’s error for not sua sponte
16   instructing on the substantial domination sentencing factor (Claim 16) as a reserved claim. The claims
17   on which an evidentiary hearing was granted and the reserved issues, including Claim 16, are now before
18   the Court. One additional claim, challenging the systematic exclusion of Hispanics from Ben-Sholom’s
19   venire (Claim 14), also is reviewed in this Memorandum Order due to the withdrawal of a Ninth Circuit
20   decision previously relied on by the Court in denying relief on the claim.
21   III.     Standard of Review.
22            Ben-Sholom commenced this federal habeas action on August 10, 1993 by filing an application
23   for appointment of counsel. He filed his initial petition on October 12, 1995.6 Under controlling United
24   States Supreme Court precedent, it is the filing of “an application for habeas relief seeking adjudication
25   on the merits of petitioner’s claims” that triggers applicability of the Anti-terrorism and Effective Death
26
              5
           At the time of the ruling on the evidentiary hearing request, the Warden was Jeanne S.
27   Woodford. The current occupant of the Warden’s position is Warden Robert L. Ayers, Jr.
28            6
                  Ben-Sholom’s operative petition was filed August 15, 1997 (hereafter the “Petition”).

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 1   Penalty Act of April 24, 1996 (“AEDPA”). Woodford v. Garceau, 538 U.S. 202, 207 (2003). Since
 2   Ben-Sholom’s October 12, 1995 petition, which constitutes a substantive pleading seeking adjudication
 3   on the merits, was filed before the enactment of AEDPA, pre-AEDPA law, under former 28 U.S.C. §
 4   2254, is controlling. Id.
 5            Former 28 U.S.C. § 2254(d) directs that written state findings are presumed correct:
 6            In any proceeding instituted in a Federal court by an application for a writ of habeas
              corpus by a person in custody pursuant to the judgment of a State court, a determination
 7            after a hearing on the merits of a factual issue, made by a State court of competent
              jurisdiction in a proceeding to which the applicant for the writ and the State or an officer
 8            or agent thereof were parties, evidenced by a written finding, written opinion, or other
              reliable and adequate written indicia, shall be presumed to be correct, unless the
 9            applicant shall establish or it shall otherwise appear, or the respondent shall admit –
10                   (1) that the merits of the factual dispute were not resolved in the State court
              hearing;
11
                      (2) that the factfinding procedure employed by the State court was not adequate
12            to afford a full and fair hearing;
13                   (3)      that the material facts were not adequately developed at the State court
              hearing;
14
                     (4) that the State court lacked jurisdiction of the subject matter or over the
15            person of the applicant in the State court proceeding;
16                    (5) that the applicant was an indigent and the State court, in deprivation of his
              constitutional right, failed to appoint counsel to represent him in the State court
17            proceeding;
18                    (6) that the applicant did not receive a full, fair, and adequate hearing in the
              State court proceedings; or
19
                     (7) that the applicant was otherwise denied due process of law in the State court
20            proceeding;
21                    (8) or unless that part of the record of the State court proceeding in which the
              determination of such factual issue was made, pertinent to a determination of the
22            sufficiency of the evidence to support such factual determination, is produced as
              provided for hereinafter, and the Federal court on a consideration of such part of the
23            record as a whole concludes that such factual determination is not fairly supported by the
              record.
24
25   Both mixed questions of law and fact and pure questions of law are reviewed de novo. See Thompson
26   v. Borg, 74 F.3d 1571, 1573 (9th Cir. 1996). A state court’s determination of lack of prejudice is a
27   mixed question of law and fact, because although historical facts found by state courts are entitled to a
28   presumption of correctness under (former) § 2254(d), when state courts apply legal standards to

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 1   historical facts, those decisions are not factual findings, and accordingly are subject to de novo review.
 2   Id.
 3   IV.      Ineffective Assistance of Counsel During Penalty Proceedings (Claim 19).
 4            In deciding to explore further the issue of ineffective assistance of penalty phase counsel, the
 5   Court reviewed the trial evidence (guilt and penalty), the argument of counsel (guilt and penalty), and
 6   numerous offers of proof. Review of these materials revealed that although Ben-Sholom’s trial counsel,
 7   Roger Alexander, consulted with five mental health experts during trial preparation, he presented no
 8   expert testimony at penalty proceedings. At the evidentiary hearing, the Court considered evidence to
 9   explore whether Mr. Alexander’s decision not to present expert testimony was the result of reasonable
10   strategic planning. In addition the Court considered the evidence which Ben-Sholom claims should have
11   and could have been presented at his penalty phase trial to convince the jury not to sentence him to
12   death. The Warden countered Ben-Sholom’s evidence with his own experts, and Ben-Sholom presented
13   rebuttal evidence. The Warden also presented his own evidence partially presented at the evidentiary
14   hearing and partially in a request for judicial notice. Ben-Sholom responded with a request to augment
15   the record.
16            A.       Summary of the Relevant Facts.
17            Although the Court previously has set out a comprehensive summary of trial proceedings and
18   post-conviction declarations presented on federal habeas, see Part V.A., October 5, 2001 Order at pp.
19   10-79, selected pre-trial interrogations, pre-trial mental health assessments, and trial proceedings
20   (including some not previously summarized) are summarized (and in some cases re-summarized) to give
21   context to the evidentiary hearing testimony and relevant documentary evidence.
22                     1.        Pre-Trial Interrogations.
23            Ben-Sholom’s custodial interviews were the first indications that he believed the crime to be a
24   necessary part of a larger plan to join the Karen National Liberation Army and fight Communists in
25   Burma. His intensity and sincerity prompted both the prosecutor and defense counsel, Mr. Alexander,
26   to arrange for mental health assessments.
27
28

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 1                               a.   Ben-Sholom’s First Custodial Interview.
 2            Regarding the overall “mission,” Ben-Sholom explained that Chris Seaman told John Calhoun
 3   and him of “this place [the Teague residence] and coerced us pretty much to do it. . . . [t]o go in and
 4   remove the weapons from the house [where] there wasn’t supposed to be anybody home.” Exhibit 16
 5   to Petition. He recounted that the incident took place at approximately “1500 hours” based on a plan
 6   that was conceived a pizza restaurant that same afternoon. The purpose of the “mission” was to obtain
 7   weapons so the three young men could go to Burma and join the Karen National Liberation Army to
 8   assist with the effort of the indigenous people to obtain independence from Communist oppression.
 9   Ben-Sholom stated he had been planning to go to Burma on a March 16th flight out of Los Angeles
10   International Airport.7 Seaman intervened in his plans so they would leave from Central America
11   instead.
12            Ben-Sholom arrived at the Teague residence on his motorcycle while Calhoun and Seaman
13   arrived in Seaman’s jeep. Ben-Sholom was given Seaman’s .357 magnum and was told to go into the
14   house first. The others were to follow. Ben-Sholom knocked on the door and Mrs. Teague answered.
15   She tried to close the door on him, but he forced it open. He then waited for Calhoun to enter. While
16   Calhoun was collecting weapons, Ben-Sholom kept guard over Mrs. Teague. It was Seaman who told
17   Calhoun and Ben-Sholom where the weapons, belonging to Alva Teague, Mrs. Teague’s son, would be
18   located.
19            After the weapons were collected, Calhoun “gave the order” for Ben-Sholom to take Mrs. Teague
20   into the bathroom and shoot her. Ben-Sholom did so, shooting her in the base of the skull as she was
21   lying face down in the bathroom. He did not strike her in any way. He stated that Seaman was
22   “commanding the mission.” The whole incident, from entry, killing Mrs. Teague, loading the stolen
23   weapons in Seaman’s jeep, and departing took about 7 to 8 minutes.
24            Ben-Sholom reiterated during the interview that Mrs. Teague was not supposed to have been
25   there and that there was no contingency plan in the event someone was home. He stressed that Seaman
26   came up with the idea for the mission. He also stated that he believed Seaman knew Mrs. Teague was
27
              7
               There was no evidence that Ben-Sholom had purchased a ticket or even made a reservation for
28   this flight.

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 1   killed because “he was the one who told John [Calhoun]” and then Calhoun told him. Ben-Sholom then
 2   agreed with the interrogating officer that the reason Mrs. Teague was “eliminated” was because she was
 3   a witness.
 4            After the incident, Seaman and Calhoun left in Seaman’s jeep. Ben-Sholom left on his
 5   motorcycle. Ben-Sholom then sold the motorcycle for $150. He described the sales transaction as
 6   having occurred at “1600 hours.” Afterwards, Ben-Sholom and his companions proceeded south on
 7   highway 99 to highway 58 and spent the night in Tehachapi because the jeep had mechanical problems.
 8            Ben-Sholom displayed irrational sincerity about his military and political goals to his
 9   interrogator:
10            Q. Do you affiliate yourself with any organization outside of this country?
              A. At this point in time, no.
11            Q. Okay, have you ever affiliated yourself with any organization within this country?
              A. I cannot divulge this information at this time or anytime in the future.
12            Q. Okay, okay. Have you ever affiliated yourself with any organization outside of this
              country?
13            A. I can’t answer that question.
14            On the subject of remorse, Ben-Sholom related his primary regret was in being permanently
15   prevented from going to Burma. With respect to Mrs. Teague, he responded that he did feel remorse,
16   but that “she’s at peace at last.”
17                               b.   Ben-Sholom’s Second Custodial Interview.
18            Ben-Sholom’s second interview was conducted three days after the first, after he and his
19   companions had been transported back to the Tulare County Sheriff’s station in Visalia. Exhibit 17 to
20   Petition. He revealed that the first conversation about taking weapons from the Teague residence
21   occurred at the pizza restaurant the night before the crime. Seaman came up with the idea. As far as
22   the actual execution of the “mission,” Ben-Sholom and Calhoun were to go into the residence to collect
23   the weapons in places Seaman said they would be found. Seaman stayed outside. The theft was to occur
24   about “1500 hours.” He explained he didn’t know why they didn’t all travel to the Teague residence in
25   the jeep and why he was directed to take his motorcycle.
26            During this interview, he stated that before going into the house, the three young men discussed
27   the possibility that someone might be home. Ben-Sholom agreed with his interrogator that there was
28   “a commitment” among the three young men that if anyone was home that person would be

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 1   “eliminated.” Ben-Sholom stated he didn’t know why, but guessed, in answer to the interrogator’s
 2   questions, it was because they didn’t want any witnesses.
 3             When Calhoun entered the house, Mrs. Teague was sitting on the couch, where Ben-Sholom told
 4   her to sit. Calhoun then directed that she should lay down in the hallway. Then, he instructed Ben-
 5   Sholom to take Mrs. Teague in the bathroom. Ben-Sholom explained, “That’s what he told me and I
 6   just, that’s what I did,” but he guessed it was a matter of convenience so Calhoun didn’t have to walk
 7   over her in the hallway while he was collecting weapons. Ben-Sholom explained that the signal from
 8   Calhoun for him to kill Mrs. Teague was conveyed by Calhoun drawing his index finger across his
 9   throat.
10             Ben-Sholom described shooting Mrs. Teague graphically: “I put a flash suppressor to the base
11   of the skull and I tilted it back just a little back for the angle so I’d come through right about the bridge
12   of the nose, so I’d get a clear trajectory through her brain.” He explained he did it in this manner
13   because: “I didn’t want to hurt her, I didn’t want her to feel any pain, I wanted it to be over before she
14   even knew it happened, so I made sure that I had a clear, the bullet had a clear trajectory through the
15   brain.” He stated he was sure he killed her after the first shot, but that he fired off three or four more
16   rounds to make sure. On further explanation he explained that the manner in which he shot Mrs. Teague
17   was “a variation of the move that [he] was taught to kill, with a knife.” He explained, “you bring a
18   person’s skull back like this, using your pinky at the base of the eyebrow, you bring it back and insert
19   the blade in sideways and then twist to the right and to the left and pull it out.” He said he learned this
20   “move” in private training “received from other groups of people.”8
21             After the shooting, Ben-Sholom and Calhoun gathered up the weapons, except a couple of air
22   rifles and the .22 rifle used to kill Mrs. Teague. He explained these weapons were left behind because
23   they would be of no use in the jungle. When they stopped in Tehachapi, they did not celebrate; they ate
24   and slept. They didn’t feel like they had accomplished anything. During the interview Ben-Sholom
25
26             8
               This excerpt was omitted from presentation to the jury in both the tape recording and the
     (redacted) transcript of the tape. Also withheld from the jury were the reasons he and his companions
27   did not engage in a shoot out with authorities when they were apprehended, the fact that when they were
     in the San Bernardino jail, they felt they were at risk from other inmates, safe when together, and the
28   dialogue with his interrogator about whether he had ever killed before.

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 1   stated he felt a “little unsure” mentally, but was not delusional. When they were apprehended, they had
 2   only a quarter of tank of gas and no gas cans. They were still 300 miles from the Mexican border.
 3            He was questioned about remorse:
 4            Q. The other night I asked you if you felt any remorse or any regret for your actions.
              How do you feel now[?]
 5            A. Very disturbed.
              Q. Meaning that you do regret. . .
 6            A. Yeah, it’s beginning to bother me really bad.
              Q. Do you feel bad now that the lady died?
 7            A. Yes, I do.
              Q. Do you feel badly that you killed her?
 8            A. Yes, I do.
              Q. Okay, if you had it to do over again, would it happened the same way?
 9            A. No.
              Q. Okay, if you had it to do over again, would you even commit the theft?
10            A. No, it wasn’t, it wasn’t definitely not, nothing is worth a person’s life.
11   Ben-Sholom confirmed, however, that at the time he killed Mrs. Teague he was fully aware of what he
12   was doing.
13                     2.        Pre-Trial Mental Health Assessments.
14            Prior to Ben-Sholom’s trial, he was interviewed by seven doctors. Five of those doctors were
15   retained to assess Ben-Sholom’s mental state. The first doctor to examine Ben-Sholom was Dr.
16   Richmond, on January 28, 1985, at the request of the prosecution. The second evaluation was requested
17   by Mr. Alexander and conducted by psychiatrist/ neurologist Frank W. Kleist, M.D. on February 26,
18   1985. Dr. Kleist re-interviewed Ben-Sholom on March 18, 1985. The next mental health assessment
19   was conducted by psychiatrist/ neurologist, Trevor D. Glenn, M.D. on September 17, 1985. Dr. Glenn’s
20   assessment was followed by two additional interviews, by clinical psychologists Yosef Geshuri, Ph.D.
21   on October 6, 1985, and by Beth Rienzi, Ph.D. on October 29 and 30, 1985. No findings, opinions, or
22   conclusions were presented to the jury by any of these doctors.
23                               a.    Dr. Richmond’s Summary.
24            Dr. Richmond took notes of his January 28, 1985 interview but he did not write a report. The
25   notes are compiled and attached as Exhibit 19 to the Petition. Instead, on December 20, 1985,
26   approximately 11 months after Ben-Sholom’s arrest and Dr. Richmond’s interview of him, Mr.
27   Alexander took the doctor’s deposition. A copy of the deposition transcript is attached to the Petition
28   as Exhibit 20. Dr. Richmond explained that he had been hired by the District Attorney to give an

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 1   opinion, as close to the crime as possible, as to whether he believed Ben-Sholom could pursue a
 2   psychiatric defense, in particular, an insanity defense, at trial. To prepare for the interview, Dr.
 3   Richmond reviewed the investigation report and listened to both of Ben-Sholom’s taped confessions.
 4   During the one hour and 45 minute interview Dr. Richmond conducted, Ben-Sholom was alert, but
 5   tense. He cracked his knuckles when talking about the offense and was near tears repeatedly.
 6            Dr. Richmond recounted that Ben-Sholom was raised as an only child until the age of eight
 7   (when his mother and father married). Before that, Ben-Sholom’s mother spent time working and
 8   dating. Ben-Sholom reported she never developed a close relationship with him. His father was
 9   overweight, cruel, sadistic, and very mean. When he came into the household, he tried to force respect.
10   He threw out all of Ben-Sholom’s possessions, including toys and games. Ben-Sholom didn’t know how
11   his mother felt about this, but he felt hatred and he wanted his father dead. At the time Dr. Richmond
12   interviewed him, Ben-Sholom still wanted his father dead. Ben-Sholom reported feeling sad about the
13   parental rejection he experienced.
14            Ben-Sholom killed animals for food. He also raised and killed rabbits for their hides and rabbit’s
15   foot key chains. As a student, he fought more in high school than in elementary school. He reported
16   that when he was in the fifth or sixth grade, he injured another student so severely the child had to be
17   hospitalized for two months. He described that the put his fingers in the other child’s eyes and banged
18   his head on the “monkey bars” in order to break the his skull. Dr. Richmond testified at the deposition
19   he did not inquire about supporting details regarding this incident to ascertain whether it really occurred
20   or Ben-Sholom was fantasizing.
21            To fulfill a life long dream of being in the Army (since age five), Ben-Sholom enlisted on his
22   17th birthday. He told his parents he would blow himself and the family up if they didn’t sign the forms
23   to allow him to join. He was “relieved” of service on September 9, 1983 due to an ankle injury. Ben-
24   Sholom was “lost” when discharged. He began to look for mercenary groups to find war elsewhere,
25   which might result in death. He became fascinated with war books, particularly tactics and logistics.
26   He played “war” with John Calhoun in the high brush area near his home, using a variety of weapons.
27   He boasted about being able to identify, strip, and load most weapons that existed in the world. He
28

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 1   claimed to have been taught by unnamed paramilitary groups about jungle fighting and “silent kills”
 2   using knife maneuvers.9 Ben-Sholom made it clear he had never before killed a person.
 3            Dr. Richmond testified at the deposition that the information Ben-Sholom provided appeared to
 4   be largely spontaneous. Ben-Sholom did not appear to be exaggerating, but boastful of his extensive
 5   knowledge and fascination with weaponry. Dr. Richmond did not inquire further to ascertain whether
 6   the experiences Ben-Sholom related were real or fantasy. Dr. Richmond had the impression that Ben-
 7   Sholom was relating real experiences because the details given were fairly organized. He conceded that
 8   if the facts relayed had been fantasy, but Ben-Sholom believed the incidents had occurred, it is possible
 9   Ben-Sholom could have related them in the same calm, clear manner.
10            The crime was thought of as a “mission” to obtain guns so Ben-Sholom and his companions
11   would be “accepted by some independent mercenary fighting force.” The three young men intended
12   to spend time in Central America at some kind of boot camp and then proceed to Asia. Ben-Sholom told
13   Dr. Richmond that Seaman had “inside information” that they would be accepted in El Salvador to fight
14   the Sandinistas. Again Mr. Alexander confirmed that Dr. Richmond asked no questions to verify
15   whether the information regarding their proposed acceptance into the military forces to fight the
16   Sandinistas was truth or fantasy.
17            When Mrs. Teague was obedient and called Ben-Sholom “sir,” it agitated him because he never
18   wanted to be an officer. He wanted to be a soldier – an order taker, not an order giver. Before entering
19   the Teague residence, he stated he planned to kill anyone in the house. He saw Mrs. Teague before
20   entering and was committed to killing her. He said, “The unit was committed.” He would have been
21   satisfied to tie Mrs. Teague up and leave her there. The order to kill her came from Calhoun, who in turn
22   received the directive from Seaman. Ben-Sholom doubted Mrs. Teague thought she was going to be
23   killed. She showed no fear and did not plead. He had not thought about taking someone’s life and what
24   that would mean to the victim. At that point, it was just a military maneuver. Afterward, he felt as if he
25
26            9
               According to Gary Wynbrandt, M.D., the “brotherhood of mercenaries” to which Ben-Sholom
     “made allusions during his confessions and to the first mental health professionals who interviewed him
27   after the crime apparently was no more than his friends Brett Thompson and John Calhoun, who did
     target practice and made a ‘fort’ by the San Joaquin [Saint John’s] River . . . in late 1984 [to] early 1985.
28   See Part IV.A.4.c., infra.

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 1   were another person watching himself, as if on television, or reading a book. He said he wouldn’t have
 2   killed Mrs. Teague in the state of mind he was in when he was talking to Dr. Richmond. He reported
 3   that what he had done “wasn’t right.” He reported to Dr. Richmond that he wished he could trade places
 4   with Mrs. Teague, to end his own pain and suffering. He said that if he had been taken care of as a child
 5   and youth, or if he had been dead, the crime wouldn’t have happened. He told Dr. Richmond that he
 6   wanted to be sentenced to death for the crime because he felt really guilty about it – that it shouldn’t
 7   have happened. He was, at the time of the interview, suicidal. He was fearful of being in prison where
 8   he would be completely unarmed, in a hostile environment, with no “back up” or friends.
 9            He related that he had an uncle who experienced auditory hallucinations and had a “real bad
10   mental problem.” He also reported past incidents where he hurt himself, including intentionally
11   overdosing on Inderal, jumping off the Sequoia Mall, and playing “chicken” with diesel trucks on major
12   highways. He stated he was depressed 95% of the time and began to have suicidal thoughts at age nine
13   to ten. He also reported that he started experiencing blackouts six months prior to the crime, but denied
14   a past diagnosis of epilepsy or seizures. Dr. Richmond testified he thought the reported blackouts could
15   correspond to a mental condition called “detachment” or be related to Ben-Sholom’s increased alcohol
16   usage or brief organic episodes. After the interview, Dr. Richmond was “satisfied [Ben-Sholom] was
17   not in a psychotic state, but that he had completely detached any feelings or displaced – or he was just
18   kind of operating without significant feelings.” He felt that what Ben-Sholom described was that he had
19   entered into a military exercise after struggling with himself not to feel anything. He concluded that at
20   the time of the crime, Ben-Sholom
21            was operating rationally, that he was able to see and understand and make decisions
              based on what was really happening around him and he was very much caught up in
22            some of his desire and beliefs about being in the process of becoming a mercenary, and
              that what he was doing was – I guess you would say, in a sense justified as a military
23            operation in preparation to accomplish his long-range goal of being or becoming a
              mercenary. . . . [The crime was] part of what you’ve got to do . . . in order to become a
24            mercenary.
25                               b.   Dr. Kleist’s Reports.
26            In Dr. Kleist’s first, February 26, 1985, report, he stated that no information about Ben-Sholom’s
27   background was provided. Exhibit 21 to Petition. Rather, Dr. Kleist reported that Ben-Sholom provided
28   his own background information. Ben-Sholom told Dr. Kleist he “was reared by an autocratic,

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 1   extremely abusive father and a submissive, unprotecting mother.” Ben-Sholom described his hatred for
 2   his father, his medical discharge from the Army, his subsequent breakup with his fiancee a little more
 3   than a year before the offense, his fascination with weapons, his obsession with vengeance and infliction
 4   of pain, and his connection with John Calhoun and Chris Seaman. Ben-Sholom described himself and
 5   his co-perpetrators to Dr. Kleist “as the best guerrilla fighters in the world,” he said that he had “friends
 6   and/ or relatives of the family” listed as MIAs, he expressed fear that his enemies “could hunt him down
 7   in jail, or get some of his relatives,” he claimed that his father tried to kill him when he was a child, and
 8   he admitted he “slaughtered animals, ripped the head off of a cat, injured dogs, broke tree limbs.”
 9            Dr. Kleist was impressed with Ben-Sholom’s totally emotionless demeanor. “He spoke in a
10   mechanical, stilted fashion. . . . His intense preoccupation with structured violence through military
11   activities and his obsession with sadistic expressions of revenge and violence defie[d] logic.” Dr. Kleist
12   noted that Ben-Sholom gave the impression of “cold-blooded ruthlessness and seem[ed] to relish the
13   listener’s repugnance as he [went] into graphic detail about means of torture and expressions of rage.”
14   Ben-Sholom took pride in “adhering to the military mentality of unquestioning loyalty and unhesitating
15   execution of orders.”
16            Dr. Kleist reported he was not certain whether the “facts” relayed by Ben-Sholom might have
17   been “an extremely well structured delusional system of a persecutory sort,” and whether the abuse at
18   the hands of his father was exaggerated. Ben-Sholom admitted to feeling so much rage at the time of
19   the interview, he could “rip the guard’s head off.” He bragged about being able to “pull a pumping heart
20   out of a person’s chest.” Dr. Kleist felt that Ben-Sholom denied feelings of depression because it was
21   not becoming.
22            Dr. Kleist regarded Ben-Sholom “as dangerous” since his judgment was “strongly influenced by
23   his paranoid outlook and his intense feelings of hatred.” In the diagnosis section of his report, Dr. Kleist
24   stated: “It is clear we are dealing with a mentally disturbed man. . . . I would regard him as having a
25   severe paranoid personality disorder associated with a probable anti[-]social personality.” Dr. Kleist
26   found Ben-Sholom’s “exaggerated preoccupation with violence and revenge simply staggering.”
27            In the second interview on March 18, 1985, Ben-Sholom discussed his distress over the loss of
28   his girlfriend/ fiancee in late 1983. Exhibit 22 to Petition. He recounted to Dr. Kleist nightmares where

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 1   he was “tearing her tissues apart, breaking her fingers, pulling her joints from their sockets.” Ben-
 2   Sholom denied he was feeling turmoil from the loss of this relationship at the time of the offense. He
 3   told Dr. Kleist he had overdosed on Inderal and three weeks before the offense had “played chicken”
 4   with diesels on the highway and ran across train trestles “more or less inviting death.” In his report Dr.
 5   Kleist confirmed that based on an interview with Ben-Sholom’s mother, Ms. Marshall, the abuse Ben-
 6   Sholom discussed in the first interview was not exaggerated.
 7                               c.   Dr. Glenn’s Report.
 8            Dr. Glenn examined Ben-Sholom on the issues of criminal responsibility and sentencing six
 9   months later, on September 17, 1985. Exhibit 24 to Petition. Unlike Dr. Kleist, Dr. Glenn was able to
10   review transcripts of Ben-Sholom’s taped custodial statements, as well as transcripts of the custodial
11   statements given by Ben-Sholom’s co-perpetrators, John Calhoun and Chris Seaman. He also reviewed
12   Ben-Sholom’s Kings View counseling records. Further background information was obtained from Ben-
13   Sholom, himself, including the history of his sickly condition as a young child, the abusive environment
14   and resulting paternal hatred in his youth, his cataclysmic enlistment in the Army, his interest in
15   paramilitary activities, and his participation in the offense. When Mr. Marshall moved in with Ben-
16   Sholom and his mother, he (Mr. Marshall) assumed the role of a “dictator” and there was a “declaration
17   of war” when Mr. Marshall discarded Ben-Sholom’s toys. Mr. Marshall forced his religion of Jehovah’s
18   Witnesses on Ben-Sholom and his mother soon after the family moved from Riverside to Paradise,
19   California. Ben-Sholom resisted. He reported that his mother had raised him to be independent. On
20   one occasion when Mr. Marshall arrived home from work, Ben-Sholom was arguing with his mother
21   about going to a meeting of the Jehovah’s Witnesses. Mr. Marshall beat Ben-Sholom with a thin leather
22   strap, which Ben-Sholom explained left welts on his legs and buttocks. He recounted to Dr. Glenn that
23   he was beaten by this father for telling the truth and at least once a week on “general principle.”
24   Eventually, Mr. Marshall lost his job in Paradise and the family moved to Fresno for a short time and
25   then to nearby Dinuba where Mr. Marshall finally secured a job. Dr. Glenn reported that in Dinuba, as
26   well as in Paradise, Ben-Sholom was left alone quite often. When he was in the fifth grade in Dinuba,
27   he slashed his wrist accidentally and sought help from a neighbor for emergency medical treatment. At
28   this time, Mr. Marshall began giving him a “back hand” to the face “with a closed fist.”

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 1            By the time he was about 13, Ben-Sholom started accepting the Jehovah’s Witness faith, as his
 2   father started to drop out. Also at this time, Ben-Sholom started running away from home following
 3   severe beatings and threats of beatings from his father. Either Ben-Sholom or his mother, or both, would
 4   be beaten on nearly a daily basis. Ben-Sholom feared death and annihilation. He reported that on
 5   several different occasions, he was taken into protective custody and safe houses. He admitted to hurting
 6   animals after being beaten by his father. When he was 14, Ben-Sholom reported that he felt suicidal
 7   over the break up with a girlfriend.
 8            The next year, Ben-Sholom ran away from home to visit his older half-brother (on this father’s
 9   side). His encounter with his brother led to a motorcycle accident which broke his ankle (and ultimately
10   led to the disability requiring his discharge from the Army). He expressed anger and frustration at his
11   life with his parents. He attended counseling sessions at Kings View. His temper by this time was very
12   short. He was disciplined at school for carrying a knife and explained to Dr. Glenn he promised himself
13   if he “ever drew that knife, he would draw ‘blood.’”
14            With respect to the Army, being part of the military had been a life goal for Ben-Sholom. It
15   would have allowed him to escape his horrible family life, to have a purpose, and to marry his high
16   school girlfriend. When he was determined to be medically unable to complete basic training exercises,
17   he was “stunned.” Dr. Glenn reported that tears came into Ben-Sholom’s eyes at this point of the
18   interview and “the tone of the whole interview changed.” The end of his hoped for military career also
19   led to the end of his relationship with his girlfriend, and the end of his life. He had no direction after
20   being separated from the military. He intermittently worked at fast food restaurants, used drugs, engaged
21   in dangerous activities (jumping off the Sequoia Mall and being involved in fights), and he flirted with
22   criminal activity, including once burglarizing his mother’s house and stealing cars.10 He told Dr. Glenn
23   he wanted “out” and he began using marijuana, alcohol, and hash.
24            In 1984, when he was 18, Ben-Sholom learned about the Karen National Liberation Army,
25   perhaps from Soldier of Fortune Magazine. He saw this as a chance to start a new life outside of the
26   United States and get involved in military activity. He waited to find someone to help him get partway
27
              10
              While the record does show that Ben-Sholom’s stint in Juvenile Hall resulted from his burglary
28   of his mother’s house, there is no indication in the record for any auto theft incidents.

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 1   across the country, and in the interim worked off and on. About this time, he began experiencing
 2   marked symptoms of hypertension and anxiety attacks. After he had a prescription for Inderal, he tried
 3   to commit suicide by overdosing on the drug. Finally, Ben-Sholom found an ally in John Calhoun for
 4   his paramilitary quest to join the Karen National Liberation Army. A few days before the offense,
 5   Calhoun introduced Ben-Sholom to Chris Seaman, and together they “cooked up a scheme,” as Dr.
 6   Glenn phrased it, to obtain weapons and money so they could fight in a war. Ben-Sholom described his
 7   paramilitary training from a paramilitary gun club whose members sought him out “when they heard
 8   about some of the things that he was doing.”11 They trained him in the use of exotic weapons. He
 9   admitted that bamboo pits at the river were built in June 1984 by Calhoun, another friend Brett
10   Thompson, and himself.
11            Ben-Sholom described the offense in military terms. He and his companions “treated it like a
12   war.” Ben-Sholom served as the “point man,” that is the person designated to take “any shells” that
13   might have been fired from the house. Ben-Sholom told Dr. Glenn that after entering the Teague
14   residence, before Calhoun and Seaman, he was fearful because he didn’t have “any back-up.” In his
15   account of the offense, Ben-Sholom related that he “took the lady [Mrs. Teague] to rooms and tried to
16   find [valuable] coins that weren’t there.” Eventually, Calhoun told him to take Mrs. Teague to the
17   bathroom and then gave him the order to kill her. He explained he always had been taught to “follow
18   through,” both from his father, from the Army, and from the paramilitary training. At the time of the
19   offense, he described himself as “washed.” He was tired of caring for himself. He had “died inside.”
20   He told Dr. Glenn he would have followed any orders that had been given, including being told to go
21   to the Mall and shoot everyone in sight. At the time of the crime, Ben-Sholom had been rejected by
22   everything he loved or cared about; “he was looking for something in the way of peer acceptance and
23   approval and ‘belonging’ to some sort of group.”
24            Dr. Glenn observed that although Ben-Sholom was cooperative throughout the interview he was
25   emotionally distant and “quite consciously [hid] his feelings and emotions.” Except when he talked
26   about being discharged from the service, his speech was spontaneous, coherent, and relevant. Dr.
27
28            11
                   There is no explanation for “the things that he was doing.”

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 1   Glenn’s primary diagnosis was “mixed personality disorder,” characterized by passive aggressive and
 2   anti-social features. The secondary diagnosis was “significant depression” stemming from his horrific
 3   childhood and more recently from his rejection from the service as well as from his break-up with his
 4   girlfriend. His major depressive episode (from the Army discharge and loss of his girlfriend) was
 5   “without psychosis.”             Dr. Glenn recommended psychological testing for I.Q., depression, and
 6   schizophrenia. Dr. Glenn also felt that suggestibility and induced psychosis should be explored although
 7   he didn’t think either of these issues were present. Finally, Dr. Glenn recommended that Ben-Sholom’s
 8   need to “belong” should be explored in testing. Dr. Glenn also felt the records of the medical doctor,
 9   Dr. Wong, who diagnosed Ben-Sholom’s hypertension should be obtained. Ben-Sholom had been
10   reaching the point of “crisis” at the time Dr. Wong diagnosed hypertension. Ben-Sholom then appeared
11   to progress into “some kind of decompensation in his functioning.”
12                               d.        Dr. Geshuri’s Report.
13            Dr. Geshuri, who was retained by Mr. Alexander in response to Dr. Glenn’s recommendation,
14   described the purpose of his interview and report was “to explore some of the circumstances and various
15   social factors which have led to the killing and the specific role which [Ben-Sholom] took in that event.”
16   The examination, on October 6, 1985, entailed four psychological tests and a clinical interview. Exhibit
17   25 to Petition. During the interview, Ben-Sholom exhibited a “flat affect, showing no emotion” as he
18   recounted the offense and the events leading to it. He emphasized to Dr. Geshuri that “he was a
19   professional, carrying out the details of an agreement or a verbal contract, which he ha[d] committed
20   himself to.”
21            Ben-Sholom’s score on one of the psychological tests, that assesses credibility, indicated either
22   that he answered the questions to make himself look sicker than he was, or more likely in Dr. Geshuri’s
23   opinion, that he actually was affected by “characterological problems manifesting aggressive and sadistic
24   behaviors with possible psychotic thinking.” Dr. Geshuri stated that scores like Ben-Sholom’s were
25   associated “with individuals who are aggressive, sadistically punitive, who like to hurt others and arouse
26   anxiety and guilt in their victims.”
27            From the background Ben-Sholom supplied, Dr. Geshuri factored into his analysis that Ben-
28   Sholom had a large collection of various knives and fire arms “which he obtained through burglaries and

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 1   other means.” When asked why he killed Mrs. Teague, he replied that “he found it necessary to carry
 2   out the letter and spirit of the verbal contract [with his co-perpetrators] so that his reputation as a reliable
 3   professional would be spread around to carve out his future as a professional soldier and mercenary.”
 4   After reviewing the paternal abuse inflicted, Dr. Geshuri concluded that Ben-Sholom’s
 5            developmental formative years which he spent as an only child with both parent[s]
              working and absent from the home, with him being socially isolated and receiving the
 6            persistent harsh and brutal treatment he has received from his father while his mother
              stood helplessly by, have evolved [Ben-Sholom] into an angry young man. This anger
 7            and insatiable need[] for revenge have turned [Ben-Sholom’s] main focus in life and
              achievement goals into a machinery of death and killing.
 8
 9   His diagnosis was that Ben-Sholom suffered from an anti-social personality disorder (“ASPD”).
10                               e.   Dr. Rienzi’s Report.
11            Dr. Rienzi administered six psychological tests to Ben-Sholom and conducted a clinical
12   interview on October 29 and 30, 1985. Her report is attached as Exhibit 27 to the Petition.12 During the
13   interview, Ben-Sholom “justified” his role in the offense in terms of his being “under a military contract”
14   with Chris Seaman. Ben-Sholom explained that both before and after his father came to live with him
15   and his mother, he spent a great deal of time at home alone, totally unsupervised. His description of his
16   father and his father’s treatment of him reflected intense anger and resentment. He communicated to
17   Dr. Rienzi his disappointment at being medically discharged from the Army and breaking up with his
18   girlfriend. He also told her about his suicide attempt (overdosing on Inderal).
19            Dr. Rienzi observed that Ben-Sholom’s struggle with his father overshadowed his efforts to
20   develop his own identity. In the weeks before the offense, he was looking for a “cause” to which he
21   could commit his life and which would “validate” his existence. Dr. Rienzi did detect “a consistent
22   degree of mild exaggeration to all stories he told about himself.” Based on the intelligence scale testing,
23   Dr. Rienzi found an overall I.Q. of 118, placing Ben-Sholom “with the high average range of intellectual
24   function.” His performance on the test faltered when the questions related to authority figures, children,
25   or praise and punishment. Dr. Rienzi found that Ben-Sholom’s drawing (on another test) revealed his
26   capacity for becoming “rigidly obedient and compliant.” In the projective drawing, Ben-Sholom
27
              12
               The report bears the date October 4, 1985, but based on the dates of services described in the
28   report, the Court understands that the report was completed on November 4, 1985.

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 1   presented himself as frightened, inadequate, and insecure, placing great importance on physical strength
 2   and power. His drawing of an outdoor scene depicted craggy mountain peaks, which Dr. Rienzi opined
 3   were symbols of consistency and stability. When telling “projective” stories, Ben-Sholom assumed a
 4   third party view of a detached observer.
 5            In another test, Ben-Sholom identified with an abused child who was left unprotected by “the
 6   system.” The complete sentence test demonstrated his sense of self failure, desire to be left alone,
 7   annoyance with other people, and conflicts with authority. Dr. Rienzi found that even his penmanship
 8   was indicative of rigid self control. The results of another test revealed a person who had excessively
 9   rigid and “unconventional thinking of a rebellious, socially isolated personality.” Ben-Sholom’s scores
10   suggested “artificially inflated self-esteem to cover feelings of helplessness and inadequacy,” a tendency
11   to alleviate painful feelings by “striking out in anger and rebellion,” impaired empathy, and involvement
12   in “bizarre, self-defeating crimes.”
13            In conclusion, Dr. Rienzi reported that Ben-Sholom used an “elaborate defense system of
14   “symbolic compartments” to keep from expressing pain, rejection, anger, and anxiety. She observed that
15   his “personality identity” remained incomplete leaving him “susceptible to absorbing large portions of
16   characters in books.” He was able to escape feelings of inadequacy, helplessness, depression, and
17   isolation by identifying “a righteous, external cause or a person that he viewe[ed] as powerful.” In that
18   way he could lose himself and become “part of a greater whole” that was powerful. He looked at
19   marriage and having a military or paramilitary career in this manner. As to the offense, she opined Ben-
20   Sholom’s “childhood defense system that allowed him not to see or feel his own pain, allowed him to
21   act without awareness of the victim.”
22                     3.        Pre-Trial, Trial, and Post-Trial Proceedings.
23            The relevant pre-trial, trial, and post-trial proceedings include relevant testimony from Ben-
24   Sholom’s January 9, 1986 suppression motion hearing,13 Mr. Alexander’s opening and closing
25   arguments at both guilt and penalty proceedings, a pre-penalty phase discussion with the trial court and
26
27
              13
              Ben-Sholom’s contention about the invalidity of adverse ruling on the suppression motion was
28   analyzed and rejected in the October 5, 2001 order at Part IX.

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 1   both counsel, the penalty phase testimony, penalty phase stipulated evidence, a summary of the penalty
 2   phase deliberations, and Ben-Sholom’s motion for modification of the death verdict.
 3                               a.   Summary of Testimony at the Suppression Hearing Regarding Ben-
 4                                    Sholom’s Inderal Use.
 5            The relevance of the suppression hearing testimony to the present analysis is the introduction of
 6   the idea of Ben-Sholom’s hypertension and Inderal use in the trial proceedings.
 7                                    (1)    Ben-Sholom’s Testimony.
 8            Discussing his first custodial statement given on January 25, 1985, Ben-Sholom testified that he
 9   had a prescription for Inderal (spelled “Enderol” in the transcript) which he was supposed to take twice
10   a day to reduce his blood pressure. Inderal was first prescribed for him in July of 1984. MT: 96-97.
11   After his arrest, he was taken to the hospital to have his blood pressure checked, and at that time he was
12   given some Inderal to take with him back to the jail. He testified he did not feel the effects of Inderal
13   during his custodial interview, and further that usually he didn’t feel any side effects from Inderal other
14   than heartburn. When he didn’t take Inderal, however, he did notice when he was experiencing high
15   blood pressure. Id.: 98.
16                                    (2)    Phyllis Marshall’s Testimony.
17            Ms. Marshall testified that prior to Ben-Sholom’s arrest, he did suffer from high blood pressure
18   (hypertension), for which he first received a prescription of Inderal in July 1984. She stated that
19   although he was supposed to go into the clinic to have his blood pressure checked periodically, Ben-
20   Sholom didn’t always do so. Id.: 108-09.
21                               b.   Mr. Alexander’s Guilt Phase Opening Statement.
22            Mr. Alexander agreed with the Deputy District Attorney assigned to the case, Andrew Walton,
23   that Ben-Sholom and his companions planned the theft of weapons from the Teague residence so they
24   could join the Karen National Liberation Army. Seaman was acquainted with Mrs. Teague’s son, Alva,
25   and knew he had weapons. Ben-Sholom went in first; Calhoun followed. Calhoun directed Ben-Sholom
26   to kill Mrs. Teague and he complied. Then the three made their way toward Mexico, where they were
27   apprehended in Needles. Mr. Alexander stressed, however, that these were just boys. Ben-Sholom was
28   only 18.

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 1            The Karen National Liberation Army was fighting Communists in Burma. Mr. Alexander
 2   explained to the jurors they would have to decide whether the boys’ plan to join the Karen National
 3   Liberation Army was reality or fantasy. He reiterated the fact that the boys didn’t think anyone would
 4   be home and didn’t realize Mrs. Teague was home until they arrived.
 5            The entire “mission” was not well-thought out. Ben-Sholom didn’t even know why he brought
 6   his motorcycle rather than all three boys going in Seaman’s jeep. The jeep was equipped for gasoline
 7   canisters, but there were none. It also was in very poor condition and broke down in the desert. The
 8   boys had no extra clothing with them. Ben-Sholom had to sell his motorcycle to obtain some money.
 9   The murder was never supposed to have happened.
10            When he was given the order to kill Mrs. Teague, he did so in a manner to be quick and painless.
11   Once apprehended, Ben-Sholom was cooperative with authorities. Mr. Alexander exhorted the jurors
12   to remember that the words about whether anyone at the house would be “eliminated” on the taped
13   custodial statement were the interrogator’s, not Ben-Sholom’s.
14                               c.   Mr. Alexander’s Guilt Phase Summation.
15            On summation, Mr. Alexander again agreed with Mr. Walton’s rendition of the basic chain of
16   events. He then reiterated his opening statement emphasis that Ben-Sholom fully cooperated with
17   authorities and told the truth. He also reiterated his earlier observation that many of the incriminating
18   statements produced during Ben-Sholom’s custodial interview were not his words, but rather were the
19   words of the interrogator and Ben-Sholom simply agreed. He particularly emphasized that Ben-Sholom
20   did not say he and his companions intended to “eliminate” witnesses. He suggested the reason the boys
21   proceeded with the burglary plan even though someone was home was the result of peer pressure. None
22   of the boys wanted “to be the first one to back down.” He strenuously argued that the killing of Mrs.
23   Teague was not cold-blooded. Ben-Sholom shot her four times at the base of the skull because he
24   wanted her death to be quick and painless.
25            Mr. Alexander also stressed that the crime wasn’t really planned out. Although the boys
26   conceived of the plan as a “foolproof burglary” and the whole thing developed into a “military mission,”
27   they made no provisions for getting to Burma. They had no gas cans, no extra clothing, and no extra
28   food. Further, Ben-Sholom perceived his role as one who was following orders that came down the line

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 1   of command. Mr. Alexander then commented, however, “I’m not going to ask you to believe that Ryan
 2   Marshall [Ben-Sholom] was so entrenched in this military mission that he gave absolutely no thought
 3   to what he was doing. We really don’t have evidence of that.” On the very next page of the transcript,
 4   however, Mr. Alexander stated in contradiction that when John Calhoun gave Ben-Sholom the order to
 5   kill Mrs. Teague, Ben-Sholom “did it without thinking, without stopping and thinking what am I doing.
 6   Do I challenge this order? Do I go ahead with this order? He went and did it.” Mr. Alexander
 7   acknowledged to the jurors :
 8            I know it’s foreign to all of you to think that someone could be entrenched in the military
              thinking that if they were ordered to shoot, kill an innocent woman, that they would do
 9            it without giving it much thought. . . But I would ask you to carefully give it
              consideration.
10
11                               d.   Pre-Penalty Phase Discussions.
12            Guilt phase closing arguments were made and instructions given on Wednesday, February 5,
13   1986. The jury retired to deliberate at 3:10 p.m. and were back in court by 5:05 p.m. with a verdict.
14   Ben-Sholom was convicted of special circumstance murder, robbery, and burglary. On the following
15   Monday, February 10, 1986, Mr. Alexander and Mr. Walton met with the trial judge to discuss
16   instructions and limitations on the admission of evidence, particularly on the potential rebuttal testimony
17   of Dr. Richmond. Focusing on the limitations to be imposed on Dr. Richmond’s testimony, Mr.
18   Alexander expressed his concern that if Dr. Richmond were to testify on rebuttal, he could recount facts
19   (incidents relayed by Ben-Sholom) that otherwise would be inadmissible during penalty proceedings,
20   as not fitting into any of the statutory aggravating factors. RT-13: 2357. He expressed his concerns in
21   this manner:
22            My concern at this point is if anything of that nature is going to come in by Dr.
              Richmond, then I’ve go to make a decision whether I even want to put on my
23            psychologist because if I put on my psychologist and that opens the door for Dr.
              Richmond to give statements about some previous act that otherwise would be
24            inadmissible. Then it seems like it would be wise for me not to call my psychologist.
25   Id.: 2358.
26   Accordingly, he requested that Dr. Richmond be precluded from testifying about Ben-Sholom’s account
27   of getting into a fight with another child when he was 12 or 13 and putting that child in the hospital. He
28   wanted to preclude Dr. Richmond from recounting Ben-Sholom’s burglary of his mother’s house when

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 1   he was a juvenile and any information about Ben-Sholom’s use of drugs (marijuana and mushrooms).
 2   He wanted to restrict Dr. Richmond from mentioning anything about Ben-Sholom’s military training
 3   by “groups that shall remain nameless” in forms of jungle fighting, that Ben-Sholom wanted so much
 4   to sign up for the Army when he 17 years old that if his parents did not consent he would blow himself
 5   up in the house with the entire family. He didn’t want Dr. Richmond to mention that Ben-Sholom
 6   wanted the death penalty to be released from this world, and the guilt he felt, or about wanting his father
 7   dead. Overall, Mr. Alexander also sought to confirm that Dr. Richmond would not be allowed to testify
 8   on the issue of Ben-Sholom’s future dangerousness. Id.: 2365-67
 9            Mr. Walton agreed Dr. Richmond’s rebuttal testimony, if elicited, would be restricted and that
10   Dr. Richmond would not to testify on any of the subjects mentioned by Mr. Alexander. Mr. Walton
11   represented to the trial judge: “If he’s [Dr. Richmond is] called and will testify for the People, I will
12   instruct him not to go into these areas and we’ll just give a basic opinion or [go] into areas that there are
13   no objections.” Id.: 2367-68. Mr. Walton further represented that if he decided to call Dr. Richmond,
14   he would “indicate” to Mr. Alexander what areas he intended to have Dr. Richmond testify about in
15   rebuttal. In the event Mr. Alexander had any further objections, the two attorneys would attempt to work
16   those out. Mr. Alexander’s response to that offer was, “Fine.” Id.: 2368.
17                               e.   Mr. Alexander’s Penalty Phase Opening Statement.
18            Mr. Alexander explained that the purpose of the evidence the defense would present at this phase
19   of the proceedings was to acquaint the jurors with Ben-Sholom, with the way he really was. Id.: 2382-
20   83. He explained that Ben-Sholom held his feelings inside, as would be become evident from the
21   testimony of his mother and the fact that he suffered from high blood pressure. Ben-Sholom was
22   medicated with Inderal to combat the high blood pressure problem. He was not a cold person. Id.:
23   2383-84.
24                               f.   Penalty Phase Testimony.
25            The witnesses called to allow the jurors to get to know Ben-Sholom were his mother, Phyllis
26   Marshall, his grandmother, Faye Muldworf, an elder at the local chapter of the Jehovah’s Witnesses,
27   Isaac Hull, the mother of one of his school friends, Judy Mayora, his (former) Sea Scout leader, Henry
28

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 1   Bethany, and himself. To the extent the testimony of these witnesses is summarized in the October 5,
 2   2001 order, reference is made to the portion of that order where the full summary can be found.
 3                                    (1)   Phyllis Marshall.
 4            Ms. Marshall’s testimony described the abuse her husband inflicted on Ben-Sholom. See Part
 5   V.A.12, October 5, 2001 order. She testified that she had been a social worker for the Child Protective
 6   Services of Tulare County since 1976. She described her parenting philosophy as one where she
 7   encouraged her son to question parental directives in stark contrast to that of her husband who
 8   approached parenting as a means to coerce obedience through cruelty and intimidation. Mr. Marshall
 9   isolated Ms. Marshall and Ben-Sholom by moving frequently. He forced his religious beliefs of the
10   Jehovah’s Witnesses on them and he berated them for their Jewish heritage.
11            Ms. Marshall’s first contact with Mr. Marshall as a parent was in early 1968 when Ben-Sholom
12   was a toddler. She took Ben-Sholom with her to Louisiana to live with Mr. Marshall, but left after four
13   months because he drank heavily and was physically abusive to her. She married Mr. Marshall after “he
14   said all the right things” and convinced her that he finally had settled down when Ben-Sholom was seven
15   and a half. Prior to this, Ben-Sholom and Ms. Marshall enjoyed a pleasant mother-son relationship. He
16   was bright, enthusiastic, energetic and personable. RT-13: 2391. Although Mr. Marshall had “played
17   the wonderful father” with Ben-Sholom prior to the marriage (as part of wooing Ms. Marshall), after the
18   marriage, the father-son relationship almost immediately deteriorated; the physical, psychological, and
19   emotional abuse inflicted on Ben-Sholom was pervasive and severe. When Ms. Marshall complained
20   about the constant physical abuse (hitting), Mr. Marshall devised a new form of discipline. That is he
21   directed Ben-Sholom to dig a hole in the backyard and after it was dug, to fill it up again. Id.: 2402.
22            Mr. Marshall’s concept of family life was that “he was the man of the house, he was the one in
23   charge and everybody was going to do what he wanted.” Id.: 2391. He yelled; he never talked. He
24   threw objects in the house that were not to his standards of cleanness or neatness. He had an explosive
25   personality. He had been in the Navy and he treated Ms. Marshall and Ben-Sholom as they were in the
26   service. She didn’t leave him at first because he threatened to kill her. Later, after she no longer feared
27   his killing her, he threatened to steal Ben-Sholom and told her she would never see her son again. Id.:
28   2394. Ms. Marshall was aware of Ben-Sholom’s desire to be in the Army from a very early age. When

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 1   he finally enlisted he was very happy, even though boot camp was difficult. She felt the Army was a
 2   way for Ben-Sholom to escape his father and prove he was okay. Id.: 2399-2400. When Ben-Sholom
 3   was discharged, he was lost, not knowing whether to go to work or to school. He talked more about
 4   becoming a mercenary and rescuing MIAs. Id. 2402-03. Ms. Marshall didn’t pay much attention to this
 5   talk because she didn’t think it was realistic. Specifically, he talked to his mother about fighting in
 6   different countries to free people being held captive by the Communists. He wrote to the French Foreign
 7   Legion. Id.: 2404.
 8            Because of the “war” between Ben-Sholom and his father, Ben-Sholom learned to keep his
 9   feelings inside. That is why he had an ulcer and high blood pressure, both prior to his arrest for the
10   present crime. Id.: 2405. She explained that his hypertension had been diagnosed in July of 1984 and
11   he was prescribed Inderal for it. Id.: 2407. Not showing his feelings was the only way Ben-Sholom
12   could function in the face of paternal abuse. Id. 2405. Ms. Marshall testified that despite Ben-Sholom’s
13   emotionless exterior he was extremely sensitive. Id.: 2406.
14            In the last part of her testimony, she authenticated 12 photographs of Ben-Sholom, from about
15   18 months to 17 years. Id.: 2407. She testified one photograph depicted Ben-Sholom, Ms. Marshall,
16   and Ms. Marshall’s mother, Mrs. Muldworf. She testified another depicted Ben-Sholom and his former
17   girlfriend, Jackie. Id.: 2408.
18                                    (2)   Faye Muldworf.
19            Mrs. Muldworf testified to the positive aspects of Ben-Sholom’s character as well as some very
20   disturbing incidents involving his father. See Part V.A.10, October 5, 2001 order. She noted that he
21   always had been helpful to strangers and even saved the life of a little boy drowning in a pool. She
22   described Mr. Marshall as a sadistic and physically strong man who abused Ben-Sholom “all his life for
23   no reason.” She relayed that Ben-Sholom “couldn’t stay in the same room with him [Mr. Marshall]
24   because if the man looked at his son, he became very enraged for no reason at all and picked on him.”
25   Once when Ben-Sholom was nine or ten years old and came to visit her, she purchased an Air Force
26   uniform for him at a thrift store. As a child, Ben-Sholom loved this uniform. But, when he returned
27   home, “his father threw out the uniform because it gave him [Ben-Sholom] pleasure.” RT-13: 2411.
28   She testified about an episode where Mr. Marshall, upset because Ben-Sholom failed to water certain

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 1   plants, beat his son so severely that when the boy came out of the garage, he crawled; he didn’t walk.
 2   She recounted that Ben-Sholom had a look of terror on his face she hoped never to see again. Mr.
 3   Marshall brutalized and abused Ben-Sholom all his life. She explained that Ben-Sholom lived in a fear
 4   of his father. She also relayed how Mr. Marshall gave orders. “If he [Ben-Sholom] didn’t obey that
 5   order immediately, he beat him. He was supposed to obey his [father’s] orders without any idea or
 6   thought or anything else. No hesitation.” Id.: 2412. In response to this abuse, Mrs. Muldworf described
 7   how Ben-Sholom retreated to his room into a “fantasy world” where he pictured himself as a mercenary.
 8   Id.
 9                                    (3)   Isaac Hull.
10            Mr. Hull was an elder at the Jehovah’s Witness church where Ben-Sholom took Bible study
11   instruction. He found Ben-Sholom to be very bright and studious. Id.: 2414. Before going into the
12   Army, Ben-Sholom visited Mr. Hull and his wife. Mr. Hull observed that Ben-Sholom seemed to be
13   “pretty obsessed with this thing about guns and military.” Being in the Army was something Ben-
14   Sholom could be proud of doing. Id.: 2415. After his discharge, Ben-Sholom seemed disappointed, but
15   his continued interest in guns and weapons concerned Mr. and Mrs. Hull. Id.; 2416. On cross
16   examination, Mr. Hull testified that Ben-Sholom had not been so interested in guns and weapons when
17   he was younger. The interest seemed to intensify right before he went into the Army. Id.: 2419.
18            Mr. Hull’s impression of Lonnie Marshall was that although he was very knowledgeable about
19   the Bible, he didn’t apply what he knew. He then described an incident where Mr. Marshall called Mr.
20   Hull to the Marshall residence because Mr. Marshall insisted that Ben-Sholom’s foot locker was
21   possessed. Mr. Hull found Mr. Marshall very strange and he was “a little bit afraid of him.” Id.: 2418.
22                                    (4)   Judy Mayora.
23            Ms. Mayora knew Ben-Sholom because he was a friend of her son and both boys were in Sea
24   Scouts. See Part V.A.11., October 5, 2001 order. Like Ms. Marshall, Ms. Mayora was employed in a
25   job designed to protect abused children as the director of CASA, which stands for Court Appointed
26   Special Advocates for battered and abused children. RT-13: 2423, 2429. She knew Ben-Sholom to be
27   very kind and sensitive who spent a lot of time trying to become a part of her family. He spent days on
28   end at her home integrating with her other four children. Id.: 2424-2427. Although Ben-Sholom spent

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 1   so much time in her home, Ms. Mayora never met Ben-Sholom’s parents. She regrets not having picked
 2   up on signs he was abused. One time he “was pretty well marked up,” but he gave her conflicting
 3   accounts for his battered appearance and she didn’t follow up. Another sign was that Ben-Sholom spent
 4   so much time at her home. Id.: 2427-28.
 5            After Ms. Mayora learned of the present crime, she realized that Ben-Sholom, as a child, had
 6   been picked up to spend the night at the home of one of her CASA volunteers. His participation in the
 7   present crime was unbelievable to her. It did not fit his character. He was kind and gentle in her home.
 8   Id.: 2429-30. On cross examination, Ms. Mayora described the way that Ben-Sholom embellished
 9   reality regarding financial ability to purchase a car or girlfriends. She wasn’t sure whether his account
10   of planning to go into the Army wasn’t also fantasy. Id.: 2431. He was very mature and acted like he
11   was the same age as her son, who in fact is three years Ben-Sholom’s senior. Id.: 2433. With respect
12   to physical abuse, Ben-Sholom would disclose that his father had done something to him, and then if
13   Ms. Mayora “seemed to pick up on that,” then he would change the story to say that he got into a fight
14   at school. Id.: 2434.
15                                    (5)   Henry Bethany.
16            Mr. Bethany, who had been Ben-Sholom’s Sea Scout leader, gave a very brief account of his
17   acquaintance with Ben-Sholom. He testified that Ben-Sholom was polite, reliable, a good worker, and
18   amiable with his peers. Ben-Sholom was known to Mr. Bethany as “Mike” (his middle name), rather
19   than Ryan. Id.: 2438-40.
20                                    (6)   Ben-Sholom.
21            Ben-Sholom first recounted that he had been in the United States Army for four or five weeks,
22   but received a medical discharge due an ankle injury. With respect to the crime, he testified that he felt
23   a great deal of remorse for killing Mrs. Teague, that it was a terrible thing, and that he wished he could
24   change the events. See Part V.A.9., October 5, 2001 order. Specifically, with respect to the crime he
25   testified: “I feel a great deal of remorse. It was a terrible thing. And if it could be changed, if it was
26   within my power, I would change it.” RT-13: 2442. During his time in jail, he has read five to seven
27   novels a week, most in the science fiction and horror genre, and studied German. Id.: 2443. On cross
28   examination, he explained that it took about a week for the entire situation to sink in before he really

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 1   began to feel remorse for the crime. He said he was in shock at the time of and just after the crime, and
 2   that the shooting had been “an automatic reaction.” He “was given an order” and he “followed the order
 3   explicitly.” Later he had time to think about what carrying out that order meant to his life, the lives of
 4   the family affected by the offense, and the lives of friends and relatives. Id.: 2444.
 5            On re-direct, Ben-Sholom identified a photograph of himself taken out Fort Sims, Oklahoma,
 6   when he was in the Army. Id.: 2445.
 7                               g.   Penalty Phase Stipulated Evidence.
 8            Mr. Alexander offered medical records listing the medications given Ben-Sholom in the Tulare
 9   County Jail, including amitriptyline hydrochloride, an anti-depressant, Haldol, a tranquilizer, Elavil, an
10   anti-depressant, Dalmane, a hypnotic for treatment of insomnia, and Inderal, for treatment of
11   hypertension. The explanations of the drugs listed came from a photocopy of the Physician’s Desk
12   Reference. Id.: 2445-46.
13                               h.   Mr. Alexander’s Penalty Phase Summation.
14            Following Mr. Walton’s closing where he emphasized the callousness of the crime committed
15   by an 18 year old man (Ben-Sholom), Mr. Alexander began by imploring the jury to consider sympathy.
16   Id.: 2455-56. In the next breath, he stated: “But my objective in talking to you is not asking for
17   sympathy at this time. I want you to consider that. But what I would ask you to do is follow the law.”
18   Id. 2457. He explained he wasn’t asking the jurors to “forgive” Ben-Sholom, but to let him live the rest
19   of his life in prison where he could accomplish a lot of good things, including self-education and helping
20   others. Id.: 2458. He noted the factors in mitigation included the absence of evidence of prior violent
21   criminal activity and prior felony convictions.14
22            Now, Judge Allen will read you an instruction regarding this particular factor [the
              presence or absence of criminal activity involving violence]. That will say word for
23            word, “There has been no evidence presented [of] other criminal activity of the
              Defendant which involves the use or attempted use of force or violence or the expressed
24
25
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              14
               The presence or absence of uncharged violent criminal activity was a statutory sentencing
27   factor under California Penal Code § 190.3(b), sometimes referred to as “factor (b).” The presence or
     absence of prior felony convictions was a sentencing factor under § 190.3(c), sometimes referred to as
28   “factor (c).”

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 1            or implied threat[15] to use force or violence. The circumstance should therefore be
              viewed as a circumstance in mitigation.”
 2
                                                           ...
 3
              What is the next factor to consider? The presence or absence of any prior felony
 4            convictions. Judge Allen will read an instruction on that factor. “There has been no
              evidence that the Defendant has been convicted of any prior felony. This circumstance
 5            should therefore be viewed as a circumstance in mitigation.”
 6   Id.: 2461. He especially emphasized the fact of Ben-Sholom’s youth at the time of the crime.16 Mr.
 7   Alexander recited the instruction on this point:
 8            If the Defendant had been under 18 years old when the crimes were committed, he would
              be subject to neither life imprisonment without parole nor the death penalty. You must
 9            consider the Defendant’s age only as a mitigating factor, to be accorded whatever weight
              you believe it deserves. You may not under any circumstance consider Defendant’s age
10            as an aggravating factor.
11   Id.: 2462. He explained there were three sentencing factors which were definitely mitigating (factors
12   (b), (c), and (i)), and one factor that could be mitigating (factor (k)).17 But there was only one factor
13   which would be aggravating (the factor (a) circumstances of the crime).18 He explained that if the jurors
14   were unmoved by evidence of Ben-Sholom’s difficult childhood, they were to disregard the catachall
15   factor (k). If they wanted to show sympathy and give this factor weight, then it would be a factor in
16   mitigation. Id.: 2462. He argued this case was not appropriate for the death penalty. Id.: 2463. He
17   urged the jurors to consider Ben-Sholom’s potential for rehabilitation and leading a useful life in prison
18   as circumstances in mitigation of the sentence. Id.: 2466. He then recounted the testimony of the
19   witnesses who saw good in Ben-Sholom. Id.: 2467.
20
21
              15
                   The judge actually read, “the expressed or implied intent to commit force or violence.” Id.:
22   2471.
23            16
                   The defendant’s age was a sentencing factor under § 190.3(i), sometimes referred to as “factor
     (i).”
24
              17
               The factor (k) instruction derives from § 190.3(k), and is sometimes referred to as the catchall
25   factor. Mr. Alexander argued the would be instructed to consider “any other circumstance which
     extenuates the gravity of the crime even though it is not a legal excuse for the crime, and any other
26   aspect fo the Defendant’s character or record that the Defendant offers as a basis for [a] sentence less
     than death.”
27
              18
              The circumstances of the crime of which the defendant was convicted was a sentencing factor
28   under § 190.3(a), sometimes referred to as “factor (a).”

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 1                               i.   Penalty Phase Deliberations.
 2            Following a penalty phase presentation that lasted less than two and one-half hours, deliberations
 3   continued on for nearly 17 hours.19 There also were several inquiries made by the jury during their
 4   deliberations. On the first day of deliberations, the jurors asked for a definition of aggravating and
 5   mitigating circumstances as well as the Physician’s Desk Reference definitions for the medications
 6   prescribed for Ben-Sholom. Id.: 2477. There also was a question clarifying jail medical records. By
 7   mistake Ben-Sholom’s juvenile records from 1984 had been given to the jurors. Since, according to the
 8   trial judge, the jurors were “not to know about something like that,” the date was changed to 1985. Id.:
 9   2478-79. On the second day of deliberations, the jurors asked for a copy of the transcript of Ben-
10   Sholom’s penalty phase testimony. Id.: 2483-84. Then they wanted to know how many years until a
11   person sentenced to life without the possibility of parole would be eligible for parole. The trial judge
12   clarified that life without parole meant no parole. Id.: 2485. On the third day, the jurors asked whether
13   the prosecution could have presented additional witnesses, to which the court responded in the
14   affirmative. Id.: 2487. A verdict that Ben-Sholom should suffer the death penalty was entered after a
15   full day of deliberations on that third day. Id.: 2488. From the August 15, 1988 declaration of the jury
16   foreman (attached to Ben-Sholom’s first state habeas petition), Ben-Sholom reveals that the first vote
17   cast during penalty deliberations was eight to four for life. The second vote was ten to two for death and
18   the final two votes were unanimous for death. See Part V.A.36, October 5, 2001 order, more fully
19   summarizing the jury foreman’s declaration testimony.
20                               j.   Ben-Sholom’s Motion for Modification of the Death Verdict.
21            Mr. Alexander and Mr. Walton argued their respective positions on Ben-Sholom’s motion to
22   modify the death verdict pursuant to Penal Code § 190.4(e) on April 14, 1986. Mr. Alexander reiterated
23
24            19
               Penalty proceedings commenced at 10:09 a.m. on Tuesday, February 11, 1986 with the reading
     of introductory instructions. RT-13: 2371. The court recessed for lunch from 11:40 a.m. to 1:32 p.m.
25   CT-2: 306. The jury initially retired for penalty deliberations that same day at 2:30 p.m. RT-13: 2476;
     CT-2: 306. This court time works out to be slightly less than two and one-half hours. The jurors
26   deliberated that day from 2:30 p.m. until 5:04 p.m. (two and one-half hours). RT-13: 2480. Court was
     dark on February 12, a court holiday. On Thursday, February 13, 1986, the jurors deliberated from 10:02
27   in the morning to 5:00 in the afternoon (seven hours). Deliberations then continued on Friday, February
     14, 1986 at 9:45 a.m. and concluded at 5:01 p.m. when the jury reached a verdict (seven and one-quarter
28   hours). RT-13: 2487-88. The total number of hours for deliberations is 16 3/4.

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 1   the defense position that Ben-Sholom joined the daytime burglary scheme of Chris Seaman as a step
 2   towards getting to Burma to join the Karen Liberation Army. He emphasized that Ben-Sholom actually
 3   believed this would happen and that the burglary was a step to achieve that goal. HT-1: 5-6. He further
 4   argued that although following orders was not an excuse, the chain of command must be considered in
 5   sparing Ben-Sholom’s life. Id.: 7.       Mr. Walton reiterated that Ben-Sholom’s initial expression of
 6   remorse was not for having taken Mrs. Teague’s life, but for not being able to go to Burma as he had
 7   planned. Id.: 13. Adding to the following orders theme, on rebuttal, Mr. Alexander argued that when
 8   Ben-Sholom was given the order to kill Mrs. Teague, he executed the order, “without thinking” at least
 9   in part because he perceived himself as being lowest in command. Id.: 17. Mr. Alexander strenuously
10   argued that Ben-Sholom felt remorse. Id.: 17-18. He also made a substantial argument regarding inter-
11   case and intra-case proportionality. Id.: 18-26. Mr. Walton argued the aggravated circumstances of the
12   crime; it was callous and cold, all for five guns. Id.: 32-34.
13             The trial judge delivered his ruling on the motion on May 9, 1986. Being guided by the
14   aggravating and mitigating sentencing factors referred to in Penal Code § 190.3, the court denied the
15   motion. HT-2: 2. The record provides:
16             This Court has re-examined the evidence offered in the penalty phase by the defense and
               finds beyond a reasonable doubt that there was [sic] not circumstances which extenuated
17             the gravity of the crime, whether or not it be a legal excuse. [¶] None of the witnesses
               called could offer any explanation or give any evidence of any conceivable circumstance
18             that the Court finds would extenuate the gravity of this crime. The evidence, which the
               defense offered, concerning the Defendant’s extenuation was merely as to his
19             background, and the abuse he suffered at the hands of his stepfather [sic]. [¶] The
               members and friends of the Defendant’s family who testified did not, in the Court’s
20             opinion, present any evidence which this Court would find to be a moral justification or
               extenuation for the Defendant’s conduct.
21
22   Id.: 3.
23             Nonetheless, the trial court found a number of factors were established in mitigation, including,
24   the absence of (uncharged) violent criminal activity, the absence of any prior felony conviction, Ben-
25   Sholom’s age, 18 years old, the environment in which he was raised, and his expression of remorse
26   during penalty proceedings. The court noted there was a lack of evidence that Ben-Sholom was under
27   the influence of extreme mental or emotional disturbance, that he was acting under duress or was
28

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 1   substantially dominated by another person, and he didn’t try to disabuse his companion, John Calhoun,
 2   of the notion that Mrs. Teague had to be killed. Id.: 4-6.
 3                     4.        Evidence Presented by Ben-Sholom at the Evidentiary Hearing.
 4            In his case in chief, Ben-Sholom called Mr. Alexander, Kings View social worker Anthony
 5   Casillas, psychiatrist Gary Wynbrandt, M.D., Ms. Marshall, psychologist Beth Rienzi, Ph.D., Assistant
 6   Tulare County Public Defender Neil Pereira, and Strickland expert Philip Cherney. The Warden called
 7   psychologist Yosef Geshuri, Ph.D. and psychiatrist James Richmond, M.D. On rebuttal, Ben-Sholom
 8   recalled Dr. Wynbrandt and psychologist James Park.
 9                               a.    Roger Alexander.
10            Roger Alexander worked for the Tulare Public Defender’s Office from 1980 to 1986 or 1987.
11   When Ben-Sholom’s case was assigned to him, he had tried five cases charged as special circumstance
12   cases, but none went to a penalty phase. He testified that when he first met Ben-Sholom, he knew there
13   was a possible mental defense. He also was worried that Ben-Sholom was a suicide risk and in need of
14   medication. As a preliminary matter, he retained psychiatrist and neurologist Dr. Kleist, to interview
15   Ben-Sholom, but did not provide Dr. Kleist any materials or documents to review prior to the interview.
16   No report was requested, but Dr. Kleist provided one anyway. That report, dated February 26, 1985,
17   documented Ben-Sholom’s fantasy as a paramilitary soldier and deluded account of his abilities. Of note
18   to Mr. Alexander was that Dr. Kleist suspected that the accounts of paternal abuse recounted by Ben-
19   Sholom were exaggerated. Ultimately Dr. Kleist found Ben-Sholom sane.
20            After rendering this report, Dr. Kleist conferred with Ben-Sholom’s mother, Ms. Marshall, and
21   learned that the level of paternal abuse reported by Ben-Sholom was not exaggerated. In a subsequent
22   report, however, Dr. Kleist did not offer a new diagnosis or amend the initial impression. Like Dr.
23   Kleist, Mr. Alexander related that Ben-Sholom said strange and outrageous things to try to elicit a
24   response and to impress his listener. After reviewing Dr. Kleist’s second report, Mr. Alexander
25   consulted with Ms. Marshall.
26
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 1            Mr. Alexander testified that after receiving Dr. Kleist’s report, he hired mental health experts,
 2   Drs. Glenn, Geshuri, and Rienzi.20 None of these mental health professionals, however, were contacted
 3   until the following September 1985 (over six months later). Mr. Alexander also did not begin requesting
 4   information about Ben-Sholom’s mental health history until September and October 1985.21 In the
 5   interim, in June of 1985, Mr. Alexander consulted with Allen Middleton, Ph.D, a specialist in post-
 6   traumatic stress disorder (“PTSD”) to see if Ben-Sholom’s military experience may have caused any
 7   mental problems. At the time Mr. Alexander had not heard of PTSD outside of the military combat
 8   context. Mr. Alexander gathered from Dr. Middleton, however, that Ben-Sholom’s military experience
 9   (in the United States Army) did not cause PTSD.22
10            The purpose for retaining psychiatrist/ neurologist, Dr. Glenn, was to ascertain if Ben-Sholom
11   was mentally ill. To prepare Dr. Glenn for his interview with Ben-Sholom, Mr. Alexander provided him
12   Ben-Sholom’s Kings View counseling records and police reports.23 He specifically wanted Dr. Glenn
13   to comment on the defense of diminished capacity and insanity. He did not request a report and was
14   surprised Dr. Glenn provided one (dated September 21, 1985). Dr. Glenn opined that Ben-Sholom was
15   not insane. Mr. Alexander testified that Dr. Glenn recounted facts about Mr. Marshall’s paternal
16   brutality, the horribly abusive home life, Ben-Sholom’s failure in the Army, his major depression and
17   suicide attempt, his jumping from the Sequoia Mall, and the need for psychological testing. Dr. Glenn
18   also sent Mr. Alexander articles about Inderal. Mr. Alexander stated he did not intend to use Dr. Glenn
19   as a witness.
20            The next mental health professional consulted was psychologist, Dr. Geshuri. Mr. Alexander
21   retained Dr. Geshuri to conduct psychological testing. Mr. Alexander purposefully did not provide Dr.
22
              20
              Mr. Alexander also hired Bernard P. Rudis to conduct a physical examination of Ben-Sholom.
23   Dr. Rudis examined Ben-Sholom on December 30, 1985, concluding an “essentially normal” neurologic
     examination, finding no abnormalities.
24
              21
               The subpoenas Mr. Alexander served were returnable on November 18, 1985, the day after the
25   original trial date.
26            22
             Since, Dr. Middleton’s assessment is inconclusive about whether Ben-Sholom suffered from
     PTSD from paternal abuse and other stressors (as he was not asked that question), it is not summarized.
27
              23
              Although subpoenas for records were returnable on November 18, 1985, the Kings View
28   counseling records, evidently came into Mr. Alexander’s possession in advance of that return date.

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 1   Geshuri any background information. Nor did he talk to Dr. Geshuri before the report was prepared.
 2   Mr. Alexander described the report as “really bad.” Shortly thereafter, Mr. Alexander retained Dr.
 3   Rienzi, also to conduct testing and hopefully yield a more favorable impression. With Dr. Rienzi, Mr.
 4   Alexander stuck with his strategy of not providing psychologists with any substantiated background
 5   information, although he testified that he did inform her of the charges and the basic facts of the case.
 6   He testified his decision not to provide Drs. Geshuri and Rienzi with background information was
 7   strategic. Even conceding that there was some background information which did not contain any
 8   violent past behavior on the part of Ben-Sholom, Mr. Alexander testified he “wanted a clean opinion”
 9   based only on the testing.
10            Dr. Rienzi wrote a report noting the crime resulted from a “military contract.” Mr. Alexander
11   recalled Dr. Rienzi’s impressions that Ben-Sholom was excessively rigid and insecure and that he
12   desperately wanted to belong to something. Mr. Alexander described Dr. Rienzi’s impressions as having
13   been solely based on testing. Later, he testified that he didn’t know whether Dr. Rienzi’s clinical
14   interview informed her opinion. He did know that he wanted her to testify solely about the empirical
15   results of the tests she administered because he didn’t want to appear to be making excuses.
16            After receiving and reviewing Dr. Rienzi’s report, Mr. Alexander decided that his penalty phase
17   strategy would be to call her to the stand. Along with this plan, he also worked to get the trial judge to
18   give specific instructions, namely that Ben-Sholom’s age at the time he committed the crime, under
19   Penal Code § 190.3(i) and the fact that he had no uncharged violent criminal activity or prior felonies,
20   § 190.3(b) and (c), were factors in mitigation of the crime warranting life without the possibility of
21   parole rather than death. He intended for evidence about Ben-Sholom’s mental state and childhood
22   abuse to be covered under the catchall penalty factor, § 190.3(k). He knew that the sole aggravating
23   factor to be relied on by the prosecution was the circumstances of the crime factor under § 190.3(a), and
24   he wanted to have a “clean” penalty case, where the defense instructions would relate only to mitigating
25   factors. He didn’t want any factors mentioned that the jurors could twist into aggravators.
26            Mr. Alexander did not recall reading the penalty factors individually to assess whether he could
27   produce any other mitigating evidence. Later he testified he actually deleted factor (d) (extreme mental
28   or emotional disturbance, under Penal Code § 190.3(d)) and factor (g) (substantial domination, under

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 1   § 190.3(g)) from the instructions. He did not conduct research on factor (g), although he did have in
 2   mind that Ben-Sholom was easily led. He testified he was afraid the jury would have responded
 3   unfavorably, either with disgust or derision24 to a factor (g) instruction. He also was fearful a factor (g)
 4   instruction would have been turned in an aggravator if the jury didn’t find substantial domination to be
 5   mitigating. This followed, in Mr. Alexander’s reasoning, because Ben-Sholom went into the house first
 6   and was the actual shooter. He (Mr. Alexander) said he would follow the same strategy at the time of
 7   his testimony; he simply didn’t want to blame the crime on others. He had the same belief about a factor
 8   (d) instruction, that is, he would not use an instruction under this factor, even at the time of his
 9   testimony, since evidence of mental or emotional disturbance could be presented under the catchall
10   factor (k). He believed the jurors would not ignore general mitigating evidence (i.e., paternal abuse) even
11   if there was no specific instruction, although he wasn’t sure they would know what to do with it. At the
12   time Mr. Alexander tried Ben-Sholom’s case, his experience with mental health issues was limited to
13   determining a defendant’s guilt or innocence. In those situations, mental defenses were viewed as mere
14   excuses. He would not use a mental defense unless there was a neurological backing. He felt mental
15   mitigation was a hard sell, whereas the mitigation impact of child abuse was easier.
16            With respect to the substantial domination factor (g) instruction, Mr. Alexander was questioned
17   about an interview conducted of Mr. Marshall, pre-trial, by the defense investigator. In the interview,
18   Mr. Marshall stated that Ben-Sholom definitely was a follower, who wanted to lose his identity in some
19   kind of military organization. The interview report was admitted as Exhibit 8 to the evidentiary hearing
20   transcript (“EHT”). Mr. Alexander, however did not recall any such information in the report or the
21   interview with Mr. Marshall. In any event, Mr. Alexander did not intend to call Mr. Marshall. Not only
22   did Mr. Alexander fear for his own safety when it came to Mr. Marshall, but he explained that Mr.
23   Marshall threatened he would have said things on the stand to ensure that his son would get the death
24   penalty if he had been subpoenaed to testify.
25
26
27
              24
              “The jury would have – I don’t know if laughed at me, laughed at Ryan [Ben-Sholom], been
28   disgusted with him for blaming someone else.”

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 1            Initially, Mr. Alexander tried to have Ben-Sholom’s custodial statements suppressed.25 When
 2   this failed, he believed the prosecution would get a conviction and the case would proceed to a penalty
 3   phase. At the time of Ben-Sholom’s penalty phase, Chris Seaman already had been sentenced to death.
 4   Mr. Alexander believed a death verdict was possible for Ben-Sholom as well.26 Mr. Alexander wanted
 5   to maintain credibility with the jury. He intended to point out the mitigating factors and argue they
 6   outweighed the aggravating factor. In Mr. Alexander’s view, his job during the penalty phase was to
 7   humanize Ben-Sholom. To do that, he called witnesses who were knowledgeable and credible. The
 8   defense investigator interviewed 21 potential witnesses between August and December 1985. He also
 9   subpoenaed numerous documents, to be produced in November 1985.              Six of the 21 witnesses
10   interviewed were subpoenaed and only four were called as witnesses.27 He also marked as trial exhibits
11   childhood photographs of Ben-Sholom, admitted during Ms. Marshall’s testimony. He denied not
12   reviewing with her the contents and events depicted in the photographs.28 He also explained that
13   interacting with Ms. Marshall was difficult and time-consuming because she required so much attention.
14   Additionally, he testified she was not always a reliable historian. Before calling his witnesses, Mr.
15   Alexander explained to the jury that the penalty phase evidence would allow the jurors to get to know
16   and gain some “insight” into Ben-Sholom. One concern he had was that jurors wouldn’t look at Ben-
17   Sholom during the trial proceedings. His purpose in having Ben-Sholom testify was to give the jurors
18   an opportunity to look at him and listen to him. Mr. Alexander prepared Ben-Sholom for his testimony
19   by ensuring he wouldn’t say anything about wanting to die.
20
21
22            25
               As noted above, the validity of the admission of Ben-Sholom’s custodial statements was
     upheld in the October 5, 2001 order at Part IX.
23
              26
               This testimony was contrary to Mr. Alexander’s declaration executed June 16, 1997, as
24   described in Part V.A.34., October 5, 2001 order.
25            27
               Of the five witnesses (other than Ben-Sholom) who testified, it’s not clear which ones came
     to court because of a subpoena. Mr. Alexander called Phyllis Marshall, Faye Muldworf, Isaac Hull, Judy
26   Mayora, Henry Bethany, and Ben-Sholom.
27            28
              The trial transcript reveals that he did ask her, and she testified about, the contents of the
     photographs, though, not in detail. The trial transcript also reveals that one photograph of Ben-Sholom
28   in the Army, which was admitted during his (Ben-Sholom’s) testimony.

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 1            From Mrs. Muldworf, Ben-Sholom’s grandmother, Mr. Alexander wanted evidence of Ben-
 2   Sholom’s abusive background, as a sympathy factor. He did not feel that Ben-Sholom’s abuse was a
 3   factor as to his participation in the crime. Isaac Hull was called to testify about the bizarre behavior of
 4   Ben-Sholom’s father in burning Ben-Sholom’s foot locker,29 and Henry Bethany was called to give good
 5   character evidence. Mr. Alexander also intended to review Dr. Rienzi’s test results, particularly the fact
 6   that Ben-Sholom wanted to belong to something larger than himself. He intended to emphasize the
 7   military aspect of the crime and the fact that Ben-Sholom perceived the burglary as a military operation.
 8   Mr. Alexander thought this would show there was something wrong with Ben-Sholom. He believed
 9   mental state mitigators, and the paternal abuse would be developed through Dr. Rienzi.
10            He intentionally withheld background information about Ben-Sholom’s social history (which Mr.
11   Alexander developed himself through investigation and witness interview).30 Although he didn’t know
12   whether Dr. Rienzi’s clinical interview of Ben-Sholom informed her opinion, he testified that the clinical
13   interview was not necessary to the test interpretation and therefore irrelevant to her anticipated
14   testimony. In preparing her for her testimony, he directed her to limit her testimony only to the objective
15   tests. He was so concerned about excluding her clinical impression that he considered a motion in
16   limine to exclude testimony about her interview. He conceded, however, that he didn’t know whether
17   Dr. Rienzi would have been able to testify without referring to her clinical interview.
18            Ultimately, he decided not to use Dr. Rienzi because he was able to get the jury instructions he
19   requested. This decision had a secondary benefit in Mr. Alexander’s estimation of precluding Dr.
20   Rienzi’s access to damaging information in the Kings View reports, police reports, and other expert
21   reports relative to Ben-Sholom’s capacity and preoccupation with violence, killing himself, and killing
22   his father. Mr. Alexander certainly didn’t want the prosecutor, Mr. Walton, to have access to any of the
23
24            29
                Mr. Hull did not actually testify that Mr. Marshall burned Ben-Sholom’s foot locker. He
     testified that Mr. Marshall believed the foot locker was possessed. Social historian/ psychologist Karen
25   Froming, Ph. D., wrote a social history report in which she relayed Mr. Marshall’s burning of Ben-
     Sholom’s foot locker. See Part V.A.23., October 5, 2001 order.
26
              30
               Mr. Alexander testified that the concept of a social history was conveyed at the defense bar
27   conferences he attended. His understanding was that the materials simply were compiled, not that a
     separate expert was hired to compile them. He prepared a social history of Ben-Sholom’s background
28   himself.

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 1   damaging reports (from Drs. Kleist and Geshuri). He wanted any violent elements of Ben-Sholom’s
 2   background (other than paternal abuse) to be excluded from the jury, so as not to contradict the
 3   mitigation factor under Penal Code § 190.3(b) (the absence of uncharged violent criminal activity). He
 4   also was concerned about how unemotional Ben-Sholom was, referring to Dr. Kleist’s impression that
 5   Ben-Sholom was a very scary person. Not calling Dr. Rienzi also eliminated the possibility that the
 6   prosecution would call Dr. Richmond in rebuttal. He testified he didn’t know what Dr. Richmond would
 7   say if called, because at the time Mr. Alexander conducted Dr. Richmond’s deposition, the doctor said
 8   he hadn’t formed any opinions about Ben-Sholom’s mental health. Mr. Alexander feared if Dr.
 9   Richmond testified, he might have formed and testified about an opinion. Although some concessions
10   about Dr. Richmond’s proposed testimony at the pre-penalty phase discussions were reached between
11   Mr. Alexander and Mr. Walton, in Mr. Alexander’s experience, Mr. Walton, was prone to change
12   positions.
13            The concern Mr. Alexander had with Dr. Richmond was the possibility the doctor would relay
14   violent incidents Ben-Sholom recounted to him (Dr. Richmond) in the January 28, 1985 interview. Mr.
15   Alexander testified he could not have obtained an in limine order to limit Dr. Richmond’s rebuttal in
16   advance of Dr. Rienzi’s testimony because the trial judge would have wanted to hear what Dr. Rienzi
17   had to say before limiting the rebuttal. On cross examination, he testified that without the benefit of
18   hindsight, he would not have altered his decision about not calling Dr. Rienzi.
19            Although Mr. Alexander knew from his interaction with Ben-Sholom there was something wrong
20   with Ben-Sholom, he testified he “never got at what it was” and he didn’t get the full picture before the
21   jury. His self-assessment was that he performed above average in terms of the time spent developing
22   a defense and consulting with experts, considering the limitation on funding. Yet, still, he testified he
23   felt he didn’t adequately investigate the mental health issues and mitigators because the jurors returned
24   a death verdict.
25                               b.   Anthony Casillas.
26            Mr. Casillas, a licensed clinical social worker, was a therapist at Kings View Mental Health
27   Center in Visalia. Ben-Sholom was considered a volunteer admission, at age 14, brought in and referred
28   by his mother, Ms. Marshall. In her capacity as a CPS worker for the County of Tulare, Ms. Marshall

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 1   previously had referred CPS children to Kings View. During their first session, Mr. Casillas noted that
 2   Ben-Sholom came into the session dressed in a cowboy hat and sun glasses. He wanted to be called
 3   “Mike” (his middle name) rather than Ryan. Ben-Sholom expressed hatred for his father, which Mr.
 4   Casillas understood followed from verbal abuse. The impact of this abuse on Ben-Sholom was to
 5   produce fear, low self-esteem, and lead Ben-Sholom to distance himself from people. In the summary
 6   Mr. Casillas authored,31 the presenting situation, according to Ms. Marshall, was that Ben-Sholom had
 7   a poor relationship with his father and wanted to leave home. Ms. Marshall was concerned about Ben-
 8   Sholom being afraid of his father. She reported that Ben-Sholom tended to get himself in trouble at
 9   school by getting into fights. In addition, she reported the following behaviors during the few months
10   prior to his admission (on August 25, 1980 at age 14): nail biting, stomach upsets, over-eating, stuffing
11   himself at the table, headaches, difficulty falling asleep, not wanting to go to school, feeling fearful,
12   being restless and quarrelsome, irritability, temper tantrums, disobedience, talking back, getting his
13   feelings hurt too easily, talking about “unpleasant thoughts,” complaining, pouting, feeling “unliked,”
14   demanding too much attention, showing off, being disliked by other children, picking on other children,
15   and being picked on by other children. Exhibit 10 to Petition, page 1. Mr. Casillas’s impression was
16   that Ben-Sholom suffered from an adjustment disorder with mixed disturbance of emotions and conduct.
17   Id., page 2. In a later session on October 21, 1980, during which Mr. Casillas met with Ms. Marshall,
18   she reported Ben-Sholom to be obstinate and disobedient. She expressed concern that Ben-Sholom
19   might “want to become physically violent” with her. Id., page 12. Mr. Casillas’s report of his session
20   with Ben-Sholom the next day, however, described Ben-Sholom as “in a lot of emotional pain and
21   agony” and resentment toward his mother “for not divorcing or leaving his father.” Id., at page 13.
22            Neither Ms. Marshall nor Ben-Sholom reported physical paternal abuse. Mr. Casillas’s interview
23   with Mr. Marshall (as part of the therapeutic process) also did not indicate abuse, although Mr. Casillas
24   described Mr. Marshall as resentful and non-communicative. On cross examination, Mr. Casillas
25   revealed he did not learn of the physical abuse inflicted on Ben-Sholom until he was told by Ben-
26   Sholom’s federal habeas counsel. In the absence of knowledge about the physical abuse at the time of
27
              31
               This admission summary, dated August 25, 1980, is part of the Kings View counseling records
28   attached to Ben-Sholom’s Petition collectively as Exhibit 10.

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 1   Ben-Sholom’s therapy, Mr. Casillas testified his was “alarmed” by Ben-Sholom’s demeanor and
 2   emotions in wanting to kill his father. Ben-Sholom reacted to his emotions by running away from home.
 3   Mr. Casillas testified that he believed Ben-Sholom did not disclose the paternal abuse either from
 4   personal fear of retribution from his father or fear of getting his mother into trouble. Mr. Casillas also
 5   suggested that Ben-Sholom may have been coached not to disclose this information.32
 6            According to Mr. Casillas, Ben-Sholom responded positively to group therapy. He served as a
 7   “co-leader” with Mr. Casillas in giving answers without prodding, openly participating in the therapeutic
 8   sessions, and helping other participants. Ben-Sholom aligned and identified himself with Mr. Casillas.
 9   Ben-Sholom also attended individual sessions. Mr. Casillas testified to Ben-Sholom’s openness, an
10   unusual occurrence in a boy of 14. A manifestation of this candor was that Ben-Sholom cried during
11   a group therapy session. On cross examination, Mr. Casillas testified that he did not diagnose Ben-
12   Sholom with PTSD. Mr. Casillas was not aware of PTSD as a diagnosis outside of the combat setting.
13   Ben-Sholom was pulled from therapy by his mother in December 1980.33
14            The records reflect that on July 14, 1981, Ben-Sholom was readmitted to Kings View with the
15   chief complaint that his mother was upset because he told her he put a contract out on his father and
16   wanted him (the father) dead. His mother also reported he told her that if she got in his way he would
17   kill her too and he threatened her with a kitchen knife. Id., page 19. He told the therapist (not Mr.
18   Casillas) that he didn’t care if he died and that he had considered suicide as a way of securing his release
19   from his father. This report was taken by a social work intern under the supervision of psychiatric social
20   worker, Carol Sawyer. In spite of this report, the therapist believed Ben-Sholom was an angry
21   adolescent (15 years old) who was afraid of his father. She was not concerned that Ben-Sholom would
22   actually harm either of his parents. Id., page 20. Two months later, Ben-Sholom ran away from home
23   and went to Kings View for help. On at least one occasion, he rode his bicycle from Fresno to Visalia
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25
26
27            32
                   Mr. Casillas’s testimony suggested that Ms. Marshall coached Ben-Sholom in this manner.
28            33
                   Ben-Sholom was still 14 at this time.

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 1   to meet with a counselor. 34 Each time Ben-Sholom ran away from home and sought help, he was
 2   returned home. Mr. Casillas testified that Ben-Sholom was really trying fix his life and trying to figure
 3   out what to do – again, an unusual occurrence in an adolescent boy. Mr. Casillas did not recall a Kings
 4   View report where Ben-Sholom said his father kicked him and that was why he ran away from home.35
 5                               c.   Gary Wynbrandt, M.D.
 6            Dr. Wynbrandt, a psychiatrist, was first hired in 1995 by Ben-Sholom’s federal habeas counsel
 7   to provide an assessment of Ben-Sholom’s mental state in 1985. To do so, Dr. Wynbrandt reviewed
 8   numerous records and actually examined Ben-Sholom in person at San Quentin State Prison. The
 9   records and documents he reviewed are identified in his June 17, 1997 declaration (Exhibit 3 to the
10   Petition), including numerous mental health expert reports, letters, test results, police reports, transcripts
11   of Ben-Sholom’s custodial statements, medical progress notes, the deposition transcript of Dr.
12   Richmond, and the social history of Ben-Sholom complied by Karen Froming, Ph.D. See summary in
13   Part V.A.35., October 5, 2001 order.36 In addition, Dr. Wynbrandt conducted three mental status
14   examinations of Ben-Sholom at San Quentin State Prison, on March 22, 1995, March 28, 1995, and
15   April 10, 1995, for a total of eight hours. Dr. Wynbrandt noted that a detailed social history is important
16   to conducting a mental assessment. On cross examination, however, he declined to adopt the
17   characterization that he “relied” on Dr. Froming’s social history. Rather, he utilized it, just as he did all
18   the other information provided. Based on all the information he reviewed, plus his in–person
19   examination, Dr. Wynbrandt concluded that Ben-Sholom suffered from PTSD at the time of the crime.
20   He testified that this condition is commonly seen in people badly traumatized, physically, emotionally,
21
22            34
                This is an approximate 40 mile distance. The Kings View records reflecting this bicycle ride
     or rides is part of Exhibit 10 to the Petition at page 24. It is clear from the notes that Ben-Sholom rode
23   his bicycle to Kings View on September 11, 1981, after having run away from home. It is not clear that
     he also rode his bicycle to Kings View a second time on September 14, 1981. From the context of the
24   entries, the September 14, 1981 entry date may well be an error. Mr. Casillas did review those records,
     but he was not the counselor who made the notes about Ben-Sholom’s bicycle ride nor who interacted
25   with Ben-Sholom at his July 14, 1981 readmission.
26            35
               This report, dated March 2, 1981 and part of Exhibit 10 to the Petition, at page 17, was not
     written by Mr. Casillas, but by another health care worker at Kings View.
27
              36
               Dr. Froming’s social history report, Exhibit 4 to the Petition, is summarized at Part V.A.23.
28   of the October 5, 2001 order.

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 1   or sexually, in early years of life. PTSD is accompanied by panic attacks, nightmares, depression,
 2   dissociation, and a volatile affect. In a person with PTSD, the “nervous system reacts as if trauma w[ere]
 3   about to occur.” PTSD was recognized in the Diagnostic and Statistical Manual (“DSM”), third edition
 4   (“III”), first printed in 1980.
 5            He explained the DSM classifies mental conditions based on a 5-axial system. Axis I is the
 6   acute diagnosis; Axis II is the underlying structure or core personality characteristics of the individual;
 7   Axis III involves underlying medical conditions; Axis IV measures the psycho-social stressors on a scale
 8   of from one to six; and Axis V quantifies the level of functioning for the previous 12 months. Dr.
 9   Wynbrandt opined that PTSD, as well as major depressions comprised the Axis I diagnosis for Ben-
10   Sholom at the time of the crime. He stated that major depression would have included the state of mind
11   of feeling hopeless, helpless, overwhelmed, withdrawn, suicidal, unhappy, prone to acting out, and
12   distracted. Ben-Sholom’s Axis II diagnosis was identity fragmentation, a condition found in borderline
13   personality disorder. It means the person suffers confusion about his identity, or has problems
14   establishing his identity, accompanied by extreme displays of emotion and impulsiveness. The person
15   would be unstable and adapts to environmental factors.
16            Dr. Wynbrandt concluded that Ben-Sholom’s PTSD resulted from the abuse he suffered as a
17   child, including the four month period in Louisiana with his father as a toddler. He considered Ben-
18   Sholom’s attendance at 13 schools between kindergarten and 11th grade and his residence with his
19   grandmother and psychotic uncle as a toddler to be contributing factors.37 The return of Mr. Marshall
20   into Ben-Sholom’s life at age seven and a half was accompanied by extreme physical abuse and utter
21   terror in the child. Abuse and depression also were evident in the fact that Ben-Sholom was accident
22   prone. Dr. Wynbrandt mentioned the incident where Ben-Sholom slashed his wrists when he was ten
23   years old and sought assistance from a neighbor to obtain medical attention. Sources for Ben-Sholom’s
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25
26
              37
              In his declaration, Dr. Wynbrandt noted that Ben-Sholom’s maternal uncle, Norman Muldworf,
27   received full disability as a paranoid schizophrenic and experienced episodic displays of violence,
     including an incident when he physically injured Ms. Marshall during Ben-Sholom’s early childhood.
28   This information, in turn was derived from Dr. Froming’s social history report. (Exhibit 4 to Petition.)

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 1   major depression included his abandonment by his mother as a young child.38 Manifestations of his
 2   depression included his emotionally flat demeanor as a youngster, his desire to die at age ten, and the
 3   wrist slashing incident mentioned above.
 4            With respect to Ben-Sholom’s identity fragmentation, Dr. Wynbrandt learned from Ben-Sholom
 5   that he maintained various wardrobes to represent diverse personae, including a cowboy outfit, military
 6   fatigues, special clothing for his contact with homosexual males and a “drag queen” called “Bubbles,”
 7   and a “preppie” outfit for the clean-cut personae. Dr. Wynbrandt felt that although, Ben-Sholom’s father
 8   was a horrible role model, Ben-Sholom’s affinity for the mercenary personae (military fatigues)
 9   demonstrated attachment to his father and his father’s enthusiasm for weapons. In Dr. Wynbrandt’s
10   opinion, Ben-Sholom’s borderline personality originated when he was a toddler and went (with his
11   mother) to live with his father in Louisiana. The abuse inflicted came during the 18 to 36 month period,
12   where people develop separation and individuation. It was an unsafe environment. Moving back to
13   California also was unsafe, since he was in his grandmother’s household with his psychotic uncle.
14            Dr. Wynbrandt testified that at the time of the crime, Ben-Sholom was acting under the
15   substantial domination of others. He had been in basic training since he was eight years old from “the
16   militaristic life that his father imposed when he returned to the family.” In Ben-Sholom’s family, there
17   were two family member types: the dominator and the “submitter.” Mr. Marshall dominated; Ben-
18   Sholom was forced to submit. Apart from that, Ben-Sholom had long been interested in the military and
19   wanted to follow orders given by someone with his best interests in mind. After his discharge from the
20   Army, Ben-Sholom was desperate to find some order and to get away from his father. He looked up to
21   Chris Seaman because Seaman “beat” cancer. Ben-Sholom was “whole cloth susceptible” to embracing
22   instructions as to what his role should be so he could be a “good boy.” Related to this was Ben-
23   Sholom’s interest in joining the Karen National Liberation Army so he could be a good soldier and
24   provide a service for the good of others. In fact, Dr. Wynbrandt described this as a “flight of fantasy,”
25   a crazy idea founded on magical thinking common in people suffering from borderline personality. He
26   testified that magical thinking is a form of episodic psychosis.
27
              38
              Dr. Wynbrandt, noted that Ms. Marshall characterized her conduct as instilling independence
28   in Ben-Sholom, but he (Dr. Wynbrandt) viewed it as abandonment.

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 1            Underlying all the foregoing was that Ben-Sholom suffered from hypertension, so much so that
 2   he was required to take medication, Inderal. Hypertension to this degree was not common for an 18 year
 3   old boy. Dr. Wynbrandt concluded that the fact of his hypertension indicated Ben-Sholom was under
 4   a lot of stress, abused alcohol, and/ or suffered from a physical/ hereditary condition. Dr. Wynbrandt
 5   discussed a major disadvantage to Inderal, namely that it was known to contribute to depression in some
 6   people. Because of this risk, Dr. Wynbrandt explained, Inderal has been discontinued for treatment of
 7   hypertension. The Physician’s Desk Reference in use at the time of Ben-Sholom’s trial indicated that
 8   Inderal had this depressive side effect.
 9            Dr. Wynbrandt strongly disputed the conclusion of other mental health experts that Ben-Sholom
10   was afflicted with ASPD. Ben-Sholom’s symptoms and conduct belied this diagnosis. First, as Mr.
11   Casillas testified, when Ben-Sholom was an adolescent, he wanted to get help for his problems. He was
12   emotive in group and well as individual therapy. Dr. Wynbrandt also referred to Judy Mayora’s penalty
13   phase testimony about Ben-Sholom, describing him as personable and empathetic.39 These traits are
14   inconsistent with ASPD. People with ASPD are completely disinterested in treatment and making
15   meaningful attachments. Dr. Wynbrandt found the interview comments from Mr. Marshall taken from
16   Mr. Alexander’s trial investigator about Ben-Sholom wanting to belong to something also inconsistent
17   with ASPD.
18            In drawing this conclusion, Dr. Wynbrandt considered that Ben-Sholom had displayed anti-social
19   behavior in his truancy from school, and later his drinking, as well as the fact that he showed no empathy
20   (for Mrs. Teague) at the time of the crime when he was decompensating. ASPD remains with the person
21   as part of the core personality structure.
22            Dr. Wynbrandt testified that his opinions and conclusions about Ben-Sholom were consistent
23   with what any well-informed psychiatrist would have observed if complete information had been
24   provided. As a mental health professional, Dr. Wynbrandt stressed the importance of receiving all
25   relevant information in order to conduct a valid evaluation. On cross examination, Dr. Wynbrandt
26
27            39
               Ms. Mayora certainly described him as personable and wanting to be one with her family. She
     did not use the word “empathetic.” She testified that Ben-Sholom liked to “talk” with her and her four
28   children. She accepted the fact that he had made himself part of her family.

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 1   confirmed that in rendering his opinion about Ben-Sholom, he utilized the reports of Drs. Geshuri,
 2   Kleist, and Glenn, all of which contained information about Ben-Sholom’s anti-social behavior.40
 3   Further, he testified, there would be no point in rendering an opinion as to a person’s mental state
 4   without a clinical interview.
 5                               d.   Phyllis Marshall.
 6            Ms. Marshall’s penalty phase testimony did not give a complete picture of life with her ex-
 7   husband. During her and Ben-Sholom’s four month residence with him in Louisiana, Mr. Marshall
 8   expected 17 month old Ben-Sholom to be toilet trained and off the bottle. She testified about an
 9   occasion when Mr. Marshall grabbed the bottle from Ben-Sholom and threw it in the street and spanked
10   or shook him if he wet his diaper. When Ms. Marshall left the room and Ben-Sholom was alone with
11   his father, the child would go to sleep.
12            Approximately six years later, when Ms. Marshall married Mr. Marshall, she thought he had
13   changed. But, he was worse and more abusive. Mr. Marshall demeaned Ben-Sholom by calling him
14   stupid, worthless, and a punk. He demeaned Ms. Marshall be calling her a bitch, a whore, and worthless.
15   Mr. Marshall told Ben-Sholom not to listen to his mother. He physically abused Ben-Sholom everyday,
16   using his hand or a belt. He left bruises. Mr. Marshall also abused Ms. Marshall, usually when she tried
17   to intervene to prevent harm to Ben-Sholom, but apart from that as well. She described that he threw
18   her against walls. He abused Ms. Marshall in front of little Ben-Sholom.     Mr. Marshall became angry
19   everyday. Ms. Marshall testified that he “escalated himself.” His skin whitened, his eyes widened, and
20   his mouth frothed. The hitting and abusive treatment preceded and continued while these symptoms
21   were present.
22            When Ben-Sholom was 17, Mr. Marshall attempted to kill him by strangulation. Ms. Marshall
23   tried to get police intervention, but Mr. Marshall was never arrested. Earlier in the marriage, Mr.
24   Marshall once jumped out of bed in the middle of the night with his loaded gun running through the
25   house and yard. Ms. Marshall testified that her marriage was like living a nightmare. She always had
26
              40
               Dr. Geshuri concluded Ben-Sholom suffered from ASPD. Dr. Kleist regarded him as having
27   a severe paranoid personality disorder associated with a probable anti-social personality. Dr. Glenn’s
     primary diagnosis of Ben-Sholom in 1985 was “mixed personality disorder,” characterized by passive
28   aggressive and anti-social features.

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 1   to be on guard. She also relayed that it was not uncommon for Mr. Marshall to run into Ben-Sholom’s
 2   room at odd times, turn it over, and then demand that it be cleaned.
 3            Ms. Marshall testified that she gave all this background information to Mr. Alexander. He told
 4   Ms. Marshall that at penalty proceedings he would emphasize Ben-Sholom’s age and the fact that he had
 5   been programmed by his father to obey orders. He also told her that Dr. Rienzi, with whom Ms.
 6   Marshall was acquainted professionally, would testify. Then he told her that he didn’t think Dr. Rienzi’s
 7   testimony would be necessary. When Mr. Alexander prepared Ms. Marshall for her penalty phase
 8   testimony, he did not tell her what the point of her testimony would be or how it would fit into his trial
 9   strategy.
10            Ms. Marshall testified that when Ben-Sholom was in therapy at Kings View Mental Health
11   Center, she told Anthony Casillas that Mr. Marshall was beating Ben-Sholom and her. Co-workers from
12   CPS (where Ms. Marshall worked) also were aware of the abuse. Sometimes she and Ben-Sholom spent
13   the night at homes of colleagues. She testified she never reported the abuse to law enforcement for fear
14   that Mr. Marshall would carry through with threats of harming her or Ben-Sholom, or that Ben-Sholom
15   would be removed from the home.
16                               e.    Beth Rienzi, Ph.D.
17            At the time of her evidentiary hearing testimony (February 2003), Dr. Rienzi had been a
18   professor of clinical psychology for 14 years, principally psychological testing under the DSM. Her
19   evidentiary hearing testimony was consistent with a declaration she executed on June 14, 1997 (Exhibit
20   1 to the Petition).41 When she was retained by Mr. Alexander in 1985, the reference question was vague.
21   She understood that he wanted an overview of Ben-Sholom’s personality and what was going on with
22   him mentally. In her 1985 report (Exhibit 27 to the Petition), she described her assignment was to
23   provide a psychological evaluation “to obtain a picture of Ryan’s [Ben-Sholom’s] personality, character
24   and functioning and to help clarify his motives and behaviors during the alleged crime.” She was not
25   asked about specific sentencing factors, or anything referencing penalty. Mr. Alexander did not tell Dr.
26   Rienzi his purpose in seeking her assistance. She was not provided with any records. She explained that
27
28            41
                   Dr. Rienzi’s 1997 declaration is summarized in the October 5, 2001 order at Part V.A.33.

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 1   records are very important when conducting a forensic psychological evaluation because they provide
 2   corroboration for information given by the subject. Generally, when conducting a forensic evaluation,
 3   she is suspicious of what defendants tell her. This follows because when the subject is accused of a
 4   crime, there is a secondary gain involved.
 5            With respect to Ben-Sholom, she administered psychological tests and conducted a clinical
 6   interview. Psychological tests provide profile characteristics on a probability basis. Conducting a
 7   clinical interview is part of the testing process. There was never any discussion with Mr. Alexander
 8   about her just conducting tests without a clinical interview. A true evaluation requires a clinical
 9   interview. She also testified that it’s important to have both “the good and the bad” information about
10   a person. In Ben-Sholom’s case, when she finally was able to review all the available information prior
11   to her 1997 declaration, her view of Ben-Sholom was “clarified.”
12            When she first met Ben-Sholom in 1985, he was hard to like. He presented himself in a very
13   inflated manner, but also appeared very helpless. For Mr. Alexander to have withheld unfavorable
14   information from her made no sense to Dr. Rienzi, since Ben-Sholom told her (and his other examiners)
15   everything bad anyway. Dr. Rienzi discounted his reports of abuse because she knew his mother, Ms.
16   Marshall, and Ms. Marshall would have known that the kind of abuse Ben-Sholom described was
17   severely damaging. Dr. Rienzi thought Ben-Sholom might have made up stories to discredit his mother.
18   Although Dr. Rienzi recorded in her notes that Ben-Sholom reported childhood suicide ideation and a
19   purposeful Inderal overdose, she did not include or factor in this information into her 1985 report based
20   on questionable credibility. In her experience many people have their first suicidal thoughts after being
21   incarcerated. She acknowledged on cross examination that the test results reported in the 1985 report
22   that showed Ben-Sholom to be oppositional, unconventional, rebellious, and having a lack of empathy.
23            But being able to confirm this pre-crime suicide ideation would have been very important. It was
24   not until Dr. Rienzi reviewed records provided by federal habeas counsel that she could corroborate Ben-
25   Sholom’s suicidal thoughts. As stated in Dr. Rienzi’s 1997 declaration, she reviewed Dr. Richmond’s
26   deposition transcript, police reports, Ben-Sholom’s custodial statements, penalty phase testimony of
27   Ben-Sholom’s grandmother and friend, Judy Mayora, juvenile records pertaining to Ben-Sholom’s
28   burglary of his mother’s house, Kings View records, medical records, school records, and Dr. Froming’s

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 1   social history report. The Kings View records, for instance, indicated that Ben-Sholom may have
 2   attempted his first suicide when he was nine years old, as well as that he suffered from chronic
 3   dysthymic (chronic depression) disorder. Similarly, she felt that several conclusions stated by Dr.
 4   Richmond in his deposition testimony supported a potential diagnosis of PTSD, as well as depression.
 5   Dr. Rienzi believed that the dissociation Dr. Richmond observed was especially indicative of PTSD.
 6            Even without the benefit of substantiated background information, in 1985, Dr. Rienzi
 7   hypothesized that Ben-Sholom suffered from PTSD at the time of the crime and before. She felt in 1985
 8   it was a 60% probability, which she described as “greater than chance.” She pointed out during her
 9   evidentiary hearing testimony that PTSD was a diagnosis in the DSM since 1980 and by 1985 was
10   associated with victims of domestic violence, rape, torture, and child abuse, including at Kings View.
11   She would have used PTSD in 1985. At that time, she likewise thought there was a 60% probability that
12   Ben-Sholom was acting under the substantial domination of others when he shot Mrs. Teague. She did
13   not include either of these or any other diagnosis in her 1985 report because she was not asked to provide
14   a diagnosis.
15            After reviewing the Kings View records, the deposition transcript of Dr. Richmond, and other
16   records, she believed that the probability Ben-Sholom suffered from PTSD was 90%. Knowing his
17   background also lead her to believe there was a probability greater than 60% that he acted under the
18   substantial domination of others at the time of the crime. The fact that Ben-Sholom was “in charge” of
19   the “mission” when he and his companions left the Teague residence did not detract from Dr. Rienzi’s
20   opinion that he acted under substantial domination. He knew the roads. Assuming the role of “soldier,”
21   he was an integral part of the “unit.”
22            The psychological testing in 1985 revealed dissociation and identity fragmentation, which is part
23   of a borderline personality disorder. She testified that dissociation can follow trauma and is a form of
24   magical thinking, usually to escape something horrible. After looking at the records, she realized that
25   Ben-Sholom had been subjected to psychological torture. Based on the accounts of the home life given
26   by Ms. Marshall and observations by Ben-Sholom’s grandmother, Mrs. Muldworf, Dr. Rienzi saw that
27   Ben-Sholom actually believed he was going to be killed. The childhood trauma contributed to Ben-
28   Sholom’s inability to develop “self.” At the time of the crime, because Ben-Sholom wanted to be part

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 1   of a greater whole, he felt helpless when holding a gun to Mrs. Teague because he had no “back up.”
 2   The information obtained from Mr. Marshall’s interview (about Ben-Sholom walking off a cliff if so
 3   ordered) led her to understand that Ben-Sholom was extremely obedient.42 Mr. Marshall inflicted
 4   militaristic terror. When Ben-Sholom followed the command to kill Mrs. Teague, he was playing the
 5   role of “good soldier.” In this fantasy, he was influenced by superiors. He assumed roles because of his
 6   identity problems. She also opined that the trauma Ben-Sholom suffered during the four-month period
 7   he lived with his father in Louisiana as a toddler contributed to his fragmentation identity disorder.
 8   Statistically, two years of age is very significant, because children understand when they’re not supposed
 9   to do something, but they can’t stop themselves. Most adults diagnosed with borderline personality
10   disorder have had disruptive experiences when they were between 18 months and three years old.
11            Dr. Rienzi believed the lack of remorse Ben-Sholom expressed in his first custodial statement
12   also stemmed from lack of appropriate separation identity from trauma to his development when he was
13   a toddler living with his father in Louisiana. The subsequent abuse inflicted on Ben-Sholom after Mr.
14   and Ms. Marshall married made Ben-Sholom a constant victim, leaving him unable to empathize.
15            She concluded that much of Ben-Sholom’s pre-crime conduct was antithetical to a diagnosis of
16   ASPD. He voluntarily attended therapy sessions at Kings View to seek help dealing with his difficult
17   home environment. People with ASPD do not look for help. Ben-Sholom’s post-conviction conduct,
18   including regular correspondence also is inconsistent with ASPD. To the extent Ben-Sholom showed
19   anti-social behavior in his late teens, Dr. Rienzi concluded this was a reaction to his environment rather
20   than an underlying core structure of his personality.
21             Knowing a defendant’s mental state before the crime is helpful to determining the mental state
22   at the time of the offense. Ben-Sholom lived a fantasy world. He assumed different roles. What he
23   reported to Dr. Rienzi during the 1985 interview was colored with what he wanted to be like. He had
24   a major depressive episode in 1983 (referring to his medical discharge from the Army) which was
25   superimposed over his dysthymic disorder that continued to the time of the crime. He experienced
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27
              42
              This was one of the statements Mr. Marshall made about Ben-Sholom during his interview
28   with Mr. Alexander’s defense investigator. Exhibit 8 to EHT, p. 12.

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 1   double depression. He was suicidal and romanticizing death. A suicidal person is not adverse to killing
 2   another, since life isn’t valued.
 3                               f.   Neil Pereira.
 4            Mr. Pereira was the Assistant Public Defender in Tulare County during Ben-Sholom’s trial. He
 5   testified Mr. Alexander was given a light load during the period he represented Ben-Sholom. Mr.
 6   Alexander did not consult Mr. Pereira for advice about strategy. In 1985 and 1986, mental health experts
 7   were utilized for most murder cases. It was the practice in the Public Defender’s Office at that time for
 8   lawyers to turn over social history material to mental health experts, otherwise, Mr. Pereira commented,
 9   there was no reason to have an expert.43 The background information was provided so usable input from
10   the expert could be obtained. After Mr. Pereira became the Public Defender for Tulare County in 1987,
11   this practice became a rule in the office, a rule implemented because of omissions in Ben-Sholom’s case.
12   After Mr. Pereira became the Public Defender, there was one occasion where an attorney did not turn
13   over background information to the mental health expert, but his was only after consultation with him
14   (Mr. Pereira). Mr. Pereira, personally, turned over all social history material to mental health experts
15   in all homicide cases.
16                               g.   Phillip Cherney.
17            Phillips Cherney testified as Ben-Sholom’s designated expert under Strickland v. Washington,
18   466 U.S. 688 (1984). His background as a capital case defense attorney includes working for the Tulare
19   County Public Defender’s Office from 1987 through sometime in the early 1990s.44 Roger Alexander
20   was no longer working for the Office when Mr. Cherney started. In preparation for his testimony, Mr.
21   Cherney reviewed the Court’s October 5, 2001 order, portions of the petition, the Clerk’s Transcript, the
22   Reporter’s Transcript, the Warden’s pleadings, exhibits, declarations, opening and closing statements
23   from the guilt phase proceedings, the deposition transcript of Dr. Richmond, and the penalty phase
24
25            43
                   His exact words were, “Otherwise, why have the expert?”
26            44
               His testimony was that after he left the Tulare Public Defender’s Office, he was appointed to
     represent capitally convicted Dean Carter. According to the California Supreme Court docket for Dean
27   Carter, Phillip Cherney was appointed on March 18, 1994. From this information, the Court understands
     that Mr. Cherney remained employed by the Tulare Public Defender’s Office approximately six to seven
28   years.

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 1   proceedings. He concluded that Mr. Alexander did not provide constitutionally adequate representation
 2   at Ben-Sholom’s penalty phase.
 3            The purpose of presenting a mitigation case at a penalty phase trial should be to explain “how”
 4   and “why” a crime has been committed. Mr. Alexander did not do this. Further, competent counsel
 5   would have begun developing “themes” for the guilt and penalty phase proceedings long before jury
 6   selection. In Ben-Sholom’s trial, however, the only consistent theme utilized by Mr. Alexander was
 7   Ben-Sholom’s young age. It wasn’t until Mr. Alexander presented his motion to modify the death
 8   verdict that he mentioned mental and psychological issues, and even then, he didn’t argue Ben-Sholom’s
 9   remorse. And, although the trial judge found that Ben-Sholom expressed remorse for the crime during
10   his penalty phase testimony, and that this was a factor in mitigation of the sentence, he still found that
11   none of the witnesses offered an explanation of any circumstances which would extenuate the crime.
12   Later, Mr. Alexander focused his efforts on getting jury instructions that Ben-Sholom’s lack of prior
13   felony convictions and lack of unadjudicated criminal violence were mitigating. He also determined at
14   some point that he wanted to “humanize” Ben-Sholom. Mr. Cherney concluded Ben-Sholom’s was “a
15   rich case in mitigation.” The potentially successful themes included Ben-Sholom’s age, his remorse,
16   psychological issues, family issues, paternal abuse, and trauma.
17            Mr. Cherney was especially critical of Mr. Alexander for not supplying his retained experts with
18   relevant background information, including the legal standards (sentencing factors) and Ben-Sholom’s
19   social history. The experts needed to have a “big picture” of the trial strategy in order provide any
20   helpful information. This would have included understanding the difference between mental state
21   defenses and mitigation evidence. Instead, he was so worried about giving “bad information” to the
22   experts that they received no helpful information. In Mr. Cherney’s opinion, the damaging information
23   was mild compared to the magnitude of the mitigating benefit. Mr. Alexander should have utilized the
24   research information he acquired about the Karen National Liberation Army. He should have argued
25   intercase proportionality to the jury instead of waiting until the sentence modification hearing. On cross
26   examination, Mr. Cherney testified that what Mr. Alexander did correctly was to send Dr. Kleist in to
27   see Ben-Sholom for an initial evaluation. Where he faltered was in not sharing the many records he had
28   in his possession, including school, medical, and Kings View counseling records. Further, although Mr.

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 1   Alexander requested numerous documents, he could not recall reviewing them. Nor was there an
 2   indication in his trial file that he read them (because no notes were made on or about the records).
 3            Aside from not supplying sufficient background information to his experts, and not promptly
 4   ascertaining what relevant background information existed, Mr. Alexander’s approach to Dr.
 5   Richmond’s deposition was inadequate. He asked questions which seemed intended to elicit a diagnosis
 6   from Dr. Richmond, even though the doctor did not render a diagnosis. On the other hand, Mr.
 7   Alexander asked Dr. Richmond no questions about Inderal. There was plenty of helpful information
 8   developed in Dr. Richmond’s interview with Ben-Sholom, including the recounting various paramilitary
 9   experiences as reality, when Dr. Richmond was concerned those accounts were fantasy, the fact that
10   Ben-Sholom was terribly unhappy and near tears during the interview, Ben-Sholom’s report that he was
11   depressed, began having suicidal thoughts in grade school, and a history of family mental illness. Dr.
12   Richmond’s observations would have been helpful to develop mitigation evidence. After reviewing the
13   records and even after listening to Dr. Richmond’s evidentiary hearing testimony,45 he felt that Mr.
14   Alexander’s fear of what Dr. Richmond might have said as a rebuttal witness was irrational. The fear
15   resulted from Mr. Alexander’s failure to conduct “a reasonably adequate investigation.”               Mr.
16   Alexander’s concern about the uncorroborated account of Ben-Sholom beating up another child on the
17   playground was completely unfounded because Ms. Marshall reported that no such incident ever
18   occurred. In any event, evidence of such a school yard fight would not have been admissible under §
19   190.3(b) (uncharged criminal acts) because there was no way to prove it beyond a reasonable doubt. In
20   any event, the prosecutor, Mr. Walton, gave an affirmation that he would not put on the damaging
21   evidence developed during Dr. Richmond’s interview. Mr. Alexander’s stated distrust for Mr. Walton
22   does not excuse him for not developing a mitigation case. If he distrusted Mr. Walton, he should have
23   brought a motion; the judge was available for this purpose.46 It was not a reasonable strategy for counsel
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              45
              Part of Mr. Cherney’s testimony was given with the other evidence presented in Ben-Sholom’s
25   case-in-chief. A portion was presented after the Warden put on his case. Mr. Cherney testified after
     Ben-Sholom’s other two rebuttal witnesses, Dr. Wynbrandt and Mr. Park.
26
              46
               In fact there was a discussion on the record about Dr. Richmond’s potential rebuttal testimony
27   between the guilt/ special circumstance verdict and the penalty phase proceedings. The matter appears
     to have been settled by agreement of the parties, with Mr. Walton agreeing not elicit any testimony from
28   Dr. Richmond on the subjects of Ben-Sholom’s paramilitary training, statement to his parents that he

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 1   to forego the benefit of Dr. Rienzi’s testimony on the chance that Dr. Richmond might mention the
 2   uncorroborated playground incident.
 3            Mr. Cherney did not agree that Mr. Alexander’s strategy for keeping Ben-Sholom’s murderous
 4   thoughts concerning his father from the jury was reasonable. This information would have been
 5   consistent with the mitigation case which was never presented, and relevant under factor (k). Abuse was
 6   a major force in developing Ben-Sholom’s character. Mr. Alexander could have shown that the act of
 7   killing Mrs. Teague was indirectly related to Ben-Sholom’s abuse as a child and adolescent. The abuse
 8   would have been corroborated by Ms. Marshall.47
 9            Next, he believed Mr. Alexander should have moved to limit Dr. Richmond’s potential rebuttal
10   testimony before the guilt phase commenced. There was a pre-voir dire hearing on January 9, 1986
11   hearing date at which this could have been accomplished. At the suppression hearing, on this same date
12   (where Mr. Alexander unsuccessfully sought to exclude Ben-Sholom’s confession), Ben-Sholom’s
13   testimony did not reveal his mental problems. That hearing could have been a good opportunity for Mr.
14   Alexander to introduce Ben-Sholom’s mental problems. There also was conflicting and confused
15   evidence presented about the effect of Inderal and Inderal deprivation, and nothing that would benefit
16   the defense during penalty proceedings. In fact Mr. Alexander undermined a potential penalty issue by
17   having Ben-Sholom and his mother testify that Inderal had no impact on Ben-Sholom’s mental state.
18   If Inderal was a “theme,” it was not developed. From Mr. Cherney’s review of Mr. Alexander’s files,
19   it became clear to him that even as late as jury selection, no decision had been made as to what, if
20   anything, to do about the Inderal issue. Mr. Alexander had among his files a Harvard Medical school
21   article about increased anti-depressant use for people taking high blood pressure medication (beta
22   blockers). There was an internal memorandum asking for someone in the Tulare Public Defender’s
23   office to call the Harvard doctor to obtain additional information. Mr. Alexander had no strategy, as
24
25
     would blow up the entire house if they wouldn’t give him permission to enlist in the Army, his suicidal
26   thoughts, and his patricidal thoughts. The trial judge presided over this agreement. Part IV.A.3.d.,
     supra.
27
              47
              It also was corroborated by Mrs. Muldworf’s testimony, and to a lesser extent Ms. Mayora’s
28   testimony

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 1   seen by the fact that he told the Court he would have at least a two day to one week penalty case (when
 2   in fact he had a two and one-half hour penalty phase).
 3            Next Mr. Cherney testified that the jury questionnaire Mr. Alexander used was so general it could
 4   have been used in any case. This was another indication that Mr. Alexander had no strategy. As
 5   explained by Mr. Cherney, the purpose of a questionnaire was to flesh out “themes” to be presented to
 6   the jury. Similarly, Mr. Cherney testified that the purpose of voir dire, both at the time of his testimony
 7   and in 1986, was to qualify jurors for service at the penalty phase and communicate the defense themes.
 8   The voir dire questions Mr. Alexander asked did not demonstrate that he was considering the lack of
 9   prior convictions and uncharged criminal activity. Further, he never even confirmed with potential
10   jurors that they would consider Ben-Sholom’s youthful age as mitigating. The most he did in that regard
11   was to call Ben-Sholom by his first name, “Ryan.” In addition, Mr. Cherney stated that Mr. Alexander
12   should have asked all the jurors if Ben-Sholom’s remorse was mitigating. He asked only one juror this
13   question. Mr. Alexander also should have explored Ben-Sholom’s childhood abuse and his submission
14   to others by presenting psychological experts consistent with the sentencing factors under § 190.3(d)
15   (extreme mental or emotional disturbance), § 190.3(g) (substantial domination), § 190.3(h) (impairment
16   due to mental disease or defect), and § 190.3(k) (any other mitigating catchall).
17            Mr. Cherney was critical of Mr. Alexander’s brief guilt phase opening statement, where he could
18   have raised the penalty phase themes. Since Mr. Alexander testified he believed a penalty phase was
19   inevitable, bringing penalty phase issues to the jurors’ attention at the beginning of guilt phase
20   proceedings would have been helpful. While conceding that Ben-Sholom did kill Mrs. Teague in the
21   course of a perceived military mission that ultimately would take Ben-Sholom and his companions to
22   Burma was acceptable, Mr. Alexander’s failure to emphasize and directly tell the jurors that the ultimate
23   goal amounted to pure fantasy was professionally incompetent. Instead, Mr. Alexander told the jurors
24   they would have to determine whether the military purpose of the crime was reality or fantasy. In the
25   same light, when he described the military mission aspect of the crime, Mr. Alexander also could have
26   introduced the domination-submission theme when referring to Ben-Sholom following orders.
27            Mr. Alexander’s guilt phase summation actually discredited mitigating factors when he told the
28   jurors there was no evidence Ben-Sholom was so entrenched in a military mission so as not to know

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 1   what he was doing. In Mr. Cherney’s opinion, Mr. Alexander should have told the jurors what to think
 2   about the bizarre mission of joining the conflict in Burma. Further, while Mr. Alexander’s statements
 3   about Ben-Sholom following orders without thinking suggested the substantial domination theme, his
 4   introduction of Ben-Sholom’s Army discharge papers confused the issue.48
 5            Mr. Cherney found the penalty phase opening statement wanting in several respects, beginning
 6   with its brevity, only five minutes long. Passing over many viable mitigation themes, Mr. Alexander
 7   referenced Ben-Sholom’s hypertension and Inderal use. He failed, however, to explain how these topics
 8   might have been mitigating. He also never mentioned the import of Ben-Sholom being dressed up in
 9   military clothing as part of the fantasy aspect of the operation.49 Nor did Mr. Alexander mention Ben-
10   Sholom’s mental or emotional state at the time of the crime. Mr. Cherney found the entire penalty phase
11   presentation to be at cross purposes. Mr. Alexander called Ben-Sholom’s mother to show mental health
12   issues resulting from abuse, but then presented Judy Mayora to show that Ben-Sholom was just a regular
13   kid, with some depression and bruises. Instead, Ms. Mayora’s testimony could have been used to show
14   that her house was a refuge for Ben-Sholom.50 Likewise, the testimony of Sea Scout leader Henry
15   Bethany illuminated nothing in Ben-Sholom’s life that would explain the crime.51 Introducing Ben-
16   Sholom’s childhood photographs was meaningless because there was no effort to connect them to
17   memorable events in his life. Finally, other than discussing his remorse for killing Mrs. Teague, Ben-
18   Sholom’s testimony was not helpful. He discussed his ankle injury, but not the facts leading up to it,
19   that is it occurred when Ben-Sholom had run away from home to meet up with his overweight half-
20   brother who caused Ben-Sholom to tip his motorcycle. Nor did Ben-Sholom discuss that the ankle
21   injury led to the termination of his military career and the beginning of a major depression. Mr. Cherney
22
23            48
              Ben-Sholom’s Army discharge papers were introduced at guilt phase proceedings during the
     cross examination of one of the Tulare County investigating detectives.
24
              49
              Evidence of the clothing Ben-Sholom wore at the time of the crime was introduced during guilt
25   phase proceedings.
26            50
              Notwithstanding Mr. Cherney’s impression, Ms. Mayora also testified that Ben-Sholom wanted
     to belong to her family and appeared to have been physically abused.
27
              51
               Transcript shows that Mr. Bethany described Ben-Sholom as reliable worker who completed
28   assigned tasks in the Sea Scout group.

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 1   found especially damaging Ben-Sholom’s mention of the type of reading material he hoped to pursue
 2   if sentenced to life in prison: science fiction and horror books. Mr. Alexander didn’t seem to know Ben-
 3   Sholom would identify these types of books, which can be associated with future dangerousness in the
 4   minds of jurors. If Mr. Alexander was trying to show the potential for good institutional adjustment, the
 5   strategy backfired. Instead, Mr. Cherney opined, he should have called an institutional adjustment expert
 6   like Mr. James Park. Also, if he really saw Ben-Sholom’s remorse as a “theme,” he should have
 7   mentioned that subject during his penalty phase summation and in the jury instructions. Ben-Sholom’s
 8   testimony also raised the substantial domination issue when he said he followed the order to kill Mrs.
 9   Teague “without question.” There was no follow up on the idea that Ben-Sholom followed this order
10   because he wanted to be part of a greater whole.
11            The stipulation Mr. Alexander offered as to what prescription drugs Ben-Sholom took was
12   equally unavailing because there was no concomitant explanation about why the drugs were necessary.
13   Mr. Alexander should have explored why an 18 year old boy had high blood pressure and needed Inderal
14   in the first place. He could have presented argument about the effects of Inderal under the catchall factor
15   § 190.3(k), or one of the deleted factors § 190.3(d) or § 190.3(h). He also could have shown that Ben-
16   Sholom was a human being who made an extremely bad decision stemming from emotional disturbance.
17            The summation also was contradictory. First Mr. Alexander earnestly asked the jury to consider
18   sympathy, but he did not do so forcefully or convincingly, as he followed this request by asking the jury
19   to follow the law. Mr. Cherney found this professionally incompetent because sympathy, mercy, and
20   compassion “are probably the hallmarks of the mitigation case.” Although he knew the jurors were
21   supposed to weigh, and not count, the mitigating and aggravating factors, he basically asked them to
22   count the circumstances of the crime factor (a) against the three mitigating factors, his age under factor
23   (i), the absence of uncharged criminal acts under factor (b), and the absence of prior felony convictions
24   under factor (c), plus the catchall factor (k), which could be mitigating. In Mr. Cherney’s view, Mr.
25   Alexander totally failed to explain how the law was to give effect to the mitigating factors. The
26   summation was transcribed into 12 pages, which translated into 15 to 20 minutes. Giving only that brief
27   time to arguing for Ben-Sholom’s life was, in Mr. Cherney’s opinion, “pathetic, frankly.”
28

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 1            With respect to Mr. Alexander’s evidentiary hearing testimony (which Mr. Cherney observed
 2   from the public gallery), he strongly disagreed that jurors would necessarily reject mental defenses or
 3   a substantial domination argument as excuses. In his experience as a Tulare County Deputy Public
 4   Defender, it was possible to convince jurors that mental defenses were mitigating. Mr. Alexander didn’t
 5   really know how to put on a penalty case. His only experience was in guilt phase proceedings.
 6            Mr. Cherney then testified about a number of publications available at the time of Ben-Sholom’s
 7   trial about the then-prevailing standards and procedures for handling a capital trial and penalty phase
 8   proceedings. There was a Summer/ Fall 1985 edition of the California Defender about how to present
 9   a penalty phase argument, entitled “Building a Penalty Phase Final Argument.” The California Defender
10   article was marked and admitted at the evidentiary hearing during Mr. Cherney’s testimony as Exhibit
11   10 to the EHT. There was the Gary Goodpaster article of 1983 which was cited by the Supreme Court
12   in Strickland. See 466 U.S. at 689-90.52
13            In sum, Mr. Alexander failed to conceptualize how the penalty phase would be implemented in
14   a coherent fashion and consequently did not develop a mitigation strategy. Despite these failings, the
15   jurors deliberated for almost 17 hours. That they were confused and poorly directed by Mr. Alexander’s
16   mitigation case, was evident from their questions during deliberations. First they didn’t know how the
17   medications fit into the murder plot. Second, they really didn’t understand mitigation and aggravation.
18                     5.        The Warden’s Response to Ben-Sholom’s Evidence.
19            Dr. Richmond and Dr. Geshuri testified for the Warden, both concluding on direct examination
20   that Ben-Sholom’s crime most reasonably was explained by ASPD. They discounted PTSD, substantial
21   domination, and other emotional disturbance. The Warden also contacted Dr. Kleist for an expert
22   opinion, but Dr. Kleist declined to participate in the litigation process, as explained in his November 26,
23   2002 declaration admitted on behalf of the Warden. Exhibit C to the EHT. Similarly, the Warden
24   contacted Dr. Glenn to ascertain whether the provision of additional background information would
25   facilitate the rendering of a diagnosis as to Ben-Sholom’s mental state. Referring to an earlier
26
27            52
             The Goodpaster article is entitled, “The Trial for Life: Effective Assistance of Counsel in
     Death Penalty Cases,” published at 58 N.Y.U.L.Rev. 299 (1983). Specifically, in Strickland, the
28   Supreme Court referred to page 343 of Professor Goodpaster’s article.

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 1   declaration executed on November 27, 2001 (and prepared by Ben-Sholom’s attorney Patience Milrod),
 2   Dr. Glenn declined the Warden’s request, as explained in his handwritten letter. Exhibit D to the EHT.
 3                               a.   Yosef Geshuri, Ph.D.
 4            When Mr. Alexander hired Dr. Geshuri in 1985 to interview Ben-Sholom, he provided no
 5   reference question and no background information. He also didn’t tell Dr. Geshuri he was the third
 6   mental health professional to have seen Ben-Sholom. Mr. Alexander stated he wanted a general
 7   assessment, a “snapshot” of Ben-Sholom. Dr. Geshuri administered psychological tests and conducted
 8   an interview. Both the clinical interview and the testing were important for reciprocal validation.
 9            The backdrop for Dr. Geshuri’s evidentiary hearing testimony was a report he prepared for the
10   Warden’s counsel, Deputy Attorney General Jean Marinovich dated November 22, 2002, and offered
11   by the Warden as Exhibit E to the EHT. In that report he concluded that Ben-Sholom might have been
12   under the influence of extreme mental or emotional disturbance, but only in a general way, the claim
13   Ben-Sholom was under the substantial domination of another person was “somewhat stretching the
14   point,” and that Ben-Sholom was not so impaired by mental disease or defect at the time he committed
15   the crime so that he could not appreciate the criminality of his conduct.
16            Testifying about his initial contact with Ben-Sholom, Dr. Geshuri stated that his psychological
17   test results were consistent with the results obtained by Dr. Rienzi in 1985. One of those tests measures
18   lack of subject credibility. Like the score Dr. Rienzi obtained, Dr. Geshuri scored Ben-Sholom high on
19   this (in)validity scale, which indicated that Ben-Sholom may have been trying to feign some personal
20   difficulties. With respect to the clinical interview, Dr. Geshuri agreed, generally, it would be important
21   to have a client’s social history. However, when a client was referred by counsel, he assumed the client
22   would be truthful. On the other hand, he also conceded that a client suffering from mental illness might
23   not give an accurate self-report. During the clinical interview of Ben-Sholom, he reported that his father
24   was abusive. Dr. Geshuri testified he had no reason to doubt this account. In his initial 1985 report, Dr.
25   Geshuri gave only an Axis II diagnosis of ASPD. There were no Axis I, III, IV, or V diagnoses.53 With
26
              53
               As Dr. Wynbrandt explained, Axis I is the acute diagnosis; Axis II is the underlying structure
27   or core personality characteristics of the individual; Axis III involves underlying medical conditions;
     Axis IV measure the psycho-social stressors on a scale of from one to six; and Axis V quantifies the
28   level of functioning for the previous 12 months.

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 1   respect to the Axis III diagnosis, Dr. Geshuri testified he didn’t know Ben-Sholom suffered from
 2   hypertension, because it wasn’t reported. Other facts that Dr. Geshuri didn’t know at the time he
 3   rendered his ASPD diagnosis in 1985 include that Ben-Sholom attempted suicide four months before
 4   the crime with an Inderal overdose, cut his wrist at age nine or ten, had suicidal thoughts since age ten,
 5   played “chicken” with diesels on the freeway, experienced blackouts, had been in counseling at Kings
 6   View Mental Health Center, was depressed 95% of the time, suffered from insomnia, experienced a loss
 7   in appetite, was subjected to a forced religious conversion from Judaism to Jehovah’s Witnesses, was
 8   subjected to hateful anti-Semitism by his father, was strangled by his father when he was 17,
 9   experimented with homosexuality, including with “drag queens,” and expressed remorse for the crime
10   on January 28, 1985, both in his confession and during his interview with Dr. Richmond.
11            Dr. Geshuri’s notes of his 1985 interview did indicate that Ben-Sholom reported having attended
12   13 different grade and high schools as a youngster, but this information was not included in any of his
13   reports. He justified this omission because attendance at many schools was the natural consequence of
14   the family moving a lot. Although he discounted the significance of this occurrence, he conceded on
15   cross examination that subjecting a child to frequent moving could be stressful because of lack of
16   emotional stability. When discussing the religious aspects of Ben-Sholom’s upbringing, Dr. Geshuri
17   testified it was significant that Ben-Sholom’s father called him “hebe” or “kike,” and this very well
18   could have led to stress, anger, fear, and impairment to sense of self. With respect to Ben-Sholom’s
19   homosexuality, Dr. Geshuri testified that sexual identity and confusion were important areas of concern.
20   On cross examination, Dr. Geshuri conceded he missed a lot of important events in Ben-Sholom’s life.
21   This omission was attributed to at least two causes: that Dr. Geshuri didn’t ask all the appropriate
22   questions and the Mr. Alexander didn’t give him appropriate guidance with his vague reference question.
23   He testified that the reference question is very important because it sets the framework for the
24   evaluation. The reference question should be specific and tie the question into legal principles relevant
25   to the case. Since Dr. Geshuri’s experience being retained by Mr. Alexander, he testified he learned to
26   clarify reference questions with attorneys.
27            In Dr. Geshuri’s 2002 report, he acknowledged that Ben-Sholom was abused and traumatized
28   by his father and that he may have suffered from PTSD. Nonetheless, Dr. Geshuri did not believe these

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 1   factors mitigated or even affected his mental state at the time of the crime. He based this conclusion on
 2   the absence of any indication in the Kings View records that Ben-Sholom had PTSD. Dr. Geshuri also
 3   discounted PTSD as a cause for Ben-Sholom’s participation in the crime because his participation
 4   involved advance planning, forethought, and distribution of responsibility (for certain aspects of the
 5   crime). Whereas PTSD would be characterized by anxiety, depression, panic, and thoughtlessness, in
 6   Dr. Geshuri’s opinion, the Teague home invasion operation “went with a kind of calmness and logical
 7   . . . process.” Further, Ben-Sholom reported the crime with a sense of pride and fulfillment of a verbal
 8   contract and there was no sense that Ben-Sholom was fearful during the crime. Dr. Geshuri did not
 9   believe Ben-Sholom killed Mrs. Teague as the result of fear-induced PTSD; the killing was a planned
10   military operation motivated by Ben-Sholom’s wanting to be considered reliable in the eyes of his
11   “commanding officer.”            The well-planned character of the crime together with Ben-Sholom’s
12   intelligence also led Dr. Geshuri to discount the potential that extreme emotional disturbance might
13   have mitigated the crime. On balance, Ben-Sholom’s goal of becoming a mercenary outweighed any
14   emotional distress he may have been experiencing. He conceded, however, that even intelligent, logical
15   thinking people can be afflicted with mental disorders.
16            On cross examination, Dr. Geshuri explained that the criteria for PTSD included narcism, a
17   histrionic or borderline personality, dysthymia, and dissociative disorder. Neither intelligence, nor lack
18   of intelligence were criteria. When told that Kings View therapist Anthony Casillas did not believe
19   PTSD was in use as a diagnosis at the time of Ben-Sholom’s treatment, Dr. Geshuri admitted that the
20   lack of an earlier PTSD diagnosis could have been the result of an oversight.
21            In rendering his 2002 report, Dr. Geshuri considered the fact that Ben-Sholom had been subjected
22   to severe and consistent abuse, a fact he admitted he had not known at the time he wrote his 1985 report.
23   He testified that the abuse was significant. According to a study with which he agreed,54 abuse can
24   physically alter brain development, particularly if it begins early in life. Dr. Geshuri’s evidentiary
25   hearing testimony as well as his 2002 report also took into account the information in Dr. Froming’s
26   social history report that Ben-Sholom lived with and was abused by his father when he was 17 to 21
27
              54
              The report of the study, published in 2002, was marked as Exhibit 11 to the EHT, but was not
28   admitted. Dr. Geshuri’s testimony about the conclusions in the study was admitted.

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 1   months old. In particular, Ben-Sholom was punished for not being toilet trained. Dr. Geshuri
 2   discounted the abuse from this period because it was brief, he soon returned to the safety of his
 3   grandmother’s home, and he would have no cognitive memory of this period. He conceded, however,
 4   that it could have had some impact. In a letter written by Ben-Sholom’s attorney Ms. Milrod to Dr.
 5   Geshuri on May 14, 2002,55 she confirmed his view that severe abuse can result in the deterioration of
 6   the neuropathological process, that the abuse inflicted on Ben-Sholom in particular resulted in his rage,
 7   anger, and depression, that Ben-Sholom manifested some components of borderline personality disorder
 8   (as found by both Dr. Richmond and Dr. Wynbrandt). Dr. Geshuri testified further that Mr. Marshall’s
 9   unpredictability could have induced terror in Ben-Sholom when he was a little boy. He wanted to join
10   the Army because it was regulated and predictable. Basic training for Ben-Sholom probably was much
11   easier than his home life. Ben-Sholom’s life goal was to be a soldier and to escape from his mother and
12   father.
13             Dr. Geshuri concluded in his 2002 report that victims often identify with their aggressors to
14   reduce the level of negative interaction, and apparently Ben-Sholom adopted his father’s character. This
15   was not an issue in mitigation, but rather, a psychological process. Dr. Geshuri found that Ben-Sholom
16   was depressed over the loss of his future dreams (becoming a mercenary) not over past abuse. In
17   testimony elicited on cross examination, Dr. Geshuri clarified that Ben-Sholom was depressed about his
18   broken dreams as well as his past abuse.
19             The conclusion that Ben-Sholom’s participation in the crime was not based on substantial
20   domination drew support for Dr. Geshuri from Ben-Sholom’s view of the military operation or
21   “mission.” Ben-Sholom voluntarily entered into a contract. He was not coerced; there was no forceful
22   influence. Dr. Geshuri explained that substantial domination refers to the relationship between a
23   dominant person and a submissive person and then to the mental state of the submissive person being
24   susceptible to influence of another. When questioned further on this topic, Dr. Geshuri admitted that
25   he was not aware that Dr. Richmond wrote in a January 1, 2003 report that Ben-Sholom displayed a
26
27
28             55
                    The letter was marked and admitted as Exhibit 12 to the EHT.

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 1   histrionic personality disorder.56 Dr. Geshuri testified this condition may have been present in Ben-
 2   Sholom and that one of the traits of histrionic personality disorder is being suggestible or easily
 3   influenced by others. He agreed that an easily influenced person could go along with something
 4   voluntarily and still be considered to be “influenced.”
 5            Despite Ben-Sholom’s perception of the crime as a military operation, he retained the ability to
 6   appreciate the gravity of his crime. Cognitively, he knew what he was doing and chose to do it. Dr.
 7   Geshuri described his own involvement in “special forces” in the Israeli Army and thus he was familiar
 8   with how operations were conducted. A soldier is called upon to follow a pre-planned operation. Dr.
 9   Geshuri confirmed that his own experience in the Israeli military taught him about military cohesion and
10   structure. Although Dr. Geshuri agreed that Ben-Sholom’s plan for joining the Karen National
11   Liberation Army was “crazy,” far-fetched from reality, fantastical, and the product of magical thinking,
12   it wasn’t crazy to Ben-Sholom. Ben-Sholom’s expressed pride in killing Mrs. Teague so as to eliminate
13   suffering did not show that he identified with her, it showed, rather, that he didn’t want to be identified
14   with his father; he didn’t want her to suffer as his father had made him suffer.
15            Dr. Geshuri did not find that his original diagnosis of ASPD was minimized or mitigated by the
16   fact that Ben-Sholom maintained correspondence in prison. A classic trait of ASPD is basic selfishness.
17   Writing to people could be motivated by selfishness. Dr. Geshuri’s impression that Ben-Sholom had
18   ASPD, both in the 1985 and 2002 reports was based on his lack of remorse for the crime, since people
19   with ASPD do not show “true” remorse. He admitted that Ben-Sholom’s active participation in
20   counseling at Kings View undercut this conclusion, but sometimes people with ASPD like to have
21   someone listen to them. Although deceit and manipulation are traits associated with ASPD, and Ben-
22   Sholom was open and honest in his confessions to authorities, Dr. Geshuri did not feel this honesty
23   dispelled the ASPD diagnosis, because giving a confession is not a normal life situation. Another trait
24   associated with ASPD is irresponsibility. When pressed, Dr. Geshuri agreed that Ben-Sholom’s post-
25   conviction conduct in prison of challenging the rule forbidding him from wearing his yarmulke in the
26
27            56
               Dr. Richmond’s January 1, 2003 letter report was offered and received by the Court as Exhibit
     F to the EHT. Dr. Geshuri certainly would have been unable to have reviewed this 2003 report before
28   he prepared his November 22, 2002 report.

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 1   visiting area was a responsible act. Ben-Sholom’s attorney Michael R. Levine,57 explained to Dr.
 2   Geshuri that the rule challenge required two levels of administrative review to the Department of
 3   Corrections and ultimately a petition for habeas corpus relief in the Superior Court granting him the
 4   requested relief.58 Likewise, although a defining criteria of people with ASPD is being cynical, callous,
 5   and lacking empathy, Ben-Sholom’s preparation of a San Quentin prisoner resource directory59
 6   demonstrated sympathy and concern for others. Pointing out that people with ASPD “remit” when they
 7   enter their fourth decade,60 Dr. Geshuri did not concede that the directory dispelled the notion that he
 8   had ASPD. When Mr. Levine explained that Ben-Sholom prepared the directory ten years earlier, when
 9   Ben-Sholom was in is 20s, Dr. Geshuri responded that Ben-Sholom was smart and that he didn’t actually
10   know whether Ben-Sholom was manipulating the system.
11                               b.    James Richmond, M.D.
12            As with Dr. Geshuri, the backdrop for Dr. Richmond’s evidentiary hearing testimony was his
13   preparation of a report for the Warden’s counsel, Ms. Marinovich, on January 1, 2003. Exhibit F to the
14   EHT. To prepare this report, Dr. Richmond reviewed numerous school and medical records, including
15   Kings View records, transcripts of Ben-Sholom’s confessions, his own January 28, 1985 examination
16   notes of his interview with Ben-Sholom, the reports prepared for Mr. Alexander by Drs. Kleist, Glenn,
17   Rudis, Geshuri, and Rienzi, the declaration of Dr. Wynbrandt, penalty phase testimony, Ms. Marshall’s
18   questionnaire responses,61 and Dr. Froming’s social history report. Based on his review of this
19   information, Dr. Richmond concluded Ben-Sholom’s psychiatric condition at the time of the offense was
20   indicative “of a severe personality disorder” summarized in the DSM as “Cluster B Personality
21
22
              57
                   Mr. Levine and Ms. Milrod were co-counsel representing Ben-Sholom at the evidentiary
23   hearing.
24            58
              The documents evidencing Ben-Sholom’s administrative review and court case were offered
     and received, collectively as Exhibit 15 to the EHT.
25
              59
                   The Prison Resource Directory was offered and received as Exhibit 23 to the EHT.
26
              60
                   Ben-Sholom was just a month shy of his 37th birthday at the time of the evidentiary hearing.
27
              61
             Ms. Marshall’s questionnaire responses were attached to the Petition as Exhibit 7 and
28   summarized at Part V.A.16. of the October 5, 2001 order.

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 1   Disorders,” including ASPD, borderline personality disorder, histrionic personality disorder,62 and
 2   narcissistic personality disorder. ASPD and borderline personality disorder dominated. He criticized
 3   Dr. Rienzi’s 1985 and 1997 reports because she ignored anti-social, borderline, and psychotic elements
 4   in her interpretation of psychological test results. He criticized Dr. Wynbrandt’s June 17, 1997
 5   declaration for purporting to conclude from his 1995 clinical interview and review of records that Ben-
 6   Sholom did not harbor the requisite legal mental state to commit robbery and murder in 1985. He also
 7   strongly stated that a person’s genetics, not just his environment, play a key role in shaping personality,
 8   attitudes, and behavior.         Dr. Richmond found similarities between Ben-Sholom’s dispassionate,
 9   emotionally detached conduct at the time of the crime, and his father’s inability to express empathy. He
10   did not find Ben-Sholom’s emotional detachment to be a psychotic state. At most, it could have been
11   indicative of a dissociative disorder.63 With respect to PTSD, Dr. Richmond wrote, “[w]hile there
12   appears to have been more than sufficient cruelty and abuse to contribute to such a disorder, the presence
13   of that abuse does not in itself determine that it [PTSD] will occur.” Dr. Richmond concluded that even
14   if Ben-Sholom suffered from PTSD, his conduct in participating and committing the crime showed him
15   to be “an intellectual planner, consenter, and participant.” Dr. Richmond rejected the notion that Ben-
16   Sholom was substantially dominated by others at the time of the crime, and posited that based on “the
17   intensity of his [Ben-Sholom’s] determination to obtain weapons and his desire to become a mercenary
18   following his failure in the Army, he appears to have had the strongest motive of the three [Chris
19   Seaman, John Calhoun, and himself] to carry out the crime.” If he was controlled, Dr. Richmond
20   opined, “it was not by another person but by his own base and anti[-]social motives.” He also rejected
21   the notion that Ben-Sholom experienced true remorse for killing Mrs. Teague or was so impaired he
22   could not appreciate the criminality of his conduct. Dr. Richmond found Ben-Sholom “was very much
23
24            62
               In a concluding section of the report, he wrote that at the time of the offense, Ben-Sholom “was
     suffering from severe mental and emotional disturbance” stemming from “his lifelong character disorder
25   with increasing unstable moods and impulsive behaviors triggered by the immediate threat of losing the
     opportunity to become a member of an organized militia.” He further opined there “was possibly a
26   superimposed posttraumatic stress disorder,” but that neither the personality disorder nor the PTSD
     amounted to mitigation for the crime.
27
              63
              Dr. Richmond also testified that Ben-Sholom was not dissociating when he killed Mrs. Teague
28   because he recounted the details of the incident.

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 1   in control but unwilling to deal with his conscience,” and therefore he “continued with the military
 2   charade that made it acceptable to him to express his pent up, murderous rage upon a hapless and
 3   helpless victim, rationalizing the while that he was only a soldier following orders.”
 4            At the evidentiary hearing Dr. Richmond reiterated his conclusions that Ben-Sholom may have
 5   suffered from PTSD, but that this was not a major factor in the crime. He discounted Ben-Sholom’s
 6   severe emotional disturbance, mental impairment to appreciate the criminality of his conduct, and his
 7   susceptibility to substantial domination. He felt that ASPD was a likely contributor because of the
 8   absence of true remorse, Ben-Sholom’s rationalization for his conduct, and the planning of the
 9   “mission.” Also, Ben-Sholom’s conduct at the Teague residence was not consistent with PTSD, but
10   with ASPD. His purpose in committing the crime was to show himself as a good soldier and order taker
11   and to establish a reputation as a good mercenary. Ben-Sholom told Dr. Richmond that other mercenary
12   groups had heard of and contacted Ben-Sholom at times when he got into trouble. In general, and
13   reiterating his 2003 report concerning Dr. Wynbrandt, Dr. Richmond found unreliable a mental health
14   assessment conducted ten or more years after the relevant time period because people change their
15   mental status. He also commented that if the factual foundation for an expert opinion were altered, the
16   opinion likewise would be altered. With respect to factual foundation, Dr. Richmond did not believe
17   that background records were always necessary to conduct an evaluation. He did stress, however, that
18   a clinical interview would be necessary.
19            During his testimony he reiterated his opinion that Ben-Sholom did not experience a
20   psychological fear reaction when he committed the crime as a result of PTSD. The fact that Ben-Sholom
21   went into the Teague house armed, with a plan to kill, but having never killed before, would instill fear
22   and stress, not necessarily the result of PTSD. Although Ben-Sholom described that his conduct
23   happened outside of reality, he was not dissociating when he killed Mrs. Teague. He told Dr. Richmond
24   that his training took over, referring to receiving instruction from paramilitary groups about how to use
25   a knife to sever the brain stem. He described this procedure to Dr. Richmond in detail, and confirmed
26   he was the actual perpetrator in killing Mrs. Teague. Nor was he under the substantial domination of
27   others at the time of the crime. The crime resulted from his own free-will. It wasn’t that he was
28   “controlled” by others, but “that he didn’t want responsibility.” His being rattled when Mrs. Teague

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 1   called him “sir” manifested his wish for someone else to be responsible. During cross examination, Dr.
 2   Richmond acknowledged that in his 2003 report he found that Ben-Sholom displayed many
 3   characteristics of histrionic personality disorder, one of the traits for which is being suggestible or easily
 4   influenced by others or circumstances. On re-direct, Dr. Richmond clarified that Ben-Sholom was more
 5   influenced by circumstances than other people. In his 2003 report, he also found that Ben-Sholom
 6   displayed traits of narcissistic personality disorder, a condition associated with being overly trusting of
 7   strong authority figures who they see as having the ability to magically solve their problems. This
 8   acknowledgment followed the cross examination testimony about fantasy and whether Ben-Sholom’s
 9   goal of joining the Karen National Liberation Army was realistic. Dr. Richmond testified he didn’t
10   know whether Ben-Sholom’s plan to join the Karen Nationals was fantasy. He thought it possible that
11   Ben-Sholom actually had the military training he talked about it, even though there was no
12   corroboration. When Ben-Sholom told Dr. Richmond about his training as a jungle fighter, Dr.
13   Richmond testified he “entertained the thought that that might not be reality.” Ben-Sholom appeared
14   to believe he had undergone mercenary training.
15            From the beginning, Dr. Richmond gave very little weight to the four month period during which
16   Ben-Sholom and his mother lived with Mr. Marshall in Louisiana when Ben-Sholom was a toddler. A
17   person develops identity throughout his or her life. Identity is not formed solely between the ages of 18
18   and 36 months. Dr. Richmond reiterated the conclusion in his report that nurture is not more important
19   than nature. Even where there has been trauma at the toddler stage, borderline personality disorder
20   doesn’t necessarily follow. Dr. Richmond stated he was not aware that Mr. Marshall disciplined Ben-
21   Sholom for his failure to toilet train. The fact that Mr. Marshall grabbed a bottle from Ben-Sholom and
22   threw it into the street could contribute to insecurity and distrustfulness. Similarly, he conceded that the
23   abusive life Ben-Sholom experienced from age seven to 17 could result in a child experiencing fear,
24   betrayal, and lack of trust.
25            The 13 school changes for Ben-Sholom also was not overly significant to Dr. Richmond. While
26   this could have an impact on Ben-Sholom’s establishment of identity, many children of military families
27   move often and adjust well. He also reiterated the conclusion in his 2003 report that the presence of
28   childhood abuse will not necessarily cause a person to develop PTSD. On the other hand, the nightmares

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 1   Ben-Sholom reported also suggest emotional trauma and Ben-Sholom’s adolescent desire to kill his
 2   father or have his father killed suggests extreme anger. Dr. Richmond further conceded that Ben-
 3   Sholom’s hypertension was a symptom of stress, although he discounted the hypertension diagnosis on
 4   the supposition that the treating physician rendered the diagnosis after a single blood pressure reading.64
 5   Although Dr. Richmond testified that Ben-Sholom’s report of overdosing on Inderal could suggest a
 6   mental disturbance, it also could have been the result of impulsive, not necessarily depressed, behavior.
 7   As to Ben-Sholom’s accounts of playing “chicken” with diesels on the highway and jumping off the
 8   Sequoia Mall, Dr. Richmond wasn’t sure whether Ben-Sholom jumped or fell off the Mall. Dr.
 9   Richmond ascribed no particular meaning to Ben-Sholom’s statement (to Dr. Richmond during the
10   January 28, 1985 interview) that he was depressed 95% of the time or that he began having suicide
11   thoughts when he was nine or ten years old, because it depended on what Ben-Sholom meant by
12   depression or suicide. Dr. Richmond conceded only that these reports could have meant Ben-Sholom
13   was depressed. In all, Dr. Richmond testified that a number of factors could have had an impact on Ben-
14   Sholom’s ability to develop identity, including his abusive father from 17 to 21 months and seven to 17
15   years, his abused, battered mother, his schizophrenic uncle and 13 school changes.
16            Dr. Richmond did not see any of the factors emphasized by defense experts to detract from the
17   conclusion Ben-Sholom had ASPD as being persuasive. Contrary to the defense expert assessments,
18   Ben-Sholom did not initiate counseling at Kings View; he was brought in by his mother to address his
19   troubling behavior at home. When he did initiate contact with Kings View it was as a rescuing role and
20   “counter authority” when he didn’t like what was going on at home. He stated, “there’s essentially no
21   indication that [Ben-Sholom] approached counseling as a source of help with his inner problems.” Dr.
22   Richmond found Ben-Sholom was not seeking therapy; he was manipulating Kings View. His
23   manipulation was consistent with ASPD.
24            Next, his relationship with Judy Mayora and her family did not demonstrate empathy. While
25   Ben-Sholom was at the Mayora household frequently and over long periods of time, Ms. Mayora was
26   not close to Ben-Sholom. People with ASPD have a facility to move in and out of relationships so long
27
              64
               In fact there were at least three readings of Ben-Sholom’s blood pressure by the treating
28   physician. See Part V.A.18., October 5, 2001 order, summarizing Exhibit 6 to the Petition.

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 1   as they don’t become close. Similarly, the fact that Ben-Sholom has maintained pen-pals since his
 2   incarceration at San Quentin is not inconsistent with ASPD. Dr. Richmond felt Ben-Sholom’s motives
 3   must be examined, since people with ASPD can become model prisoners once they realize they cannot
 4   get away with bad behavior. Not all prisoners with ASPD act out. Some are even suicidal. Dr.
 5   Richmond did not believe that Ben-Sholom’s desire not to cause Mrs. Teague pain when he shot her
 6   demonstrated empathy. He didn’t want to inflict pain because he hated people, like his father, who
 7   inflicted pain. Nor was his expressed remorse a reflection of empathy. Ben-Sholom was unhappy about
 8   his life and that his life in prison would be even more unpleasant that his life had been up to that point.
 9   When Ben-Sholom told Dr. Richmond he felt really guilty about the crime, to Dr. Richmond that did
10   not necessarily mean he felt guilt about killing Mrs. Teague. Also during Ben-Sholom’s penalty phase
11   testimony, he talked about how much his own life was messed-up before talking about the loss of the
12   victim’s life or impact of her death on her family. His primary concern was for his own life. After
13   reviewing the transcript of Ben-Sholom’s second confession, where he said he felt very bad about having
14   killed Mrs. Teague and that if he had to do over, he wouldn’t have committed the offense because
15   “nothing is worth a person’s life,” Dr. Richmond conceded this was an expression of remorse. To
16   minimize this finding, he added that people with ASPD do express remorse when they have to deal with
17   the consequences of their behavior.
18            When Dr. Richmond conducted the initial interview of Ben-Sholom he felt he had adequate
19   information to assess Ben-Sholom’s mental state at the time of the crime. All that is necessary to
20   determine a mental state is to conduct a clinical interview and then fit that impression into the DSM.
21   While a diagnosis would not predict or determine behavior, it would allow professionals to communicate
22   with one another. But knowing a diagnosis doesn’t mean that a professional would know a person’s
23   mental state. As with Ben-Sholom, the required information would be obtained by asking the subject
24   questions. Even with some information missing, for instance Ben-Sholom’s homosexuality, as described
25   in Dr. Froming’s social history report, Ben-Sholom still gave enough information for Dr. Richmond to
26   provide an accurate opinion of his mental state at the time of the crime. Nor did Ben-Sholom’s prevalent
27   exaggerations during the interview prevent Dr. Richmond for forming an opinion. Ben-Sholom gave
28   very specific information about the break up with one of his girlfriends and over dramatized other

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 1   events. In one account (to Dr. Kleist), he said he broke down Mrs. Teague’s door and did a roll-over
 2   into the house, coming up with the gun in his hand. To Dr. Richmond, he described that he knocked on
 3   the door and then forced the door open when Mrs. Teague tried to close it on his arm. When Ben-
 4   Sholom was talking about the actual killing he did not embellish to Dr. Richmond.
 5                     6.        Ben-Sholom’s Rebuttal.
 6            Ben-Sholom called Dr. Wynbrandt to rebut the opinions and the bases for the opinions given by
 7   Drs. Geshuri and Richmond. He called Mr. James Park to discuss the inconsistency between ASPD and
 8   Ben-Sholom’s post-conviction conduct in prison.
 9                               a.    Dr. Wynbrandt.
10            Dr. Wynbrandt commenced his rebuttal testimony by defending the credibility of his thorough
11   evaluation of Ben-Sholom’s mental state in 1985, even though the evaluation took place in 1995. First,
12   Dr. Wynbrandt’s evaluation was informed by the comprehensive review of all the records previously
13   mentioned, plus an in depth interview with Ben-Sholom over three days lasting eight hours. Dr.
14   Wynbrandt established a relationship with Ben-Sholom and Ben-Sholom opened up during the course
15   of the evaluation. In contrast, Dr. Richmond’s evaluation was based on a brief interview conducted
16   without any background information. Dr. Wynbrandt described Dr. Richmond’s evaluation as cursory.
17   In order to make a valid assessment of a personality or mental disorder the professional should see the
18   subject more than once.
19            Next, Dr. Wynbrandt criticized Dr. Richmond’s discounting of the significance of Ben-Sholom’s
20   traumatic exposure to his father as a toddler. Dr. Wynbrandt explained that the significance of identity
21   development from 18 to 36 months is well recognized in literature and statistical evidence. Borderline
22   personality disorder can be predicted based on the failure to develop during this stage. Essential
23   elements of borderline personality disorder are instability in mood, self image, and interpersonal
24   relationships.     This in turn stems from inconsistent parenting, childhood trauma, instability of
25   environment, and turbulence.
26            In Dr. Wynbrandt’s view, Dr. Richmond was completely wrong in his conclusion that Ben-
27   Sholom didn’t seek out therapy. Although his mother brought him in initially, the Kings View records
28   show Ben-Sholom actively participated in therapy. He wasn’t just showing off. It wasn’t just that Ben-

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 1   Sholom had aberrant behavior his mother wanted to be addressed; Ben-Sholom was reported by his
 2   mother to be afraid of his father. Dr. Richmond distorted the reasons Ben-Sholom was brought to
 3   therapy. Dr. Richmond also was off the mark in calling Ben-Sholom manipulative for calling Kings
 4   View, using an alias, for purposes of escaping his abusive home. Ben-Sholom was being sensible in
 5   trying to get out of the house and into a foster home. He was doing the job Child Protective Services
 6   should have been doing. This was adaptive, not manipulative behavior. In Dr. Wynbrandt’s opinion,
 7   Dr. Richmond likewise was wrong in finding support for ASPD in Ben-Sholom’s relationship with Judy
 8   Mayora. To the contrary, Ben-Sholom was ready to be affable to anyone who was nice to him.
 9            Dr. Wynbrandt disagreed with Dr. Richmond’s conclusion that Ben-Sholom’s wish not to inflict
10   pain on Mrs. Teague did not show empathy. While not wanting to be like his father, who inflicted quite
11   a bit of pain, was a factor, Ben-Sholom also expressed real empathy for Mrs. Teague. Dr. Richmond
12   also was wrong when the said that Ben-Sholom didn’t feel remorse for his crime. Ben-Sholom told Dr.
13   Richmond he (Ben-Sholom) wanted to be put to death because he felt guilt for the homicide. That was
14   remorse.
15            Dr. Wynbrandt understood Ben-Sholom’s capacity to over-dramatize and exaggerate. It was
16   totally unrealistic for Ben-Sholom to think that paramilitary mercenary groups would have been
17   interested in him when he got into trouble. This trouble included burglarizing his mother’s house,
18   alcohol and marijuana use, running in and out of traffic, and jumping off the roof of the Sequoia Mall.
19   Thus, Dr. Wynbrandt did not think much of Dr. Richmond’s testimony crediting any of Ben-Sholom’s
20   fantasies about having received paramilitary training or that mercenary groups were interested in him.
21            Dr. Wynbrandt didn’t think Dr. Richmond gave sufficient weight to Ben-Sholom’s self
22   destructive behavior prior to the crime, including the Inderal overdose, jumping (or falling) from the
23   Sequoia Mall, drinking, and use of drugs. Nor did Dr. Richmond properly weigh Ben-Sholom’s report
24   of having been depressed 95% of the time and that he first thought of suicide when he was nine or ten.
25   Dr. Richmond’s discounting of the numerous schools Ben-Sholom attended with a comparison to
26   children of parents in the military was troubling to Dr. Wynbrandt. Unlike the children of military
27   families, Ben-Sholom’s frequent moves were unplanned and disorganized.
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 1            Next, Dr. Wynbrandt discussed the opinions and conclusions of Dr. Geshuri. He criticized Dr.
 2   Geshuri for interpreting Mr. Alexander’s request to get a “snapshot” of Ben-Sholom as direction not to
 3   obtain any background information. Dr. Wynbrandt thought it ironic that Dr. Geshuri even gave a
 4   diagnosis given the fact that he wasn’t asked to do so and he didn’t have sufficient background to inform
 5   a diagnosis. Dr. Geshuri’s focus definitely was not on historical background, as seen by the fact that
 6   although he had in his notes that Ben-Sholom attended 13 schools, this fact was not mentioned in the
 7   report. No other historical information was uncovered. This failure to obtain background information
 8   compromised his 1985 clinical impression. The fact that Dr. Geshuri, during the evidentiary hearing,
 9   discounted the abuse Ben-Sholom encountered between 17 and 21 months because it was of short
10   duration and afterwards Ben-Sholom was returned to safety, also was troubling to Dr. Wynbrandt. First,
11   four months out of a toddler’s life is a significant proportion of life. Dr. Wynbrandt didn’t feel Dr.
12   Geshuri understood stages of development. Harm caused at one stage shows up in subsequent stages.
13   Correction comes from family and individual treatment. Second, contrary to Dr. Geshuri’s conclusion,
14   following this four month period, Ben-Sholom was not returned to safety and normalcy. The
15   environment at Ben-Sholom’s grandmother’s house was unstable. Ben-Sholom’s maternal uncle
16   suffered from schizophrenia and there were many babysitters. Dr. Wynbrandt disagreed with Dr.
17   Geshuri’s view that because of Ben-Sholom’s intelligence, any mental disorders were diluted or
18   neutralized. Dr. Geshuri assumed Ben-Sholom’s cognitive mind was in control and that he made
19   choices based on rational and logical capacity. It was Dr. Wynbrandt’s opinion, however, that
20   intelligence would be of no use in protecting oneself against the conditions inflicted on Ben-Sholom.
21            In sum, Dr. Geshuri was very selective in his assessment of Ben-Sholom, which Dr. Wynbrandt
22   believed was to cast Ben-Sholom in the worst light. To say that Ben-Sholom’s emotional and mental
23   disturbance was very general and not mitigating follows from the fact that Dr. Geshuri’s evaluation was
24   so brief and uninformed. He didn’t have the ability to develop a more comprehensive profile. In Dr.
25   Wynbrandt’s opinion, Dr. Geshuri had insufficient information to make an Axis II diagnosis. The
26   psychological test result that Ben-Sholom’s credibility was low should have motived Dr. Geshuri to
27   delve further in the clinical interview. He should have rendered a provisional diagnosis, since he noted
28   visible signs of stress in Ben-Sholom’s demeanor. Dr. Wynbrandt further criticized Dr. Geshuri because

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 1   his view that Ben-Sholom did not suffer from substantial domination was in part based on his own (Dr.
 2   Geshuri’s) experience in the Israeli Army. This was a transfer of Dr. Geshuri’s experience on Ben-
 3   Sholom, a phenomenon called “counter-transference.” Dr. Wynbrandt noted that clinicians are trained
 4   to be on the alert against counter-transference.
 5            Regarding Ben-Sholom’s post-conviction conduct, Dr. Wynbrandt reviewed the declarations of
 6   Anna Vahakangas (Exhibit 19 to the EHT), Jane Davis (Exhibit 20 to the EHT), Fiona McGillivray
 7   (Exhibit 21 to the EHT), and Mavis Gilbert 65 discussing their correspondence with Ben-Sholom. From
 8   this review,66 Dr. Wynbrandt concluded that Ben-Sholom demonstrated genuineness and the ability to
 9   become attached to other people. This is quite different than what would be expected in people with
10   ASPD, where even after the most dramatic symptoms begin to wane, there remains difficulty with
11   interpersonal relationships. A person with ASPD would not be able to make attachments, have deep
12   relationships, or feel empathy for others. The declarations show Ben-Sholom’s ability to do so.
13            Ben-Sholom disclosed to Dr. Wynbrandt that he was never comfortable with Mr. Alexander, and
14   that is the reason he (Ben-Sholom) did not disclose his homosexuality. Recognizing that Ben-Sholom,
15   himself, decided what information to disclose and what information to withhold from his attorney as
16   well as to his examiners, Dr. Wynbrandt did not feel manipulated by Ben-Sholom. The disclosure and
17   withholding of information was never made with any well-organized plan.
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               The content of the declarations of Ms. Vahakangas, Ms. Davis and Ms. McGillivray are
22   summarized in the context of Mr. Park’s declaration. Part IV.A.6.b., infra. A facsimile of Ms. Gilbert’s
     declaration was filed and served on February 10, 2003, two days before Dr. Wynbrandt’s rebuttal
23   testimony. The original is the subject of Ben-Sholom’s motion to augment the record filed on March
     19, 2003. Ms. Gilbert, 72 years old when she executed the declaration, was a Salvation Army Retired
24   Officer with experience doing social work. She began writing to Ben-Sholom as part of a prison
     correspondence program through the Salvation Army. She found him to be forthright, informative, and
25   generous, never asking for money or other help as many prison correspondents have done. He updated
     her on prison life, including his administrative victory in securing a ruling allowing him to wear his
26   yarmulke in the visiting room. He also has sent her “clever drawings” and photographs. She averred
     that Ben-Sholom “has definitely enriched [her] life.”
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              66
              Ms. Marinovich elicited from Dr. Wynbrandt on cross examination that he did not actually
28   review the correspondence, just the declarations about the correspondence.

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 1            Dr. Wynbrandt determined Ben-Sholom’s Axis I diagnosis to be severe PTSD. His Axis II
 2   diagnosis was borderline personality disorder.67
 3                               b.   Mr. Park.
 4            After Mr. Park completed his bachelor’s degree in psychology, he commenced working on his
 5   doctorate, and completed four years of graduate studies in clinical psychology, but never completed his
 6   doctorate thesis. In 1952 he began working for the California prison system. He was a psychologist
 7   conducting psychological evaluations to make inmate placement classifications. Between 1956 and
 8   1962, licensure requirements were instituted in the State of California and Mr. Park obtained a license
 9   as a clinical psychologist. His license was inactive at the time of his testimony, and had been so for the
10   preceding four to six years. Mr. Park worked in the prison system until his retirement in 1983, where
11   he spent much of his career assessing inmates for evidence of sociopathic or deviant behavior. The
12   DSM criteria for ASPD, that is, a “pervasive pattern of disregard for and a violation of the rights of
13   others,” is consistent with description of a sociopath or deviant forty years earlier when Mr. Park was
14   classifying prisoners for housing placement. The Court admitted Mr. Park’s testimony in rebuttal to the
15   Warden’s contention that Ben-Sholom had ASPD. Specifically, the Court accepted his opinion as to
16   whether Ben-Sholom’s prison record was consistent or inconsistent with the essential factors of ASPD,
17   as stated in the DSM. The testimony was not admissible on the issue of Ben-Sholom’s institutional
18   adjustment. Nor was Mr. Park’s testimony admissible on the issue of whether Ben-Sholom suffers from
19   ASPD, since he (Mr. Park) was not qualified to render a medical opinion.
20            Mr. Park reviewed Ben-Sholom’s grievance forms (Exhibits 13 and 14 to the EHT) challenging
21   the rule prohibiting him from wearing his yarmulke in the visiting area. Mr. Park found that Ben-
22   Sholom’s pursuit of the grievance procedure showed persistence and sincerity. In contrast to inmates
23   pursuing grievances to receive pornographic magazines, Mr. Park opined that Ben-Sholom received no
24   secondary benefit from permission to wear a yarmulke. There were more Nazis than Jews in the San
25   Quentin yard. Ben-Sholom’s grievance pursuit was the opposite of irresponsibility and impulsivity
26   characteristic of ASPD.
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              In his earlier testimony, he stated that Ben-Sholom’s Axis II diagnosis was identity
28   fragmentation, which is a condition found in borderline personality disorder.

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 1            Next Mr. Park reviewed academic coursework in Ben-Sholom’s prison academic files. Exhibits
 2   15 and 16 to the EHT. These records showed Ben-Sholom to be a good and diligent student. Again,
 3   Ben-Sholom received no secondary benefit or privilege from pursuing these academic subjects. With
 4   respect to the religious courses, Ben-Sholom’s reason for pursuing these courses was to sort out his own
 5   religious confusion between Judaism and Christianity. Mr. Park found in Ben-Sholom a consistent,
 6   sustained focus on fairly difficult biblical study. A person with ASPD might pursue education if there
 7   were a secondary gain, for instance, contact with a female teacher. People with ASPD, however, would
 8   not be consistent and would soon give up. Ben-Sholom was persistent.
 9            Mr. Park then reviewed the five declarations marked and admitted as Exhibits 17, 18, 19, 20, and
10   21 to the EHT, of Rabbi Barbara Goldman-Wartell, Debbie Marrujo Sloss, Anna Vahakangas, Jane
11   Davis, and Fionna MGillivray. The profile of Ben-Sholom as reflected in the declarants did not draw
12   a picture of a sociopath or someone with ASPD.
13            Rabbi Goldman-Wartell (Exhibit 17) was not only a religious leader, but also a social worker.
14   Mr. Park was impressed that Rabbi Goldman-Wartell evaluated Ben-Sholom’s interest in Judaism as
15   sincere even in the face of prevalent antipathy for Jews in prison. Rabbi Goldman-Wartell’s declaration
16   demonstrated that Ben-Sholom was able to overcome the unfeeling, paramilitary mold imposed by his
17   father to become a person willing to learn and be open about his feelings.68
18            Ms. Sloss (Exhibit 18) was acquainted with Ben-Sholom when she (Ms. Sloss) had been a foster
19   child under the supervision of Ms. Marshall (in Ms. Marshall’s capacity as a CPS worker). Ms. Sloss
20   averred that Ben-Sholom was very kind to her when they were young teenagers. He listened to her and
21   gave her advice. He discouraged her from using drugs. Although Ms. Sloss would have been willing
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26            68
              Rabbi Goldman-Wartell actually visited Ben-Sholom in the Tulare County Jail during trial
     proceedings, after the guilt phase proceedings. She visited him a second time after the penalty phase
27   proceedings. She averred in her declaration (executed January 31, 2003) that Roger Alexander never
     contacted her to ask her to testify at Ben-Sholom’s penalty phase trial. Had he done so, Rabbi Goldman-
28   Wartell would have testified to her favorable impressions of Ben-Sholom.

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 1   to have sex with Ben-Sholom at the time, he declined. Mr. Park opined that his altruism in this regard
 2   was inconsistent with ASPD. He could have, but didn’t victimized Ms. Sloss.69
 3            Ms. Vahakangas (Exhibit 19) was a student when she initiated contact with Ben-Sholom after
 4   reading an magazine article he wrote. She described him as having high moral values. Mr. Park opined
 5   this impression was inconsistent with ASPD.
 6            Ms. Davis (Exhibit 20) was an ordained Jewish minister and employed by the New Mexico
 7   Department of Corrections as a psychologist. She observed a display of openness in Ben-Sholom, a
 8   great deal of trust and respect for the rights of others, and a lack of physical aggressiveness and
 9   impulsivity. Mr. Park noted this was inconsistent with ASPD.70
10            Ms McGillivray (Exhibit 21) initiated correspondence with Ben-Sholom after reading an article
11   in her local Quaker newsletter. She stated Ben-Sholom showed interest in her as a person. He both
12   volunteered information about and took responsibility for the crime. Mr. Park opined this is inconsistent
13   with ASPD.
14            In the context of opining that the descriptions of Ben-Sholom by these various declarants painted
15   a picture of someone who did not have ASPD, Mr. Park also noted that the absence of any disciplinary
16   reports at San Quentin solidified his opinion.
17            Mr. Park reviewed the declaration of Dr. Kenneth Searle (Exhibit 22 to the EHT). Dr. Searle
18   taught Ben-Sholom a two-semester class called “Survey of the Old Testament” at San Quentin. Ben-
19   Sholom’s enrollment in this class is listed on his academic record (Exhibit 15). Mr. Park described the
20   Old Testament survey class as a tough course and noted that Dr. Searle found Ben-Sholom to be “a man
21   of honesty and humility.” Mr. Park emphasized that Dr. Searle averred he was not opposed to the death
22   penalty.
23
24            69
               Like Rabbi Goldman-Wartell, Ms. Sloss averred in her declaration (executed January 30, 2003)
     that she would have testified in a manner consistent with her declaration at Ben-Sholom’s trial if Mr.
25   Alexander had contacted her.
26            70
              Not mentioned in Mr. Park’s testimony about Ms. Davis’s declaration was the fact she brought
     a troubled teenager to see Ben-Sholom in prison. Ms. Davis averred: “With the parents’ notarized
27   permission letter, I took the young man to the San Quentin visiting room, where he met with Mr. Ben-
     Sholom. Mr. Ben-Sholom was completely open and helpful to the boy; I saw that the visit had a
28   profound and beneficial impact.”

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 1            Finally, Mr. Park reviewed the Prison Resource Directory which Ben-Sholom prepared. Exhibit
 2   23 to the EHT. Mr. Park stated this was not an easy document to put together. It required a great deal
 3   of persistence because it is difficult to find resources at San Quentin. Further, there was no secondary
 4   gain involved with compiling the directory. A prisoner with ASPD might have put this directory
 5   together for money, but Ben-Sholom did not.
 6            Mr. Park’s review of Ben-Sholom’s post-conviction prison record and activities show the
 7   establishment of meaningful relationships, lack of violence, pursuit of academic improvement, religious
 8   commitment, and pursuit of grievances through proper channels. Mr. Park found this conduct
 9   inconsistent with ASPD, even taking into account the Warden’s argument that a person with ASPD does
10   not act anti-socially in every respect.
11            On cross examination Mr. Park conceded that all people mellow with age and that young
12   prisoners become sobered with time and settle down. Mr. Park stated that a person with severe ASPD,
13   however, would have a hard time adapting and could misbehave persistently. Mr. Park did not
14   personally interview Ben-Sholom, although he read prison records, various declarations, and Dr.
15   Froming’s social history. Mr. Park also conceded that some of Ben-Sholom’s past conduct was
16   consistent with ASPD, including his running away from home, burglarizing his mother’s house, and
17   committing the present crime. Mr. Park did not believe that firing four bullets into the back of
18   someone’s head invariably would be consistent with ASPD. He testified it could be consistent with
19   schizophrenia, fright, anxiety, anxiety disorder, or delusion.
20                     7.        The Warden’s Evidence.
21            The Warden filed an exhibit list consisting of seven exhibits lettered A through G. Exhibit A
22   is discussed in connection with Claim 22. See Part V., infra. Exhibit B is an investigation report of an
23   interview of Roger Alexander conducted by Ms. Marinovich on December 31, 2002.71 Relevant excerpts
24   of this report, in tandem with excerpts from a corresponding subsequent declaration over Mr.
25   Alexander’s signature and dated January 20, 2003 refuting and clarifying certain statements in the report
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              Ms. Marinovich’s cross examination of Mr. Alexander roughly tracked the substance of the
28   Exhibit B investigation report.

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 1   are recounted below.72 Exhibits C, D, E, and F are described in the Warden’s response to Ben-Sholom’s
 2   evidence presented during the evidentiary hearing. See Part IV.A.5., supra. Exhibit G consists of 33
 3   trial exhibit photographs moved into evidence by the prosecution, and recounted below. The Warden’s
 4   final evidentiary proffer is a request for judicial notice filed after the evidentiary hearing, on March 3,
 5   2003, as recounted below.
 6                               a.   Report and Declaration of Roger Alexander.
 7            Although Mr. Alexander’s evidentiary hearing testimony was extensive, several passages in the
 8   investigation report and declaration not mentioned in his testimony bear relevance to the analysis of Ben-
 9   Sholom’s ineffective assistance of counsel claim. First with respect to PTSD, Mr. Alexander is reported
10   to have stated that this was a diagnosis some attorneys used as mitigation evidence, but he could not
11   recall when it first came into use. He reportedly told Ms. Marinovich that Ben-Sholom directed him not
12   to use certain defenses and that he (Ben-Sholom) specifically did not want any type of mental defense,
13   such as insanity. In his declaration, Mr. Alexander explained that sometimes Ben-Sholom expressed
14   opposition to certain trial strategies, but this did not cause Mr. Alexander to forego anything he felt
15   would be beneficial to the defense case. Also, although Ben-Sholom was worried about being perceived
16   as “crazy,” he agreed with mental state strategies after Mr. Alexander explained them. The investigation
17   report states Mr. Alexander told Ms. Marinovich that he felt he had obtained some really good
18   information for the penalty phase from the experts, and that the information would have been really
19   useful if he could have been sure the jurors would listen.
20             He identified one potential penalty phase witness, one of Ben-Sholom’s school teachers, who
21   originally agreed to testify and then backed out after being informed by a member of her church that Mrs.
22   Teague’s family attended the same church. Mr. Alexander felt she would have cast Ben-Sholom in a
23   sympathetic light.
24            With respect to the omitted sentencing instructions under factors (d) (extreme mental or
25   emotional disturbance), (g) (substantial domination), and (h) (mental disease or defect), Mr. Alexander
26   told Ms. Marinovich he could not recall whether he considered those instructions, but that it might have
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              72
              Both the investigation report, Exhibit B to the EHT, and the January 20, 2003 declaration, were
28   admitted by Court order entered January 30, 2003 (document 377).

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 1   been a tactical decision to omit them. In his supplemental declaration, he clarified that he was just
 2   speculating about whether he had a tactical reason for omitting instructions under these factors, because
 3   he had no recollection about it one way or the other.73 Ms Marinovich further questioned Mr. Alexander
 4   as to whether he believed Ben-Sholom was extremely emotionally or mentally disturbed. Mr. Alexander
 5   responded in the affirmative, attributing this response to Ben-Sholom being caught up in his miliary
 6   mission. He thought this evidence was a double-edged sword, however, because the cause of Ben-
 7   Sholom’s disturbance was sociopathy. In his supplemental declaration, Mr. Alexander clarified that
 8   attributing the cause of Ben-Sholom’s mental or emotional disturbance to sociopathy was not his idea,
 9   but came from Dr. Geshuri.
10            Mr. Alexander was reported to have said he did not believe jurors would ignore mitigating
11   evidence if not highlighted by a specific instruction. In his supplemental declaration he averred that the
12   actual question Ms. Marinovich asked was if each factor was not labeled as a mitigator by the trial judge
13   did he believe the jurors would ignore them. He answered no to that. His concern, as he testified at the
14   evidentiary hearing, was not that the jurors would ignore mitigation evidence, but that they wouldn’t
15   know how to apply it and wouldn’t give it full effect. He also told Ms. Marinovich that he believed if
16   the jurors followed the instructions he requested and were given by the trial judge, there was no way they
17   would have returned a death verdict. He explained to Ms. Marinovich that part of his penalty phase
18   strategy was to keep evidence about Ben-Sholom’s fascination with and the pursuit of the paramilitary
19   away from the jurors.
20            Although he said he struggled quite a bit with the decision of whether or not to call Dr. Rienzi,
21   his main concern being that the jurors might not follow the instructions. He reportedly told Ms.
22   Marinovich that his decision not to call Dr. Rienzi was tactical and seemed right at the time, although
23   it was excruciating. In this supplemental declaration he stressed that the decision not call Dr. Rienzi
24   was difficult to make and followed extended consideration. As he testified at the evidentiary hearing,
25   the decision followed the trial judge’s determination to give the sentencing instructions as Mr. Alexander
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27            73
               At least with respect to the factors (d) and (g) instructions, Mr. Alexander’s testimony at the
     evidentiary hearing reverted to the sentiment expressed in the investigation report. He testified at the
28   hearing that he actually deleted instructions under factors (d) and (g).

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 1   had requested. However, since the jury did return a death verdict, and Mr. Alexander didn’t think it
 2   would, he believed he should have done something differently in the presentation of the mitigation case.
 3                               b.    Prosecution Trial Exhibit Photographs.
 4             The 33 prosecution trial exhibit photographs depict the weapons and ammunition recovered
 5   from Ben-Sholom, Calhoun, and Seaman when they were arrested in San Bernardino County, as well
 6   as the crime scene as authorities found it, and as Mrs. Teague’s son, Alva Teague,74 found it, in the early
 7   evening of January 23, 1985, when he returned home from work.            The front door to the house was
 8   open, Mr. Teague’s bedroom had been ransacked, and his mother was lying face down on the bathroom
 9   floor, forehead resting on her hands, eye glasses still on, in a pool of blood. RT-11: 1940-43. The
10   exhibits include two close up photographs of Mrs. Teague in this condition and one longer shot from
11   Alva Teague’s ransacked bedroom, as well as a photograph of the bloody bathroom floor after
12   authorities removed Mrs. Teague’s body from the scene. There also is an autopsy photograph of Mrs.
13   Teague showing the bullet holes at the base of her skull. The Warden moved to expand the record to
14   include these 33 photographs on January 28, 2003. The Court granted the motion on January 30, 2003
15   (document 377).
16                               c.    Request for Judicial Notice.
17            The Warden requests the Court to take judicial notice of two court documents.75 The first is an
18   order issued in Laval Frierson v. Jeanne Woodford, Warden of California State Prison at San Quentin,
19   Case No. CV 92-6251 CM, dated October 15, 2001, by Central District of California. The second is a
20   reporter’s transcript of a hearing on October 28, 1998 from a Washington State criminal matter against
21   Alex K. Baranyi, Case No. 97-1-00343-8 SEA. The request for judicial notice pertains to the credibility
22   of Dr. Froming. The request for judicial notice is granted, although in light of the testimony and
23   documents admitted at the evidentiary hearing, reliance on Dr. Froming’s conclusions is minimized.
24   To the extent Dr. Froming’s conclusions drawn in her social history report are based on facts
25   corroborated by other sources in the record, her credibility is not called into question.
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27            74
                   Alva Teague was 20 years old at the time.
28            75
                   The request for judicial notice was filed March 3, 2003.

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 1                                    (1)    Frierson Order.
 2            In the Frierson order, the court denied all claims developed during an evidentiary hearing. In
 3   particular, the court found Dr. Froming’s reliance on selective background information as a basis for
 4   giving little weight to her conclusions with respect to the severity of Frierson’s mental impairment. In
 5   one instance she adjusted downward her computation of Frierson’s “T-score” (which is a percentile rank
 6   used to score impairment) by inflating his education level to the twelfth grade (because he received GED
 7   in prison). The district court was troubled by the fact that she ignored “test results which did not support
 8   her ultimate conclusions,” but only reported results on which Frierson performed poorly. Next, Dr.
 9   Froming concluded that Frierson suffered from demyelinization (damage to tissue which covers the
10   neurons, aids in neural transmission, and connects the various regions of the brain) and this conclusion
11   was relied on by psychiatrist Zakee Mathews, M.D. as the basis for his conclusion that Frierson suffered
12   from organic brain damage and might have been unable to premeditate at the time of the homicide.
13   Another psychiatrist opined, however, that a neuropsychologist, like Dr. Froming, ordinarily would not
14   be able to measure demyelinization from psychological testing, since demyelinization is considered a
15   radiographic, anatomic or pathological diagnosis, beyond the expertise of a psychologist.76
16                                    (2)    Baranyi Transcript.
17            During the hearing involving Mr. Baranyi, the prosecutor caught Dr. Froming in an apparent
18   misrepresentation, thus impugning her credibility. During cross examination concerning a report she
19   apparently wrote, she twice stated that the abbreviation “ASP scale” stood for “aspiration scale.” From
20
              76
                The Ninth Circuit, in an unpublished opinion agreed that Dr. Froming’s conclusions lacked
21   credibility:
             We also reject the remaining sub-claim regarding neuropsychological testimony. . . .Even
22           if Lieman [Frierson’s trial attorney] had conducted a more thorough investigation of
             Frierson's mental capacity, we cannot conclude from this record that he would have been
23           able to present neuropsychological evidence that Frierson was unable to deliberate or
             premeditate, or act with the intent to kill. At the first evidentiary hearing in district court,
24           Frierson presented the testimony of Dr. Froming, a neuropsychologist. Although Dr.
             Froming testified that Frierson suffered from organic brain damage, which affected him
25           at the time he committed the crime, her test methodology was wholly discredited.
             Therefore, the failure to present testimony similar to that presented by Dr. Froming at the
26           evidentiary hearing did not undermine confidence in the special circumstances
             findings.FN3
27           FN3. This is also true of the testimony of Dr. Matthews, who relied on Dr. Froming's
             neurological testing.
28   Frierson v. Woodford, 202 Fed.Appx. 152, 156 (9th Cir. 2006).

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 1   the context of the transcript excerpt, it appears Dr. Froming also testified ASP stood for aspiration during
 2   her direct examination testimony earlier the same day. Thus, she testified that the defendant had high
 3   aspirations. Dr. Froming corrected her misstatements during her cross examination testimony, stating
 4   that “ASP” on the test results stood for anti-social practices. It was thus revealed that the testing at issue
 5   revealed the defendant to have had a high index for anti-social practices. She explained that she didn’t
 6   bring her misstatement about the meaning of ASP to the defense attorney’s attention in the course of his
 7   direct examination of her because she forgot.
 8                     8.        Ben-Sholom’s Post Evidentiary Hearing Motion to Augment the Record.
 9            Ben-Sholom asks the Court to consider three pieces of evidence in a post evidentiary hearing
10   motion to augment: a supplemental declaration over the signature of Dr. Froming explaining certain
11   statements made in social history report (concerning Ben-Sholom), as well as the two documents for
12   which the Warden has requested judicial notice; defense trial exhibit photographs; and the original of
13   the declaration of Mavis Gilbert. The request to augment the record is granted. Since the substance of
14   Ms. Gilbert’s declaration already has been explored in connection with Dr. Wynbrandt’s rebuttal
15   evidentiary hearing testimony, see Part IV.A.6.a., supra, the substance of that document will not be
16   summarized.
17                               a.    Dr. Froming’s Declaration in Response to the Warden’s Request for
18                                     Judicial Notice.
19            Dr. Froming first defended her misstatement in the Baranyi transcript that “ASP” stood for
20   aspiration instead of anti-social practices in a particular psychological test. She averred that at the time
21   of her 1998 testimony, she was only familiar with the clinical diagnostic scale in the original version of
22   this test, not the revised version. The abbreviation ASP was not in the original version, and hence, she
23   made the mistake identified. She also explained that the mistake was preceded by four days of intense
24   testimony.
25             With respect to the Frierson case, Dr. Froming criticized the value of the testimony given by
26   the respondent’s mental health expert because he had no experience evaluating the impact of drug use.
27   Next, she refuted the court’s conclusion in the order that she failed to identify the norms she used to
28   administer psychological tests. She explained that she did identify the norms she utilized in her

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 1   testimony.      The problem with identifying Frierson’s education level for the T-scale (showing
 2   impairment) was attributable, she averred, to the fact that there are many norms for determining
 3   education level. Utilizing from the sixth to eighth grade, all the way up to the twelfth grade was
 4   acceptable. She urged that both she and the respondent’s expert found evidence of Frierson’s organic
 5   brain impairment, and although standing alone, insufficient to preclude the formation of intent, it was
 6   a contributing factor.
 7            With respect to the social history report prepared for Ben-Sholom’s case, she stated that she
 8   conducted no testing and drew no neuropsychological conclusions. All the information included in her
 9   report was obtained from counsel and interviews with licensed clinical social worker Anthony Casillas,
10   Ms. Marshall, and Ben-Sholom.
11                               b.   Defense Trial Exhibit Photographs.
12            These photographs depict Ben-Sholom as a child, young teenager, and in the Army. As a child
13   he was an attractive, cheerful looking child, as his mother described him in her penalty phase testimony,
14   bright, enthusiastic, energetic and personable. As he matured, he retained his good looks, and a pleasant
15   smile. The Army photograph depicts a serious countenance.
16            B.       Analysis.
17            To establish constitutionally ineffective assistance of counsel, Ben-Sholom must demonstrate
18   (1) that Mr. Alexander made errors so serious that he was not functioning as the counsel guaranteed by
19   the Sixth Amendment, and (2) that the deficient performance prejudiced the defense. See Bonin v.
20   Calderon, 59 F.3d 815, 833 (9th Cir. 1995). With respect to the performance prong, Ben-Sholom must
21   carry the burden of demonstrating that Mr. Alexander’s performance fell below an “objective standard
22   of reasonableness.” Strickland, 466 U.S. at 688. The assessment must be made from Mr. Alexander’s
23   “perspective at the time,” so as “to eliminate the distorting effects of hindsight.” Id. at 689. Further, the
24   Court must entertain a “strong presumption” that Mr. Alexander’s conduct fell “within the wide range
25   of reasonable professional assistance,” and hence judicial scrutiny “must be highly deferential.” Id. at
26   689.    The prejudice prong requires a showing of a “reasonable probability that, but for counsel’s
27   unprofessional errors, the result of the proceeding would have been different.” Id. at 694. “To perform
28   effectively in the penalty phase of a capital case, counsel must conduct sufficient investigation and

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 1   engage in sufficient preparation to be able to ‘present[ ] and explain[ ] the significance of all the
 2   available mitigating evidence.’” Mayfield v. Woodford, 270 F.3d 915, 927 (9th Cir. 2001) (quoting
 3   Williams v. Taylor, 529 U.S. 362, 393, 399 (2000)), quoted by Caro v. Woodford, 280 F.3d 1247, 1254
 4   (9th Cir. 2002). The process of determining penalty phase prejudice requires courts to “evaluate the
 5   totality of the available mitigation evidence – both that adduced at trial, and the evidence adduced in the
 6   habeas proceeding – in reweighing it against the evidence in aggravation.” Williams (Terry Williams)
 7   v. Taylor, 529 U.S. 362, 397-98 (2000), quoted by Mayfield, 270 F.3d at 919, n. 1. In utilizing this
 8   reweighing process, what really is at issue here is the relative impact between what was presented during
 9   Ben-Sholom’s penalty proceedings, and what Ben-Sholom alleges could have been presented, plus the
10   evidence submitted by the Warden. See Wiggins v. Smith, 539 U.S. 510, 534 (2003) (holding that
11   assessing prejudice requires re-evaluating the prosecution evidence against the totality of available
12   defense evidence).
13                       1.      Performance.
14            Ben-Sholom recites a litany of claimed errors committed by Mr. Alexander, rendering his
15   representation constitutionally incompetent:
16            * He failed adequately to investigate potential evidence of mitigation factors of substantial
17            domination, severe mental and emotional disturbance, and mental disease or defect;
18            * He unreasonably failed to provide mental health experts with comprehensive social history
19            information necessary to secure a competent psychological evaluation of his client;
20            * He failed to request opinions of his mental health experts about possible statutory mitigating
21            factors;
22            * He failed to present non-expert testimony in support of possible statutory mitigating factors;
23            * He failed to present expert testimony to explain mitigating factors and concepts to the jury;
24            * He failed to request jury instructions on potential statutory mitigating factors;
25            * He failed to argue basic penalty concepts, such as sympathy, mercy, and compassion, and to
26            argue as factor(k) mitigation the concepts of substantial domination, mental and emotional
27            distress, or mental disease or defect.
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 1                               a.   Inadequate Investigation of Substantial Domination, Severe Mental
 2                                    and Emotional Disturbance, and Mental Disease or Defect.
 3            Ben-Sholom argues that despite the fact Mr. Alexander hired mental health experts, interviewed
 4   numerous witnesses, and collected numerous documents, the defense investigation was uninformed.
 5   While Mr. Alexander knew from the outset that the focus of the case (both guilt and penalty) would be
 6   on mental issues, there was no investigation plan and no theme driving the investigation. Even as late
 7   as January 1986, the month the trial actually commenced, Mr. Alexander had not identified what role
 8   Ben-Sholom’s prescription for Inderal would play in the defense strategy.
 9            The reports of Drs. Kleist, Glenn, Geshuri, and Rienzi all provided Mr. Alexander with
10   substantial information that Ben-Sholom had been subjected to serious abuse as a youngster. Ben-
11   Sholom argues this information “revealed the need to dig deeper.” See Douglas v. Woodford, 316 F.3d
12   1079, 1089 (9th Cir. 2003); see also Wiggins, 539 U.S. at 523. In Douglas, trial counsel failed to
13   adequately conduct a mental health and social history investigation for the penalty phase. He also failed
14   to prepare the witnesses he did call. The mitigation case presented by various witnesses, including
15   Douglas’s wife and son, consisted of evidence that Douglas had an aversion to the sight of blood and
16   had a nonviolent nature. The penalty phase defense strategy was to focus on the “lingering doubt”
17   theory. 316 F.3d at 1087. The evidence not uncovered as a result of this strategy included Douglas’s
18   horrible childhood, abuse by foster parents (including being locked in a closet for long periods of time),
19   being a run-away, and extreme poverty. Nonetheless, he joined the Marines at age 15 and earned a
20   number of medals for laudable conduct. Later, however, he was arrested and jailed in Florida, where
21   he was gang-raped by other inmates. Following his release from prison and establishment in the
22   furniture refinishing business, he was exposed to toxic solvents daily, was involved in a serious
23   automobile accident in 1967, and consumed large quantities of alcohol from 1966 to 1977.77 The court
24   held that the fact Douglas was not forthcoming with useful mitigation information did “not excuse
25   counsel’s obligation to obtain mitigating evidence from other sources.” Id. at 1088 (quoting Silva v.
26   Woodford, 279 F.3d 825, 846-47 (9th Cir. 2002)). In Wiggins, the Court found the trial attorneys’
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                   The murders for which Douglas was sentenced to death were committed in 1982. 316 F.3d
28   at 1082.

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 1   failure to investigate Wiggins’ background beyond a one page presentence investigation report, a
 2   department of social services report (documenting his foster care placement), conversations with
 3   Wiggins, and retention of a psychologist was ineffective because these sources alluded to serious
 4   problems but did not reveal the “severe privation and abuse” of Wiggins’ formative years as well as
 5   physical torment, sexual molestation, and repeated rape during his subsequent years in foster care, plus
 6   his homelessness and diminished mental capacity. 539 U.S. at 535.
 7            Ben-Sholom argues a primary area where Mr. Alexander should have, but did not, “dig deeper”
 8   was in determining whether the instances of prior violent (criminal) activity which Ben-Sholom reported
 9   to his examiners and to Mr. Alexander actually took place. No one knew whether Ben-Sholom was
10   telling the truth or exaggerating. Citing Wiggins, 539 U.S. at 524, Ben-Sholom argues it was Mr.
11   Alexander’s job to investigate whether potential aggravating evidence was corroborated and learn where
12   Ben-Sholom’s exaggeration gave way to reality. See Silva, 279 F.3d at 846-47.
13            The Warden refutes Ben-Sholom’s claim that Mr. Alexander’s investigation was insufficient,
14   because he arranged for five experts to examine Ben-Sholom to explore mental, social, and physical
15   factors which led to the crime. The Warden points out that the consultations with Drs. Glenn, Kleist,
16   Geshuri, and Rienzi resulted in reports that put him on notice of the harsh treatment Ben-Sholom
17   received at the hands of his father and other sympathetic aspects of his background. He then concludes
18   that Mr. Alexander rightly did not want to present testimony of these experts because their reports also
19   contained information harmful to Ben-Sholom. Dr. Kleist concluded that Ben-Sholom was dangerous.
20   Dr. Glenn described that Ben-Sholom shot Mrs. Teague methodically when given the order, that there
21   was no issue of suggestibility, and that Ben-Sholom’s personality disorder was predominated by anti-
22   social features. Dr. Geshuri concluded Ben-Sholom may have given some test responses to make
23   himself look sicker than he was, that he displayed aggressive and sadistic behaviors and an insatiable
24   need for revenge, and that he had ASPD. The Warden further points out that the numerous records Mr.
25   Alexander obtained from Kings View were not universally favorable to developing a mitigation case.
26   On the mitigating side, the Kings View records demonstrated that Ben-Sholom attended therapy
27   sessions. On the aggravating side, however, they showed that Ben-Sholom hated his father so much he
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 1   wanted him (the father) dead. Other anti-social traits also were revealed in the records, including his
 2   disobedience, obstinance, and threats towards his mother.
 3            With the combined information from the experts and the Kings View records, the Warden argues
 4   that Mr. Alexander was not required to “dig deeper,” in contrast to the defense attorneys described in
 5   Douglas and Wiggins, because nothing in the reports or opinions of the retained experts suggested a
 6   viable defense of substantial domination, severe mental or emotional disturbance, or mental disease.
 7   Rather, Mr. Alexander’s strategy of trying to draw the jury’s attention away from the facts of the crime
 8   and humanize Ben-Sholom while at the same time presenting a “clean” penalty case and keeping the
 9   damaging, anti-social evidence away from the jury was reasonable.78 Since the circumstances of the
10   crime sentencing factor (Penal Code § 190.3(a)) was the only aggravating factor explained to the jury,
11   the Warden contends it was reasonable for Mr. Alexander not to focus on substantial domination, severe
12   mental or emotional disturbance and mental disease or defect because these sentencing factors were
13   related to Ben-Sholom’s mental state at the time of the crime, a subject matter to be avoided. Further,
14   had Mr. Alexander introduced mental state evidence, the Warden maintains that all the harmful evidence
15   in the reports as well as the potential testimony of Dr. Richmond would have come to light. The Warden
16   emphasizes that Ben-Sholom’s statements about wanting to kill his parents, ripping people’s heads off,
17   tearing their beating hearts out of their chests, and getting into fights would have been terribly damaging
18   to the mitigation case. The Warden also stresses that the crime showed a team operation with no single
19   person in charge and that Mr. Alexander reasonably foresaw the jury would react unfavorably if he
20   advocated the substantial domination theory. Relying on Mr. Alexander’s experience as a defense
21   attorney, the Warden advocates deference to his decision not to present mental defenses because they
22   were not really strong and did not have an empirical backing.
23            As a preliminary matter, the Warden’s argument that because the prosecution focused on the
24   aggravating circumstances of the crime Mr. Alexander should have totally ignored Ben-Sholom’s mental
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26            78
               Mr. Alexander used the term “clean” both in the context of the type of penalty phase case and
     the kind of mental health opinion he wanted. In his lexicon, a “clean” penalty phase case was one in
27   which the defense instructions related only to mitigating factors. The Warden also refers to this as “a
     uniformly mitigating penalty case.” A “clean opinion” was based only on psychological testing and
28   excluded opinions based on the clinical interview.

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 1   state at the time of the crime is meritless. It is manifest that to counter the effect of the aggravating
 2   circumstances of the crime Mr. Alexander was obligated to show something mitigating about Ben-
 3   Sholom’s mental state during his homicidal actions. This required that he fulfill his “sacrosanct duty
 4   to conduct a full and complete mitigation investigation before making tactical decisions.” Earp v.
 5   Ornoski, 431 F.3d 1158, 1175 (9th Cir. 2005). As Mr. Alexander testified, he knew from his interaction
 6   with Ben-Sholom that there was something wrong with him, mentally, but he “never got at what it was”
 7   and he didn’t get the full picture before the jury. What was missing was evidence explaining why Ben-
 8   Sholom committed this awful crime and an effort on Mr. Alexander’s part to develop that evidence. As
 9   a secondary matter, the Warden’s argument that Mr. Alexander withheld mental state evidence because
10   he wanted the jurors’ attention diverted from mental mitigators appears to be speculation. It is
11   unsupported by Mr. Alexander’s evidentiary hearing testimony.
12            The Warden also erroneously surmises that if mental state evidence had been introduced, the
13   negative aspects of the reports Mr. Alexander received from Drs. Kleist, Glenn, and Geshuri would have
14   been revealed. In fact, the only expert Mr. Alexander ever considered presenting was Dr. Rienzi, whose
15   report the Warden concedes was helpful. Had he called Dr. Rienzi, only Dr. Richmond would have
16   testified in rebuttal. So long as he did not show the reports of his other retained experts to Dr. Rienzi,
17   Mr. Alexander would not have been compelled to reveal their reports or to have called them as
18   witnesses. Next, the Warden conflates the damaging evidence from all sources (Drs. Kleist, Geshuri,
19   Richmond as well as portions of the Kings View records) with potential testimony of Dr. Richmond.
20   Of the damaging testimony emphasized by the Warden above (wanting to kill his parents, ripping heads
21   off, tearing out beating hearts, and fighting), only Ben-Sholom’s statement that he wanted his father dead
22   (not that he wanted to kill his parents) and that he got into a fights at school were mentioned by Dr.
23   Richmond.79 At least with respect to the school fights, it is by no means clear testimony describing these
24   fights would have come before the jury. Mr. Walton indicated he wouldn’t elicit testimony of this nature
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26            79
               This includes the unfounded report that Ben-Sholom put his fingers into another child’s eyes
     and banged the child’s head against school playground equipment. The most negative information was
27   relayed in Dr. Kleist’s report, including Ben-Sholom’s expressions feeling so much rage he could “rip
     the guard’s head off,” being able to “pull a pumping heart out of a person’s chest,” going into “graphic
28   detail about means of torture” and hurting animals.

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 1   from Dr. Richmond, and independently, it would not have been admissible under sentencing factor (b)
 2   (uncharged acts of violent criminal behavior) unless subjected to the beyond a reasonable doubt burden
 3   of proof. People v. Thompson, 45 Cal. 3d 86, 127 (1988); People v. Rundle, 43 Cal. 4th 76, 182 (2008).
 4   Most importantly, in taking the negative reports from Drs. Kleist, Geshuri, and Richmond at face value,
 5   the Warden completely glosses over the chief complaint against Mr. Alexander: that he didn’t take the
 6   necessary steps to verify Ben-Sholom’s social history, childhood abuse, past counseling, and exaggerated
 7   claims of mercenary training or to convey the true facts to the examiners so the resulting opinions would
 8   be informed. Ben-Sholom’s reliance on Douglas and Wiggins is well-founded. In this case, however,
 9   it was not the quantity of sources consulted but the quality of the investigation and the assimilation of
10   that information into a coherent mitigation case. Because Mr. Alexander hung onto a “strategy” of not
11   providing experts with pertinent background information and the belief that a clinical interview was
12   unnecessary for psychological testing, the expert consultations he arranged were worse than worthless
13   because not only were they based on insufficient information, but on fabricated information Ben-Sholom
14   supplied. Digging deeper in this case meant that Mr. Alexander needed to ascertain the true facts about
15   Ben-Sholom.
16            A trial lawyer’s strategic decisions made after thorough investigation “are virtually
17   unchallengeable,” but “strategic choices made after less than complete investigation are reasonable
18   precisely to the extent that reasonable professional judgments support the limitations on investigation.”
19   Wiggins, 539 U.S. at 521 (quoting Strickland, 466 U.S. at 690-91). By the same token, defense attorneys
20   have a duty to seek out relevant information to a defendant’s background and bring this information to
21   the attention of experts, whether or not the experts request it. Hovey v. Ayers, 458 F.3d 892, 925 (9th
22   Cir. 2006) (quoting Wallace v. Stewart, 184 F.3d 1112, 1118 (9th Cir. 2002)). Mr. Alexander never
23   accomplished this. Even when Mr. Alexander examined Dr. Richmond in the pre-trial deposition 11
24   months after the crime, when there had been ample opportunity for him to undermine the bases that did
25   or might have informed the doctor’s opinions, the opportunity was missed. The most Mr. Alexander did
26   was to ask whether Dr. Richmond inquired further to ascertain whether the experiences Ben-Sholom
27   related were real or fantasy. He did not confront Dr. Richmond with the true facts, that Ben-Sholom was
28   relentlessly abused by his father, that giving credence to the incident with the severely injured child on

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 1   the playground was unfounded, that there was no mercenary training, and that the “mission” to obtain
 2   guns from the Teague residence so Ben-Sholom and his companions would be accepted in the Karen
 3   Liberation Army (after undergoing training in El Salvador) was complete fantasy. He did not ask Dr.
 4   Richmond what his opinion would be if Ben-Sholom’s claims of prowess and accomplishments turned
 5   out to be false. Similarly, Mr. Alexander’s failure to fully explore the extent of the psychological torture
 6   and unjust militaristic conditioning to which Ben-Sholom was subjected as a youngster undermined even
 7   his own impression that Ben-Sholom was easily led and thus eliminated the substantial domination issue
 8   from consideration.
 9            Mr. Alexander’s experience as a homicide defense attorney did not justify his omissions. First,
10   prior to trying Ben-Sholom’s case, Mr. Alexander had never had a capitally charged case proceed to a
11   penalty phase. Second, Mr. Alexander’s opinion about mental defenses being a “hard sell” and that the
12   jury would have been disgusted by the notion that Ben-Sholom subjectively believed he was acting under
13   substantial domination was not borne out by either former Tulare County Public Defender colleague Neil
14   Pereira or Strickland expert Phillip Cherney.
15                               b.   Failure to Provide Mental Health Experts with Social History
16                                    Information Necessary to Secure a Competent Psychological
17                                    Evaluation.
18            As noted, to the extent Mr. Alexander considered presenting mental health evidence, he wanted
19   “clean” opinions, that is, based only on psychological testing, specifically excluding clinical interviews.
20   Adherence to this “strategy” led Mr. Alexander to make a conscious decision to provide no documents
21   to most of his experts and only a few document to Dr. Glenn. At the evidentiary hearing, he testified
22   he didn’t want either of his two choices of mental heath experts, Dr. Geshuri and Dr. Rienzi, to have
23   background information that would lead to admission of bad information about Ben-Sholom. He also
24   testified that a clinical interview was not necessary for a psychologist to interpret test results.80 Ben-
25   Sholom points out that Mr. Alexander’s idea that any psychologist could offer evidence of empirical test
26   results without a clinical interview was totally wrong. The error was universally refuted by all the
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                He later conceded, however, that with respect to Dr. Rienzi, he didn’t know if she could have
28   testified at the trial without referring to her clinical interview of Ben-Sholom.

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 1   mental health experts who testified at the evidentiary hearing, Dr. Wynbrandt, Dr. Rienzi, Dr. Geshuri,
 2   and Dr. Richmond. Similarly, not giving his experts all relevant information, good and bad, totally
 3   defeated the purpose of a mental health examination. Mr. Pereira explained that Mr. Alexander’s failure
 4   to learn the true facts about Ben-Sholom’s background and his withholding information was contrary
 5   to the practice at the Tulare County Public Defender’s Office at the time of Ben-Sholom’s trial. Mr.
 6   Cherney also testified that to be effective, the experts needed to have an understanding of Ben-Sholom’s
 7   complete background, especially since, in his opinion, the damaging information about Ben-Sholom was
 8   mild when compared to the magnitude of the mitigating benefit. Ben-Sholom argues, for instance, that
 9   Mr. Alexander should have (but did not) provide Dr. Rienzi with his Kings View records and
10   information which would have corroborated his reports of severe emotional torment. Maintaining that
11   Mr. Alexander’s omissions rendered his representation constitutionally incompetent, Ben-Sholom relies
12   on Bean v. Calderon, 163 F.3d 1073, 1079 (1998), where trial counsel who retained mental health
13   experts but provided them with none of the necessary background information to establish a diagnosis
14   was found to have provided constitutionally inadequate representation at a penalty phase proceeding.
15   Although two experts actually testified at Bean’s penalty phase proceeding, neither had sufficient
16   information upon which to base reliable opinions. Id. Because Mr. Alexander failed to verify Ben-
17   Sholom’s background information, he did not (and could not) provide what he didn’t know to his
18   experts. Ben-Sholom labels this as a failure to develop a coherent strategy for presenting mitigation
19   evidence. This strategy left the jury without “the benefit of expert testimony to explain the ramifications
20   of [Ben-Sholom’s] experiences on [his] behavior” in circumstances where “lay people are unable to
21   make a reasoned judgment alone.” See Caro v. Calderon, 165 F.2d 1223, 1227 (9th Cir. 1999).
22            The Warden’s opposing view is that Mr. Alexander was an experienced defense attorney and his
23   strategy of a “clean” opinion was therefore informed as well as sound. In presenting such a “clean”
24   opinion, social history information would have been extraneous and counter-productive, especially given
25   Mr. Alexander’s drive not to be making excuses to the jury. The Warden maintains that withholding
26   damaging information from the experts had the added benefit of keeping it from the prosecutor, and
27   ultimately the jury. With respect to Dr. Rienzi, he suggests that it would have been especially damaging
28   if she had received copies of the other expert reports (presumably of Drs. Kleist and Geshuri). Next, the

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 1   Warden refutes the notion that there was an actual policy in the Tulare County Public Defender’s Office
 2   at the time of Ben-Sholom’s trial about turning over social history materials to mental health experts.
 3   Rather, the Warden characterizes Mr. Pereira’s testimony as describing his own personal practice.
 4   Citing McDowell v. Calderon, 107 F.3d 1351, 1361 (9th Cir. 1997), the Warden claims Mr. Alexander
 5   performed competently by not opening the door to damaging rebuttal. He further dismisses the expert
 6   opinion of Mr. Cherney as simply another lawyer utilizing a “retrospectoscope” of 20-20 hindsight in
 7   opining that Mr. Alexander’s performance was not competent. The Warden relies on Odle v. Calderon,
 8   919 F. Supp. 1367, 1386-87 (N.D. 1996), for this proposition.
 9            The Warden’s view that Mr. Alexander’s strategy was sound cannot be sustained. Even if there
10   was no formal policy in the Tulare County Public Defender’s Office to provide mental health experts
11   with social history material, Mr. Pereira’s testimony is clear that this was the practice in the office at the
12   time of Ben-Sholom’s trial. Separately, Mr. Alexander’s experience as a defense lawyer does not
13   engender confidence in his chosen mitigation case strategy since Ben-Sholom’s case was his first penalty
14   phase case. He was clearly wrong about the view that psychological testimony did not include a clinical
15   interview.
16            Next, contrary to the Warden’s suggestion, there is no indication that Dr. Rienzi ever would have
17   been provided the negative reports of Drs. Kleist or Geshuri had she testified at trial. Rather, the social
18   history material Ben-Sholom has described pertains to his actual background. It could have been
19   obtained from his mother, his grandmother, his teachers, his counselors, and from him. Eliminating the
20   negative reports of other experts from the equation leaves nothing of the Warden’s reliance on
21   McDowell, 107 F.3d 1351, for avoiding damaging rebuttal. Finally, the holding of district court in Odle,
22   919 F. Supp. 1367 (where the “retrospectoscope” language was mentioned), which discounted a federal
23   habeas claim that Odle had been incompetent to be tried in state court for capital murder, was reversed
24   on that very point. Odle v. Woodford, 238 F.3d 1085, 1088-89 (9th Cir. 2000). There is no persuasive
25   argument that Mr. Cherney’s expertise as a Strickland expert should be discounted. The problem with
26   Mr. Alexander’s approach was that since he provided his experts with no substantiated background
27   information, they could not be sure how much of what Ben-Sholom told them during clinical interviews
28   was embellished, exaggerated, or true. The resulting opinions were uninformed, incomplete, and

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 1   unfounded. Ben-Sholom’s reliance on Bean, 163 F.3d 1073, is not directly on point, but it is analogous.
 2   The lack of verifiable, true information about Ben-Sholom’s background disabled the experts from
 3   giving the assistance for which they had been retained. “[T]he collective failure to develop a penalty
 4   phase presentation can only be characterized as a deficiency in trial preparation, not a strategic decision.”
 5   Id. at 1079.
 6                               c.   Failure to Request Expert Opinions about Statutory Mitigating
 7                                    Factors.
 8            Ben-Sholom’s complaint that Mr. Alexander failed to obtain opinions from his consulting
 9   experts about statutory mitigating factors complements his primary argument that Mr. Alexander’s
10   investigation and preparation for the penalty phase trial was constitutionally deficient. He claims Mr.
11   Alexander’s failure to obtain usable opinions from his experts resulted in inadequate jury selection, both
12   in the juror questionnaire and voir dire, desultory, incoherent opening and closing statements at both
13   phases of the trial, and a penalty phase presentation that included no mental state evidence al all.
14            The Warden counters that Mr. Alexander did in fact solicit expert assistance to get an idea of
15   Ben-Sholom’s state of mind at the time of the crime and to explore possible mental defenses. Since so
16   much of the information contained in the reports was damaging Mr. Alexander’s decision not to use the
17   experts was reasonable.
18            Ben-Sholom’s complaint that Mr. Alexander failed to request specific opinions from his experts
19   about statutory mitigating factors adds very little to the analysis of his representational competence.
20   Since Mr. Alexander settled on a strategy not to provide his experts background information or to utilize
21   the statutory mitigating factors under § 190.3 subdivision (d) (extreme mental or emotional disturbance),
22   subdivision (g) (substantial domination), or subdivision (h) (impairment due to mental disease or defect),
23   it is not surprising that he didn’t seek opinions on these factors. The emphasis of Ben-Sholom’s
24   argument about Mr. Alexander’s failure to obtain expert opinions follows Mr. Cherney’s testimony that
25   no overarching “theme” or plan existed for explaining how and why an 18 year old boy would have
26   committed this crime. The Court agrees that Mr. Alexander’s trial preparation and his ill-conceived
27   strategy for limiting his case to Ben-Sholom’s youth, the absence of uncharged criminal activity, and the
28

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 1   absence of prior felonies was ineffective given the wealth of mitigating evidence about Ben-Sholom’s
 2   compromised mental state, depression, and susceptibility to fantasy.
 3                               d.   Failure to Present Non-Expert Testimony Supporting Possible
 4                                    Statutory Mitigating Factors.
 5            Another consequence of the strategy which Mr. Alexander chose was that he didn’t elicit
 6   evidence from Ben-Sholom’s mother in a sufficiently detailed manner and he didn’t call other witnesses
 7   who he claims were available to humanize Ben-Sholom, in particular, Anthony Casillas, Rabbi Barbara
 8   Goldman-Wartell, and Debbie Marrujo Sloss. Citing Karis v. Calderon, 283 F.3d 1117, 1135 (9th Cir.
 9   2002), Ben-Sholom claims Mr. Alexander didn’t even present humanizing mitigation evidence that was
10   available, and that as a result, the penalty proceedings were extremely truncated.
11            As noted in the summary of the penalty phase testimony, Ms. Marshall testified about her
12   unhappy marriage to Ben-Sholom’s father as well as the physical abuse to which both she and Ben-
13   Sholom were subjected. She was aware of Ben-Sholom’s depression following his discharge from the
14   Army and heard him talk about wanting to become a mercenary, possibly to rescue MIAs, but didn’t pay
15   much attention to it because she didn’t find it realistic. See Part IV.3.f.(1), supra. The Court notes that
16   Ben-Sholom’s grandmother also give a vivid account of the severe abuse Mr. Marshall inflicted on Ben-
17   Sholom. See Part IV.3.f.(2), supra. The Court considers testimony from Mr. Casillas in a different light.
18   He was not a lay witness, but a treating mental health professional with relevant information concerning
19   Ben-Sholom’s troubled background. The offer of what Rabbi Goldman-Wartell and Ms. Sloss would
20   have testified about is provided in their declarations to the EHT and discussed in the course of Mr.
21   Park’s rebuttal testimony, See Part IV.A.6.b., supra. Both offers describe sincerity, genuineness, and
22   lack of future dangerousness that would have been relevant to penalty proceedings.
23            The Warden points to the fact that Mr. Alexander called five lay witnesses, other than Ben-
24   Sholom himself, including Ben-Sholom’s mother, Phyllis Marshall, his grandmother, Faye Muldworf,
25   a religious leader from the Jehovah’s Witnesses, Isaac Hull, the mother of one of Ben-Sholom’s friends,
26   Judy Mayora, and his Sea Scout leader, Henry Bethany. The Warden defends Mr. Alexander’s decision
27   not to expand Ms. Marshall’s opportunity to testify since her credibility was questionable. He asserts
28   that if Mr. Casillas had been called to testify, damaging rebuttal based on the Kings View records would

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 1   have been elicited on cross examination, including reports of Ben-Sholom’s obstinacy and disobedience
 2   to this mother, his physical violence toward his mother, his threats to kill her and his father, and his
 3   diagnosis of ASPD. In any event, the Warden notes that testimony elicited from Mr. Casillas at the
 4   evidentiary hearing revealed his ignorance about Ben-Sholom’s abuse. As to Rabbi Goldman-Wartell
 5   and Ms. Sloss, the Warden argues there is no indication anyone told Mr. Alexander about these
 6   witnesses. In response to this point, Ben-Sholom replies, this “is precisely why investigation is
 7   necessary,” and that in any event Mr. Alexander must have obtained orders permitting Rabbi Goldman-
 8   Wartell to visit Ben-Sholom at the County jail.
 9            The Court already has determined Mr. Alexander was ineffective for not presenting favorable
10   professional testimony, like that of Mr. Casillas, even though such testimony could have triggered
11   reference to the negative aspects of Ben-Sholom’s character. Ben-Sholom does not contend that all of
12   his mental processes and thoughts were mitigating. In particular, his hatred and death wishes for his
13   father were alarming to Mr. Casillas. The problem is that Mr. Alexander never put the negative aspects
14   of Ben-Sholom’s character into the context of his impaired psychological state at the time of the crime.
15   In any event, it is unlikely the content in the Kings View records to which the Warden refers would have
16   been as damaging as the Warden maintains. In the first place, while their were anti-social behaviors
17   described by Ben-Sholom’s mother when she met with Mr. Casillas, Mr. Casillas never concluded that
18   Ben-Sholom had ASPD. The Warden’s contention to the contrary is a misstatement. Rather, the records
19   show that even the day after Ms. Marshall consulted Mr. Casillas about Ben-Sholom’s obstinacy and her
20   concern that he might become physically violent with her, Mr. Casillas described Ben-Sholom’s mental
21   state sympathetically, reporting that Ben-Sholom was “in a lot of pain and agony,” in need of individual
22   therapy. In a later admission to Kings View, by another therapist, Ms. Marshall sought treatment for
23   Ben-Sholom because he wanted his father dead and lashed out at her, threatening her with a kitchen
24   knife because he didn’t want her to stop him from killing his father. But even this therapist was
25   impressed not with the notion that Ben-Sholom might actually harm either of his parents, but rather that
26   Ben-Sholom was an angry adolescent (15 years old at the time) who was afraid of his father. There was
27   never any substantiation that Ben-Sholom was physically violent toward his mother, only that his mother
28   was concerned about the potential for physical violence. The Court agrees that Mr. Alexander’s strategy,

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 1   which kept him from consulting with and benefiting from Mr. Casillas’s store of information, was ill-
 2   advised.
 3            In contrast, while the penalty phase testimony of Phyllis Marshall and her mother, Faye
 4   Muldworf about the abuse perpetrated on Ben-Sholom by Mr. Marshall was perfectly appropriate, and
 5   clearly mitigating, the problem was not the absence of additional sympathetic lay testimony, but the
 6   testimony of a mental health expert to connect the abuse to Ben-Sholom’s psychological condition and
 7   his participation in the crime which he perceived as a “mission.” Unquestionably, the retrospectively
 8   proffered testimony of Rabbi Goldman-Wartell and Ms. Sloss would have been humanizing. Mr.
 9   Alexander’s representational ineffectiveness, however, did not hinge on his failure to find and present
10   more lay witnesses. Excluding Mr. Casillas from the class of lay witnesses, the Court declines to fault
11   Mr. Alexander’s performance because he failed to develop and present additional lay witness testimony.
12                               e.   Failure to Present Expert Testimony to Explain Mitigating Factors
13                                    and Concepts to the Jury.
14            Ben-Sholom argues that by not presenting expert mental health testimony, Mr. Alexander’s
15   efforts to humanize Ben-Sholom were foiled when the data and witnesses that would have helped the
16   jury understand him were withheld. Citing Beardslee v. Woodford, 358 F.3d 560, 583 (9th Cir. 2004),
17   Ben-Sholom attributes this error to Mr. Alexander’s failure “to understand basic psychiatric diagnoses”
18   and the concomitant failure “to make simple tactical decisions about effective defenses.” Because of
19   Mr. Alexander’s omissions in developing a mitigation case, he harbored an “irrational” fear of Dr.
20   Richmond’s potential rebuttal testimony. His fear was irrational, Ben-Sholom maintains, because much
21   of the content of Dr. Richmond’s impressions from his initial January 28, 1985 evaluation of Ben-
22   Sholom, his January 1, 2003 report for the Warden (Exhibit F to the EHT), and his evidentiary hearing
23   testimony, was favorable to a mitigation case. Ben-Sholom points out that Dr. Geshuri’s evidentiary
24   testimony also provided substantial support for a mitigation case.
25            The Warden counters Mr. Alexander did understand the pitfalls of introducing evidence that
26   would demonstrate Ben-Sholom’s diagnosis of ASPD, which he argues was reached by Drs. Kleist,
27   Glenn, and Geshuri. He claims Ben-Sholom’s argument about psychiatric diagnoses misses the point
28   in any event because Mr. Alexander’s strategy was to present “a uniformly mitigating penalty phase”

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 1   case in which he would only present mitigating factors to the jury, that is, the absence of uncharged
 2   violent criminal activity under § 190.3 factor (b), the absence of prior felony convictions under factor
 3   (c), Ben-Sholom youthful age under factor (i), and other sympathetic, humanizing evidence under the
 4   catchall factor (k). The Warden discounts the fact that Ben-Sholom gleaned some positives from the
 5   testimony of Drs. Richmond and Geshuri, because overall, the reports of these doctors “remain more
 6   harmful than helpful to Ben-Sholom.” Included in Dr. Richmond’s report was a description of Ben-
 7   Sholom’s obsession with warfare, killing, and weapons, his cruelty to animals, his tantrums, lying,
 8   obstinacy, and disobedience, his threats to kill both parents while brandishing a knife at his mother, the
 9   burglary of his mother’s home, his fighting, his equal role in planning and participating in the current
10   offense, and denial of any coercion in his participation. The Warden points out that Dr. Richmond’s
11   evidentiary testimony did not change the impressions in the report. He felt Ben-Sholom’s crying while
12   in counseling was not inconsistent with ASPD, but was manipulative. Nor did he find Ben-Sholom’s
13   friendship with Judy Mayora or his having pen-pals from prison inconsistent with ASPD. Finally, Dr.
14   Richmond totally discounted the notion that the crime was caused by PTSD (even though he conceded
15   Ben-Sholom may have suffered from PTSD) and found Ben-Sholom’s expressions of remorse to be
16   insincere.
17            The additional element to Ben-Sholom’s ineffective assistance of counsel claim introduced by
18   the present argument pertains to Mr. Alexander’s lack of understanding of the opinions and conclusions
19   of Dr. Richmond. It is not clear from Mr. Alexander’s testimony whether his fear of Dr. Richmond’s
20   potential rebuttal shaped his ultimate strategy of omitting significant, but disturbing social history
21   background, or if his decision to adhere to a “uniformly mitigating” or “clean” penalty phase led him
22   to discount or ignore the mental state mitigation evidence, including from Dr. Richmond. What is clear
23   is that Mr. Alexander undertook no meaningful effort to correct exaggerated descriptions of Ben-
24   Sholom’s self-assessment, including his infliction of a head injury to another child at an elementary
25   school playground and his training by paramilitary groups about jungle fighting and “silent kills.” Nor
26   did Mr. Alexander attempt to develop the implausibility of Ben-Sholom’s perceived “mission” of
27   obtaining weapons from the Teague residence so he and his companions could join the Karen Liberation
28   Army, with an interim assurance that they would be accepted in El Salvador to fight the Sandinistas.

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 1   The mitigating evidence apparent from Dr. Richmond’s initial January 28, 1985 evaluation of Ben-
 2   Sholom included the report of severe and sadistic abuse inflicted by his father, sadness, regret, and
 3   remorse for killing Mrs. Teague (not just for foiling his plans to go to Burma), reports of past incidents
 4   where he hurt himself as a child, recent accounts of intentionally overdosing on Inderal, jumping off the
 5   Sequoia Mall, and playing “chicken” with diesel trucks on the highway, the fact that he had
 6   hypertension severe enough to warrant a prescription of Inderal, his depression 95%of the time, and his
 7   reported feeling of detachment from reality. All of this information, together with the very angry and
 8   deeply troubled portrait Ben-Sholom presented to Dr. Kleist gave Mr. Alexander ample notice that Ben-
 9   Sholom’s mental state included elements of rage, acting out, and retreat to fantasy world. Ben-Sholom’s
10   character did not lend itself to “a uniformly mitigating” or “clean” penalty phase because there was
11   clearly anti-social behavior in his past. But, as Mr. Cherney testified, the cause for that behavior,
12   including the merciless abuse inflicted by his father, the sense of abandonment by his mother, the
13   depression over losing his life-long dream of being in the Army, and his lack of identity, were mitigating
14   and could have been developed to explain why and how Ben-Sholom became involved in the unrealistic,
15   military mission that tragically ended Mrs. Teague’s life. Mr. Alexander’s failure to expose the
16   foundation for Dr. Richmond’s potential testimony was constitutionally ineffective.
17            Moreover, during the pre-penalty phase discussions (after the guilt verdict was rendered), Mr.
18   Alexander did meet with the trial judge and the prosecutor Mr. Walton to discuss limitations on potential
19   rebuttal testimony of Dr. Richmond. He specifically requested that Dr. Richmond be precluded from
20   testifying about Ben-Sholom’s account of injuring the child at the playground, about Ben-Sholom’s
21   burglary of his mother’s house, information about Ben-Sholom’s drug use, anything about Ben-Sholom’s
22   paramilitary training, and statements that he wanted his father dead. See Part IV.A.3.d., supra. In open
23   court, Mr. Walton agreed that in the event he called Dr. Richmond to testify, he would avoid these areas.
24   Mr. Walton further represented that if he did call Dr. Richmond to testify, he would “indicate” to Mr.
25   Alexander the areas of his proposed testimony.81 This commitment on the record undermines Mr.
26
27            81
              Mr. Cherney criticized Mr. Alexander for not moving in limine before jury selection to limit
     Dr. Richmond’s anticipated testimony. Mr. Alexander’s failure to have done so is not significant given
28   Mr. Walton’s representation in open court.

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 1   Alexander’s testimony during the evidentiary hearing that he didn’t know what Dr. Richmond would
 2   say if called as a witness and that in his experience Mr. Walton was prone to change positions. Mr.
 3   Cherney’s opinion that Mr. Alexander’s fear of Dr. Richmond’s potential rebuttal was irrational is well-
 4   taken.
 5            Mr. Alexander’s reliance on factor (b), the absence of uncharged violent criminal activity and
 6   factor (c), the absence of prior felony convictions does not redeem his representational competence.
 7   First, there was no evidentiary basis supporting either of these factors. Mr. Alexander could have, but
 8   did not, ask for a stipulation that Ben-Sholom committed no prior acts of violence and had no prior
 9   convictions, as he did to explain the medications Ben-Sholom prescribed for him at the Tulare County
10   Jail. Second, and most significantly, sentencing factor (b) was not appropriate for Ben-Sholom, as he
11   did have prior threats of violence and anti-social behaviors in his background. Because of the cruel,
12   tyrannical paternal abuse Ben-Sholom endured, he hated his father and hoped for release from the
13   sadistic treatment by death, either his father’s or his own. The portrait of Ben-Sholom Mr. Alexander
14   tried to present to the jury did not capture Ben-Sholom’s character haunted by his tumultuous past.
15                               f.   Failure to Request Jury Instructions on Statutory Mitigating
16                                    Factors.
17            Relying on United States v. Span, 75 F.3d 1383 (9th Cir. 1996), Ben-Sholom argues that Mr.
18   Alexander was constitutionally ineffective for his failure to request proper jury instructions, specifically
19   under factors (d) (extreme mental or emotional disturbance), (g) (substantial domination), and (h)
20   (impairment due to mental disease or defect). He claims that Mr. Alexander’s failure to present lay and
21   expert testimony about Ben-Sholom’s background and psychology was exacerbated by this failure to
22   request instructions that would have allowed the jury to apply concepts of mitigation to the evidence
23   supporting it.
24            The Warden argues that Mr. Alexander’s failure to request instructions on the factor (d), (g), and
25   (h) sentencing circumstances cannot be considered incompetent representation because his choice of
26   instructions was consistent with his penalty phase strategy of diverting the jurors’ attention away from
27   Ben-Sholom’s state of mind during and the circumstances of the crime. He mentions that Mr.
28   Alexander’s strategy in this regard was informed by his concern the jurors would have laughed at or been

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 1   disgusted by any attempts to argue Ben-Sholom was substantially dominated by others and that the jurors
 2   might have viewed the substantial domination theory as aggravating because Ben-Sholom entered the
 3   Teague residence first and was the actual shooter. Finally, the Warden argues all of the mitigation which
 4   Mr. Alexander did present was considered under the catchall factor (k) instruction.
 5            In Span, the court reversed the defendants’ convictions for assaulting a federal officer because
 6   their attorney failed to offer proper self-defense instructions due to inadvertence and his
 7   misunderstanding of the law. 75 F.3d at 1385, 1389-90. In contrast, here, as the Warden points out, Mr.
 8   Alexander purposefully omitted expert testimony to substantiate Ben-Sholom’s vulnerable mental state
 9   and he purposefully chose only jury instructions which were consistent with his vision of “a uniformly
10   mitigating penalty phase.” As discussed above, however, Mr. Alexander’s strategy of not conducting
11   a complete investigation into mental state mitigation and concomitantly withholding relevant expert
12   testimony was not reasonable. See Part IV.B.1.a., supra. Despite the fact that Mr. Alexander had in
13   mind, from the onset, that there was something wrong with Ben-Sholom mentally, he gave up trying to
14   develop mental mitigating evidence because there were some anti-social behaviors mixed in with the
15   sympathetic evidence. The problem with Mr. Alexander’s representation was not in failing to request
16   the factor (d), (g), and (h) instructions. None of them were well supported by the superficial evidence
17   he presented. The problem was in not developing a mitigation case. Mr. Alexander’s fear the jurors
18   would have laughed at or been disgusted by the notion of substantial domination, in particular, is not
19   compelling given his lack of experience in trying penalty phase cases. Mr. Pereira’s testimony and Mr.
20   Cherney’s testimony both confirm this. “An uninformed strategy is not a reasonable strategy.” Correll
21   v. Ryan, ___ F.3d ___, ___ , 2008 WL 2039074, *20 (May 14, 2008); see also, Reynoso v. Giurbino,
22   462 F.3d 1108, 1112 (9th Cir. 2006) (a strategic decision predicated on inadequate investigation is not
23   a reasonable strategy); Silva, 279 F.3d at 246 (counsel’s performance “is not immunized from Sixth
24   Amendment challenges simply by attaching to it the label of ‘trial strategy,’ . . . certain defense strategies
25   may be so ill chosen that they may render counsel’s overall representation constitutionally defective”);
26   Sanders v. Ratelle, 21 F.3d 1446, 1456 (9th Cir. 1994) (defense counsel’s tactical decisions are only
27   appropriate where counsel has conducted “a reasonable investigation enabling him to make informed
28   decisions about how best to represent his client”).

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 1                               g.   Failure to Present a Cogent Penalty Phase Summation.
 2            Ben-Sholom maintains that Mr. Alexander’s penalty summation was constitutionally deficient
 3   because it was too short and did not advocate forcefully for sympathy. Yet, the standard for death
 4   penalty cases was in place even before Ben-Sholom’s 1986 trial. As pointed out by Mr. Cherney, in the
 5   Summer/ Fall of 1985, the California Defender published an article entitled “Building a Penalty Phase
 6   Argument,” which among other things provided summation examples for arguing the concepts of pity,
 7   sympathy, and mercy. See Exhibit 10 to EHT at page 3. Mr. Alexander’s summation did not conform
 8   to this norm and did nothing to inspire the jury to vote for a life verdict. Mr. Cherney further criticized
 9   Mr. Alexander for not raising the issue of Ben-Sholom’s remorse for the crime, contrasting the trial
10   judge’s finding on the (adverse) judgment modification ruling that Ben-Sholom’s remorse was a factor
11   in mitigation. Separately Mr. Cherney criticized Mr. Alexander for not arguing Ben-Sholom’s Inderal
12   use and hypertension were mitigating factors during his summation.82 Echoing the opinion of Mr.
13   Cherney, Ben-Sholom argues Mr. Alexander’s summation was “pathetic.”
14            The Warden disputes the value of Mr. Cherney’s assessment of Mr. Alexander’s summation,
15   contending that Strickland requires much more than picking out ways, decades later, that counsel might
16   have done a better job. He then cites to Pizzuto v. Arave, 280 F.3d 949, 968 (9th Cir. 2002), for the
17   proposition that brevity of a closing argument does not support a finding of ineffective counsel. The
18   Warden points out that although Mr. Alexander began his argument by mentioning sympathy, knowing
19   his jurors he explained he wasn’t merely asking for sympathy, but urged them to follow the law as well.
20   The Warden contends this approach was consistent with Mr. Alexander’s strategy of presenting a
21   “uniformly mitigating” penalty phase.
22            He characterizes Ben-Sholom’s argument that the summation should have been longer and more
23   forceful, as non-cognizable under Strickland.       Citing to Strickland, he emphasizes the “highly
24   deferential” review to be accorded to trial counsel’s decisions and exhorts this Court to “indulge a strong
25
26
27            82
              Mr. Alexander mentioned that Ben-Sholom had hypertension and took Inderal in his penalty
     opening, and Ms. Marshall reiterated this information during her penalty phase testimony, but Mr.
28   Alexander did not mention it on summation.

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 1   presumption” that Mr. Alexander’s conduct fell “within the wide range of reasonable professional
 2   assistance.” See Strickland, 466 U.S. at 689.
 3            The Court’s review of the opinions provided by the mental health experts, both pre-trial and in
 4   these federal habeas proceedings leads to the inevitable conclusion that Mr. Alexander did have, as Mr.
 5   Cherney testified, a strong case in mitigation based on Ben-Sholom’s tortured youth and resulting
 6   psychological problems, including PTSD, borderline personality disorder, identity fragmentation, major
 7   depression, and a good measure of unresolved anger, plus hypertension and remorse. In addition, the
 8   Court accepts Mr. Cherney’s opinion as a Strickland expert, knowledgeable about the standard of
 9   professional performance at the time Mr. Alexander tried Ben-Sholom’s case. According to Mr.
10   Cherney, the entire trial presentation was confused and at cross purposes. He opined that since Mr.
11   Alexander viewed a penalty phase a certainty, the guilt phase opening statement should have raised
12   penalty phase mitigation concepts, including Ben-Sholom’s submission to following orders. While Mr.
13   Alexander did explain the idea that Ben-Sholom and his companions perceived the entire crime as a
14   military mission with the ultimate purpose of going to Burma, he didn’t argue that the mission was
15   fantasy, but instead told the jurors they would have to determine for themselves whether the military
16   purpose of the crime was reality or fantasy. The importance of Ben-Sholom’s unrealistic view of the
17   military mission was further negated during the guilt phase summation, when Mr. Alexander told the
18   jurors there was no evidence Ben-Sholom was so entrenched in a military mission so as not to know
19   what he was doing. Mr. Cherney viewed the penalty phase opening statement inadequate for the lack
20   of explanation. First, Mr. Alexander referenced Ben-Sholom’s hypertension and Inderal use, but failed
21   to explain how those facts were mitigating and failed to mention these subjects again on summation.
22   He failed to mention that Ben-Sholom was dressed up in military clothing as part of the fantasy aspect
23   of the military mission (during the crime). He also failed to mention Ben-Sholom’s mental or emotional
24   state at the time of the crime, although he called Ben-Sholom’s mother and grandmother to show that
25   Ben-Sholom had been subjected to abuse.83 Mr. Cherney further opined that the testimony of Sea Scout
26
              83
             Mr. Cherney opined that Judy Mayora was called to show that Ben-Sholom was just a regular
27   kid. The Court does not read Ms. Mayora’s testimony that simplistically, although clearly Mr.
     Alexander could have expanded on her testimony that she believed, in hindsight, Ben-Sholom had been
28   abused.

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 1   leader Henry Bethany did nothing to explain the crime. Eliciting Ben-Sholom’s testimony was equally
 2   fruitless. While Ben-Sholom discussed his ankle injury, he didn’t mention that he sustained this injury
 3   on one of the occasions he ran away from home, and he didn’t mention that his medical discharge from
 4   the Army, resulting from this ankle injury, triggered a major depression. Mr. Cherney found that Ben-
 5   Sholom’s testimony about reading science fiction and horror books was very damaging to the mitigation
 6   case, as these types of books can be associated with future dangerousness. On the other hand, Ben-
 7   Sholom’s testimony raised the issue of his remorse and substantial domination (following the order to
 8   kill Mrs. Teague “explicitly”), but Mr. Alexander mentioned neither subject during his statements to the
 9   jury. The summation, as Ben-Sholom argues, was truncated and devoid of the weighty mitigation issues
10   which could have been developed. Although Mr. Alexander’s choice of arguments presented to the jury,
11   like his choice of instructions, was informed by his strategy of a “uniformly mitigating” or “clean”
12   penalty phase, the omissions of his penalty phase development and presentation cannot be upheld as
13   competent, even under the Court’s deferential assessment required under Strickland. The Court finds
14   that Mr. Alexander’s penalty phase performance was constitutionally ineffective.
15                     2.        Prejudice.
16            Quoting Wiggins, 539 U.S. 510, Ben-Sholom argues that the mitigating evidence Mr. Alexander
17   failed to discover and present was powerful since he (Ben-Sholom) had “the kind of troubled history”
18   the Supreme Court has “declared relevant to assessing a defendant’s moral culpability. Id. at 534, 535.
19   Relying on Douglas, 315 F.3d at 1090, he argues the applicable test for penalty phase relief in the Ninth
20   Circuit is whether the additional evidence, when considered in conjunction with the evidence presented,
21   “could have invoked sympathy from at least one member of the [penalty phase] jury.” Ben-Sholom
22   draws an analogy between his case and Ainsworth v. Woodford, 268 F.3d 868 (9th Cir. 2001), because
23   in that case, as here, counsel failed to develop and present available evidence about the defendant’s
24   “troubled background and his emotional [in]stability and what led to the development of the person who
25   committed the crime. . . . The jury was not given the opportunity to consider the disadvantaged
26   background and the emotional and mental problems of the defendant in order to provide the
27   individualized sentence required by the Constitution.” Id. at 878. He points to a wealth of mitigating
28   evidence readily available exposing his abusive background and compromised mental condition which

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 1   Mr. Alexander could have presented at the penalty phase. He maintains the evidence was directly
 2   relevant to designated mitigating factors under § 190.3, including factor (d), extreme mental or
 3   emotional disturbance, factor (g), substantial domination of another, and factor (h), mental disease or
 4   defect. Even if the jury determined the evidence was not strong enough to meet the specific criteria of
 5   these specific factors, the evidence should have been presented under the catchall factor (k).
 6            The testimony of Mr. Casillas together with the Kings View records demonstrated that Ben-
 7   Sholom benefitted from counseling and repeatedly sought help at Kings View. Ms. Marshall explained
 8   that Ben-Sholom was abused as toddler during the critically important time of toilet training, he was
 9   subject to his father’s sadistic abuse from the time he seven and a half to 17 years old, and his father
10   manually choked him when he was 17. He changed schools 13 times between elementary and high
11   school.84 He had a history of nightmares, depression, and preoccupation with suicide. He suffered from
12   extreme emotional and mental disturbances at the time of the crime, including PTSD, borderline
13   personality disorder, identity fragmentation, and major depression. He developed hypertension at 18
14   years old and received a prescription of Inderal, which can exacerbate depression. He was humiliated
15   and demeaned by his anti-Semitic father because he was Jewish.85
16            The Warden minimizes the mitigating nature of this mental state evidence because it presents
17   only one side of the coin and would have opened the door to damaging evidence contained in the reports
18   of Drs. Kleist, Glenn, and Geshuri, as well as the Kings View records and Dr. Richmond’ potential
19   rebuttal testimony. Again, the Warden points to Ben-Sholom’s ASPD, his obsessions with military life,
20   violence, weapons and killing, his threats to kill both his parents while armed with a knife, his violence
21   towards animals and other people, his obstinacy and disrespect for this mother, his aggressive and
22   sadistic behaviors, his suspected malingering, and his manipulation of the experts. Moreover if evidence
23
24            84
             Dr. Wynbrandt’s case-in-chief testimony reported there were 11 school changes. The fact of
     13 school changes was acknowledged by the Warden’s experts, Drs. Geshuri and Richmond. Dr.
25   Wynbrandt also referred to 13 school changes in his rebuttal testimony.
26            85
               Ben-Sholom also points to the additional lay testimony from Rabbit Barbara Goldman-Wartell
     and Debbie Marrujo Sloss as having had additional capacity to humanize him. In light of the Court’s
27   decision not to fault Mr. Alexander’s representational performance because he failed to develop and
     present lay additional lay witness testimony, the Court will not analyze Ben-Sholom’s assertion of
28   prejudice relative to these two witnesses.

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 1   of Ben-Sholom’s social history had been presented, the factor (b) mitigation sentencing factor (absence
 2   of uncharged violent criminal conduct) would have been nullified.
 3            The Warden further claims that the mental expert evidence presented by Ben-Sholom was neither
 4   persuasive nor credible. Dr. Rienzi was merely a novice at the time of Ben-Sholom’s trial, having been
 5   certified within the preceding year. She claimed that she suspected PTSD at the time of her initial
 6   interview in November of 1985, with 60% certainty, and likewise that there was a 60% probability Ben-
 7   Sholom was acting under the substantial domination of others when he committed the crime. Following
 8   her review of records supplied by Ben-Sholom’s counsel in 1997, she was 90% confident of the PTSD
 9   diagnosis and more than 60% certain he acted under the substantial domination of others. The Warden
10   discounts her statement about PTSD because development of this theory was in its infancy in 1985,
11   limited to defendants who had experienced combat trauma. He argues the difference in her impression
12   about substantial domination between 1985 and 1997 is negligible.
13            In the Warden’s estimation, Dr. Wynbrandt’s testimony would have been equally unhelpful at
14   the time of Ben-Sholom’s trial. First, as of 1985, he had never before testified in a criminal case.
15   Second, his examination of Ben-Sholom in 1995 was too remote for him to have gained an accurate
16   insight into Ben-Sholom’s mental state at the time he shot Mrs. Teague. Third, when he evaluated Ben-
17   Sholom, he omitted consideration of the circumstances surrounding the crime. In contrast, Drs. Kleist,
18   Geshuri, and Richmond, who examined Ben-Sholom relatively contemporaneous with the crime, found
19   that Ben-Sholom had ASPD.86 Referring to the opinions of Drs. Richmond, Geshuri, and Kleist, the
20   Warden points out that all the doctors except for Rienzi and Wynbrandt noted that the murder of Mrs.
21   Teague was an operation equally planned and executed by Ben-Sholom as well as his co-perpetrators.87
22   The Warden then excerpts evidentiary hearing testimony from Drs. Wynbrandt and Richmond and
23   concludes that Dr. Richmond’s testimony was straight forward and supported by proven facts while Dr.
24   Wynbrandt’s was not the type which would have won confidence with Ben-Sholom jury. The Warden
25
              86
              The Warden also included Dr. Glenn opinion in this group. The Warden is mistaken. Dr.
26   Glenn did not report or opine that Ben-Sholom had ASPD.
27            87
               The Warden includes Dr. Glenn in this group, but, Dr. Glenn did not render such an opinion.
     To substantiate the claim that Ben-Sholom was not substantially dominated by others, the Warden cites
28   the opinions of Drs. Richmond, Geshuri, and Kleist, but not Glenn.

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 1   states that Dr. Wynbrandt’s testimony was probably exactly what Mr. Alexander had in mind when he
 2   expressed concern about engendering derision or disgust among the jurors. In the Warden’s view,
 3   everything Dr. Wynbrandt said was designed to show that Ben-Sholom was not fully responsible for his
 4   actions. The Warden’s final argument is that the omission of mental state evidence was not prejudicial
 5   because presenting this type of evidence would have focused the jury’s attention on the circumstances
 6   of the crime, the only aggravating factor in the penalty case. This argument reiterates the Warden’s
 7   previous point about Mr. Alexander’s professional competence, that deflecting the jury’s focus from the
 8   circumstances of the crime was a reasonable strategy.
 9            The Court has reviewed the testimony of all the experts and does not agree that Dr. Rienzi’s
10   testimony and Dr. Wynbrandt’s testimony were or would have been unpersuasive. Even though Dr.
11   Rienzi had only been recently certified as a psychologist at the time she could have testified at Ben-
12   Sholom’s trial, she was still well-educated and qualified. Her contemporaneous report as well as her
13   testimony were sympathetic and she presented herself knowledgeable about relevant mental health
14   issues. Although Dr. Wynbrandt may not have been available to testify at Ben-Sholom’s trial, Ben-
15   Sholom’s point on federal habeas is that Mr. Alexander could have and should have retained a similarly
16   qualified expert. As to the contrasting styles of testimony between Dr. Wynbrandt and Dr. Richmond,
17   the Court does not share the Warden’s scorn for Dr. Wynbrandt. Dr. Richmond was asked whether one
18   of Ben-Sholom’s statements caused him concern that he (Ben-Sholom) was dissociating. Dr. Richmond
19   answered, clearly, no, because what was really happening was that Ben-Sholom’s “training took over”
20   during the crime. When Dr. Wynbrandt responded to a question about his impression that Ben-Sholom
21   had PTSD in addition to depression, he referred to the DSM-III. From Dr. Wynbrandt’s explanation of
22   DSM diagnoses, the Warden concluded he was “not the type of witness which would win confidence
23   with [Ben-Sholom’s] jury.” No explanation for this conclusion is offered. The Court finds both Dr.
24   Richmond and Dr. Wynbrandt to be knowledgeable, qualified, well-spoken experts, although, as noted
25   below, Dr. Richmond’s conclusions were in part based on inaccurate foundations.
26            The Court agrees that Mr. Casillas’s testimony was mitigating, given the circumstances of the
27   crime and Ben-Sholom’s abusive background. As a young teenager, Ben-Sholom tried to hide behind
28   his extreme anger at his father, aloofness for others, sun glasses, a cowboy outfit, and his middle name

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 1   because his existence as Ryan Marshall was so painful.88 Yet young Ben-Sholom responded well to
 2   therapy, revealing his hurt and consistent efforts to escape an untenable home life (by running away) and
 3   seeking help from therapists at Kings View. Although Ben-Sholom’s intense hatred of his father was
 4   alarming, when he expressed these sentiments in therapy, Mr. Casillas did not know about the severe
 5   paternal physical abuse. Even without that knowledge, and given a report by Ms. Marshall of her fear
 6   Ben-Sholom might become violent with her, Mr. Casillas viewed Ben-Sholom sympathetically in his
 7   reports. Mr. Casillas impression that Ben-Sholom’s subjection to physical abuse was concealed from
 8   him additionally demonstrates the stress Ben-Sholom must have endured – to seek therapy but
 9   concealing a major factor in the need for therapy. The Warden’s consistent reliance on the Kings View
10   record entry that Ms. Marshall reported Ben-Sholom threatened her with a kitchen knife after revealing
11   that he wanted to kill his father and would kill her too if she got in the way is not availing. First, the
12   therapist, an intern at Kings View, who took that report was not called as a witness. Second, the intern’s
13   report betrayed no concern that Ben-Sholom was doing anything other than venting (although the subject
14   matter of his venting was serious) and that, in fact, Ben-Sholom was afraid of his father. He also told
15   this intern that he had considered suicide to gain release from the tyranny of his father.
16            Next, while Ms. Marshall’s testimony about the traumatic four months during which she and
17   Ben-Sholom lived with Mr. Marshall in Louisiana when he (Ben-Sholom) was 17 to 21 months old aids
18   in giving a complete picture of Ben-Sholom’s formative years, it does not stand out as independently
19   and overwhelmingly mitigating to the crime. In reaching this conclusion, the Court has considered the
20   expert testimony of Drs. Rienzi, Geshuri, Wynbrandt, and Richmond that the toilet training period of
21   a person’s life, which roughly corresponds with the developmental period of separation and
22   individuation, is a critical period. The Court further accepts the conclusion of Dr. Rienzi that because
23   of the abuse Ben-Sholom suffered during his toddlerhood, he did not develop a sense of self, the
24   concession by Dr. Geshuri that punishment during the period of toilet training could create damage for
25
26
27
              88
              His later, post-conviction decision to legally change his name from Ryan Michael Marshall
28   to Chay’im Ben-Sholom further suggests his desire to be someone other than himself.

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 1   life if not corrected,89 the impression of Dr. Wynbrandt that Mr. Marshall’s abuse of his son during this
 2   period produced borderline personality disorder, and the admission by Dr. Richmond that Mr. Marshall’s
 3   taking a bottle out of Ben-Sholom’s mouth during this period could have contributed to Ben-Sholom’s
 4   insecurity and distrust.
 5            The brutal whims Mr. Marshall inflicted on Ben-Sholom when he was seven and a half until he
 6   was 17, however, is quite compelling. While Mr. Alexander did elicit some of this information from Ms.
 7   Marshall and Mrs. Muldworf at the penalty phase trial, the depth and breadth of the evidence paled in
 8   comparison with the understanding the mental health experts added. As Mr. Cherney testified, the
 9   penalty case Mr. Alexander presented never explained the context of the abuse Ms. Marshall described.
10   Another aspect of Ben-Sholom that was poorly developed was his hypertension and Inderal prescription.
11   Although there was a stipulation that Ben-Sholom received Inderal during his detention in the Tulare
12   County Jail and Ms. Marshall testified that he had a prescription for Inderal since July 1984 for his high
13   blood pressure, there was no testimony about how unusual it was for an 18 year boy to suffer from such
14   severe hypertension so as to require anti-hypertensive medication. Nor did Mr. Alexander argue Ben-
15   Sholom’s hypertension was mitigating under the catchall factor (k). Since Ben-Sholom’s hypertension
16   was glossed over and no experts testified, there was certainly no evidence presented that a known side-
17   effect of Inderal was depression in some patients. Besides his abuse and hypertension, there were
18   several indications Ben-Sholom contemplated suicide from his elementary school days up to four months
19   preceding the crime. He reported that he harbored suicidal thoughts as young as nine or ten and actually
20   cut his wrist (perhaps accidentally) contemporaneous with these thoughts. In July 1981, when he was
21   15, he reported to a therapist that he had considered suicide to secure release from his father’s abuse.
22   After his discharge from the Army, he jumped from the Sequoia Mall, played “chicken” with diesels on
23   the freeway, and overdosed on his prescription of Inderal. The jury knew none of this information.
24
25
26            89
                Since Ms. Marshall left Mr. Marshall when Ben-Sholom was 21 months old and returned to
     California to live with her mother and brother, Dr. Geshuri concluded that there was no damage on
27   account of the abuse, since Ben-Sholom was returned to safety. Dr. Wynbrandt pointed out, however,
     that life in the home of Ben-Sholom’s grandmother was unstable, since Ben-Sholom’s uncle suffered
28   from schizophrenia and there were many babysitters.

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 1            Ben-Sholom’s long history of self-destructive behavior, depression, and stress in the years
 2   preceding the crime would have presented compelling evidence of mitigation. The combined import
 3   of the unstable and tormented upbringing and expert testimony explaining the psychological impact
 4   would have made for a compelling mitigating case. Dr. Rienzi found that Ben-Sholom suffered from
 5   PTSD, a fragmented sense of self, dissociation, and generally, a history of psychological torture. Dr.
 6   Wynbrandt opined that Ben-Sholom suffered from PTSD, borderline personality disorder, identity
 7   fragmentation, major depression, dissociative disorder, and committed the crime while under the
 8   substantial domination of others. Dr. Wynbrandt believed these conditions developed as the result of
 9   the abuse inflicted on Ben-Sholom, including the four month period when Ben-Sholom was a toddler
10   in Louisiana, the later persistent abuse after Ben-Sholom’s parents married, the instability in his
11   education, his suicidal ideation, his magical way of thinking, and his desire to belong to a cause.
12            The Warden’s contention that mental health evidence would have revealed aggravating factors
13   as through the testimony of Drs. Richmond and Geshuri is tempered by the fact that both of these experts
14   conceded that Ben-Sholom’s troubled background could have supported a diagnosis of PTSD. In Dr.
15   Geshuri’s case, most of his opinions rendered in 1985 and later on behalf of the Warden in his 2002
16   report were negated. With regard to Ben-Sholom’s exaggerated accounts of his bad acts, which Dr.
17   Geshuri accepted as true, he admitted that it is not always prudent to rely on the personal history of a
18   client referred by counsel where the client suffers from mental illness. He testified that his initial 1985
19   ASPD diagnosis did not factor in Ben-Sholom’s hypertension because it wasn’t reported. He also didn’t
20   know Ben-Sholom had attempted suicide four months before the crime with an Inderal overdose, cut his
21   wrist at age nine or ten, had suicidal thoughts since age ten, played “chicken” with diesels on the
22   freeway, had been in counseling at Kings View as a teenager, was depressed 95% of the time, suffered
23   from insomnia, was forced to convert to Jehovah’s Witnesses, was subjected to hateful anti-Semitism
24   by his father, was choked by his father, experimented with homosexuality, or expressed remorse for the
25   crime five days after the crime. Although Dr. Geshuri did note that Ben-Sholom changed schools 13
26   times from elementary school to high school, Dr. Geshuri did not give this fact much significance in
27   1985. During his evidentiary hearing testimony, however, Dr. Geshuri testified that all of the foregoing
28   facts were significant in that they could have caused stress, anger, fear, impairment to Ben-Sholom’s

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 1   sense of self, and impairment to his emotional stability. He (Dr. Geshuri) stated that he didn’t believe
 2   Mr. Alexander gave him a clear reference question and he conceded that he missed a lot of important
 3   events in Ben-Sholom’s life. On the other hand, Dr. Geshuri’s ASPD diagnosis was based in part on
 4   Ben-Sholom’s fictional representation that he had amassed a large store of weapons “obtained by
 5   burglaries and other means” and that he (Ben-Sholom) viewed himself as a world-class mercenary. Dr.
 6   Geshuri’s opinion that Ben-Sholom was unimpaired when he joined the mission to obtain weapons from
 7   the Teague residence was in part based on his own (Dr. Geshuri’s) experience as an Israeli soldier. The
 8   Court accepts Dr. Wynbrandt’s assessment that this “counter-transference” diminishes the force of Dr.
 9   Geshuri’s opinion.
10            In his 2002 report, Dr. Geshuri acknowledged that the abuse Ben-Sholom suffered may have
11   caused PTSD, but he discounted this condition as affecting his mental state at the time of the crime
12   because there was no indication of PTSD in any of the Kings View records and he felt the crime was a
13   well-planned operation. This belief was moderated when he learned that Kings View therapist, Mr.
14   Casillas, didn’t believe PTSD was in use as a diagnosis at the time Ben-Sholom was undergoing
15   counseling. Dr. Geshuri’s understanding of the well-planned manner in which the crime was carried
16   out also led him to reject the notion that Ben-Sholom was substantially dominated at the time of the
17   crime. Then, he learned that Dr. Richmond wrote in his January 2003 report that Ben-Sholom displayed
18   a histrionic personality disorder. This revelation is significant because one of the traits of histrionic
19   personality disorder is being suggestible or easily influenced by others. Dr. Geshuri agreed that an easily
20   influenced person could go along with something voluntarily and still be considered to be “influenced.”
21   Dr. Geshuri’s impression that Ben-Sholom had ASPD also was altered during the course of his
22   examination at the evidentiary hearing. He felt that Ben-Sholom’s active participation in counseling at
23   Kings View might have undercut the ASPD. He felt that Ben-Sholom’s responsibility in pursuing
24   administrative remedies to allow him to wear his yarmulke in the prison visiting area was inconsistent
25   with the usual irresponsibility associated with ASPD. Although he seemed unimpressed about Ben-
26   Sholom’s preparation of a San Quentin prisoner resource directory as demonstrative of sympathy and
27   concern for others (inconsistent with ASPD) because people with ASPD “remit” when the enter their
28   30's, Dr. Geshuri was no longer certain about Ben-Sholom’s manipulation of the system when he learned

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 1   that the prisoner resource directory was prepared when Ben-Sholom was in his 20's. Dr. Geshuri didn’t
 2   necessarily believe that Ben-Sholom’s correspondence with pen-pals mitigated his selfishness or
 3   dispelled the ASPD diagnosis.
 4            Dr. Richmond’s evidentiary hearing testimony did not concede as much as Dr. Geshuri’s, but did
 5   remit to a less emphatic position than presented in his January 2003 report. Based on his 1985
 6   examination of Ben-Sholom and numerous records, he concluded Ben-Sholom’s psychiatric condition
 7   at the time of the offense indicated a severe personality disorder, which included ASPD, borderline
 8   personality disorder, histrionic personality disorder, and narcissistic personality disorder. One of the
 9   hallmarks of Dr. Richmond’s impression of Ben-Sholom was that genetics, particularly with respect to
10   his father, played a key role in shaping the person Ben-Sholom became at the time of the crime. On the
11   other hand, with respect to PTSD, Dr. Richmond did find there was “more than sufficient cruelty and
12   abuse to contribute to this disorder,” although the most he conceded was that Ben-Sholom may have
13   suffered from PTSD and he didn’t think that it contributed to Ben-Sholom’s participation in the crime.
14   Although Dr. Richmond rejected the idea that Ben-Sholom committed the crime while under the
15   substantial domination of others, he did concede that one of the traits of histrionic personality disorder
16   is being suggestible or easily influenced by others or circumstances. Similarly, he testified narcissistic
17   personality disorder is a condition associated with being overly trusting of strong authority figures who
18   are seen as having the ability to magically solve problems. Nonetheless, Dr. Richmond thought Ben-
19   Sholom’s plan to join the Karen National Liberation Army was a real possibility, that he (Ben-Sholom)
20   actually may have had the mercenary training he talked about, and that paramilitary groups had heard
21   of him and contacted him when he got into trouble.90 The fact that Ben-Sholom, in fact, never
22   underwent mercenary training or any training as a jungle fighter undermines the foundation for Dr.
23   Richmond’s opinions. As much as Dr. Richmond minimized the importance of Dr. Wynbrandt’s
24   examination of Ben-Sholom ten years after the crime, Dr. Wynbrandt was actually able to sort out which
25   of Ben-Sholom’s stated experiences were truth and which were made up. Dr. Wynbrandt reported that
26   the “brotherhood of mercenaries” Ben-Sholom described in his confessions and early mental health
27
              90
              As noted above, Dr. Richmond accepted Ben-Sholom’s statement that “training took over”
28   when he discounted the notion Ben-Sholom may have been dissociating during the crime.

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 1   examinations amounted to nothing more than target practice and building a fort with friends (including
 2   John Calhoun) by the river. Understanding Ben-Sholom’s capacity to over-dramatize and exaggerate,
 3   Dr. Wynbrandt testified it was totally unrealistic for Ben-Sholom to have thought paramilitary mercenary
 4   groups would have been interested in him when he got into trouble. His miscreant-type behavior
 5   included burglarizing his mother’s house, drug use, running in and out of traffic, jumping off the roof
 6   of the Sequoia Mall, and getting into fights. Dr. Richmond also testified that the nightmares Ben-
 7   Sholom reported suggested emotional trauma and his adolescent death wish for his father suggested
 8   extreme anger. Further, he admitted that Ben-Sholom’s hypertension could have been a symptom of
 9   stress, although he discounted the diagnosis as only supported by a single blood pressure reading.
10   Contrary to Dr. Richmond’s understanding about Ben-Sholom’s hypertension diagnosis, there were three
11   blood pressure readings by the treating physician. Given this set of facts it is appropriate to credit Dr.
12   Richmond’s statement that Ben-Sholom’s hypertension could have been a symptom of stress. Like Dr.
13   Geshuri, Dr. Richmond found insignificant Ben-Sholom 13 school changes because children of military
14   families experience numerous moves and adjust well. Dr. Richmond’s dismissal in this regard was
15   troubling to Dr. Wynbrandt because unlike children of military families, Ben-Sholom’s frequent moves
16   were unplanned and disorganized. The Court agrees that comparing Ben-Sholom’s frequent school
17   changes to the education of military children, where schools are geared to receive these children, is ill-
18   conceived. Rather, the Court credits Dr. Richmond’s opinion that frequent school changes could have
19   impacted Ben-Sholom’s establishment of identity. Dr. Richmond appeared unmoved in his evidentiary
20   hearing testimony about Ben-Sholom having overdosed on Inderal, running in and out of traffic, jumping
21   off the Sequoia Mall, reporting depression 95% of the time, and having suicidal thoughts since he was
22   nine or ten years old. At most, he testified, these facts could have meant Ben-Sholom was depressed
23   in the years and months prior to the crime. Both Dr. Wynbrandt and Dr. Rienzi, however, saw these
24   factors as very important symptoms of long-term mental struggles. The fact that Dr. Richmond ascribed
25   little import to them is not dispositive in the prejudice analysis. Dr. Richmond also didn’t see any of the
26   acts which Ben-Sholom’s litigation team claims undermined ASPD as compelling. He disagreed that
27   Ben-Sholom initiated counseling at Kings View and he found Ben-Sholom’s continued connection with
28   Kings View was for purposes establishing a counter-authority when he didn’t like what was going on

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 1   at home. Dr. Richmond’s impression of Ben-Sholom’s Kings View experience, however, is in stark
 2   contrast to the contemporaneous impressions of Ben-Sholom’s therapist, Mr. Casillas. Mr. Casillas was
 3   impressed that Ben-Sholom was engaged in his therapy and was really trying to figure out what to do.91
 4   Next, Dr. Richmond found Ben-Sholom’s relationships with Judy Mayora and his pen-pals were self-
 5   serving and consistent with the manner in which people with ASPD move in and out of relationships.
 6   Dr. Richmond found the relationships superficial and warned that Ben-Sholom’s motives must be
 7   examined. In fact, both Dr. Wynbrandt and Mr. Park did examine the character of the relationships Ben-
 8   Sholom had with his pen-pals and post-incarceration instructors. Both found that Ben-Sholom
 9   demonstrated genuineness, true friendship, responsibility, persistence, and commitment. Dr. Richmond
10   also rejected the notion that Ben-Sholom showed empathy by the manner in which he shot Mrs. Teague
11   (so as not to cause her pain). Dr. Richmond believed Ben-Sholom avoided inflicting pain because he
12   hated people, like his father, who inflicted pain. Dr. Wynbrandt strongly disagreed. At first, Dr.
13   Richmond also testified that he didn’t believe Ben-Sholom’s statements of remorse for killing Mrs.
14   Teague were sincere. When Dr. Richmond reviewed Ben-Sholom’s statement at his second custodial
15   interview, that he felt very bad about the shooting and wouldn’t have committed the offense if he had
16   a second chance, Dr. Richmond conceded Ben-Sholom did show true remorse, but added that people
17   with ASPD can express remorse when the have to deal with the consequences of their behavior.
18            Regarding whether Ben-Sholom was acting under the substantial domination of others when he
19   killed Mrs. Teague, the evidence shows that Ben-Sholom was impelled by internal forces of histrionic
20   personality disorder and narcissistic personality disorder. As Dr. Wynbrandt explained and both Dr.
21   Richmond and Dr. Geshuri confirmed, people with these disorders are easily influenced and overly
22   trusting. It’s not that John Calhoun or Chris Seaman exerted untoward pressure or physical dominance
23   over Ben-Sholom to pull the trigger that ended Mrs. Teague’s life; it was that Ben-Sholom perceived
24   a hierarchal structure to the mission because of the conditioning he endured as a child and teenager.
25   Evidence that Ben-Sholom endured physical abuse on a regular basis from age seven and a half to age
26   17, observed his mother being routinely physically and emotionally abused, was programed to comply
27
              91
              These impressions were made contemporaneous with Ben-Sholom’s adolescent counseling.
28   See Exhibit 10 to the Petition.

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 1   with senseless orders, including in the middle of the night, was relentlessly emotionally and
 2   psychologically demeaned, including with anti-Semitic epithets, had to change schools once or twice
 3   a year, experienced isolation from being left alone as a youngster, was choked by his father at age 17,
 4   suffered from hypertension, had an anti-hypertensive medication prescribed with known depressive side
 5   effects, and experienced life-long depression, with early suicidal ideation, as well as recent acute
 6   depression after being discharged from the Army, contributed to form the young man who embraced
 7   membership in a military-type organization with an unrealistic goal of joining the Karen Liberation
 8   Army in Burma, via El Salvador. See Allen v. Woodford, 395 F.3d 979, 1007 (9th Cir. 2005)
 9   (humanizing evidence “portrays a person whose moral sense was warped by abuse, drugs, mental
10   incapacity, or disease or who acted out of passion, anger or other motive unlikely to reoccur”).
11            Upon reweighing the evidence, both that adduced at trial and at the evidentiary hearing, see
12   Williams, 529 U.S. at 397-98, the Court is satisfied that when considering the totality of the evidence,
13   at least one member of Ben-Sholom’s penalty phase jury would have voted for life without the
14   possibility of parole had Mr. Alexander presented mental state evidence through the testimony of mental
15   health experts. See Williams, 592 U.S. at 397-98; Douglas, 315 F.3d at 1090. This conclusion is
16   strengthened by the fact that the penalty verdict following the paltry mitigation evidence presented was
17   not an instant victory for the prosecution. The deliberations began with a vote favoring life by eight to
18   four and deliberations were protracted, lasting nearly 17 hours in contrast to the two and one half hours
19   from beginning to end of the actual penalty phase case. The state of these deliberations suggest a close
20   case. See Hamilton v. Vasquez, 17 F.3d 1149, 1163 (9th Cir. 1994), disapproved on other grounds,
21   Calderon v. Coleman, 525 U.S. 141 (1998); Sandoval v. Calderon, 241 F.3d 765, 779 (9th Cir. 2001).
22            While the Court is not convinced that the specific sentencing factors of extreme mental or
23   emotional disturbance under factor (d), substantial domination of another under factor (g), and mental
24   disease or defect under factor (h), were crucial to a life verdict, they were relevant. The substantial
25   domination factor (g), in particular was supported by the evidence that Ben-Sholom perceived himself
26   to be a soldier of low rank following orders when he shot Mrs. Teague. See Part A.1., supra, reviewing
27   the substance of Ben-Sholom’s custodial interviews. Without the crucial explanatory expert mental
28   health opinions, however, Ben-Sholom’s subjective beliefs were not compelling. On the other hand, the

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 1   argument that Mr. Alexander reasonably ignored the persuasive force of this mitigating evidence in
 2   hopes that the jurors’ focus would be deflected from the aggravating circumstances of the crime is not
 3   well taken. Nor was Mr. Alexander’s reliance on factor (b), the absence of uncharged violent criminal
 4   activity, and factor (c), the absence of prior felony convictions, compelling in the absence of an
 5   evidentiary basis or any cogent argument. If Mr. Alexander had omitted those factors, but introduced
 6   the mitigating evidence available at the time of Ben-Sholom’s trial, as presented in this habeas action,
 7   there is a reasonable probability the penalty phase verdict would have been different. Strickland, 466
 8   U.S. at 694. Like the defendant in Bean, 163 F.3d 1073 (9th Cir. 1998), Ben-Sholom was sentenced to
 9   death by a jury that had no understanding of the “indisputably sadistic treatment” inflicted upon him as
10   a child. Bean, 163 F. 3d. at 1081. Nor was the jury aware of well-established psychological criteria for
11   Ben-Sholom’s mental state at the time of the crime.
12            Claim 19 is granted.
13   V.       Trial Error for Failure to Instruct, Sua Sponte, on the Substantial Domination Sentencing
14            Factor under Penal Code § 190.3(g) (Claim 16).
15            In the October 5, 2001 order, the Court stated:
16            The Court’s determination to grant Ben-Sholom an evidentiary hearing on Claim 19 and
              concomitant decision to resolve the penalty phase challenges on evidence potentially
17            more favorable than was adduced at trial [ ] renders the resolution of Claim 16, as
              pleaded, superfluous. Since the Court will consider evidence in excess of that considered
18            by Ben-Sholom’s jury, it simply is not necessary to speculate about how the jury might
              have responded to the trial evidence had the omitted instruction been read.
19
20   Part X.B. at p. 193.
21            The Court has now found with respect to Claim 19 that substantial mitigating evidence could
22   have been developed and presented to Ben-Sholom’s jury to persuade at least one member to vote for
23   life without the possibility of parole. This evidence includes Ben-Sholom susceptibility to being
24   influenced by and trusting others, desperately wanting to belong to a cause, and magical thinking, all
25   relevant to the notion that he acted under the substantial domination of others, even though no one was
26   exerting physical force over him. Even with the presentation of this evidence, the Court declined to find
27   a separate instance of ineffective assistance of counsel for Mr. Alexander’s failure to request the factor
28

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 1   (g) instruction. Accordingly the trial court did not err in failing to raise the factor (g) substantial
 2   domination sentencing factor sua sponte.
 3            Claim 16 is denied on the merits.
 4   VI.      Juror Misconduct for Prejudging the Penalty (Claim 22).
 5            Claim 22 of the Petition alleges that Juror Kenneth Richard Gildez committed juror misconduct
 6   for prejudging the penalty proceedings, in that he made up his mind to vote for the death penalty as soon
 7   as he heard the tape recording of Ben-Sholom’s confessions during guilt proceedings.
 8            A.       Summary of the Relevant Facts.
 9            The facts relevant to the prejudging claim are derived from the trial proceedings, pre-evidentiary
10   hearing offers of proof, and from the evidentiary hearing itself.
11                     1.        Trial Proceedings.
12            During voir dire, Mr. Gildez confirmed that he felt “the death penalty is appropriate in certain
13   circumstances.” RT-3: 463. He explained he would not automatically impose the death penalty, but his
14   decision “would depend on the facts.” Id.: 465. He further gave his assurance that he would consider
15   all sentencing factors before reaching a decision on the appropriate sentence. Id.: 466-72. During the
16   course of the guilt phase proceedings Mr. Gildez and all the jurors were admonished repeatedly not to
17   form any opinion until the case was submitted for a decision. RT-11: 1905 (initial admonition after
18   being sworn in); 1934 (lunch recess, Monday, February 3, 1986); id.: 1989 (mid-afternoon recess,
19   February 3, 1986); Id.: 2034 (evening recess, February 3, 1986); RT-12: 2069 (mid-morning recess,
20   Tuesday, February 4, 1986); id.: 2101 (lunch recess, February 4, 1986); id.: 2158 (mid-afternoon recess,
21   Tuesday, February 4, 1986); id.: 2203 (evening recess, February 4, 1986); RT-13: 2270 (lunch recess,
22   Wednesday, February 5, 1986). After the guilty verdicts and special circumstance findings were entered,
23   the trial judge further admonished the jurors they still hadn’t “finished all segments of this trial,” and
24   were not to “discuss testimony or evidence or law or the subject matter of this case with anybody until
25   after we finally conclude next week with the penalty phase.” Id.: 2346.
26                     2.        Pre-Evidentiary Hearing Offers of Proof.
27            In Ben-Sholom’s offer of proof for his evidentiary hearing request, he presented a declaration
28   executed August 15, 1988 over Mr. Gildez’s signature. This declaration was prepared by defense

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 1   investigator Irene Zupko after she interviewed Mr. Gildez earlier in the year (1988). In pertinent part,
 2   Mr. Gildez stated with respect to the penalty determination:
 3            On the first ballot, I was somewhat surprised that many of the female jurors voted for life
              without the possibility of parole instead of death. My own mind was made up to vote for
 4            death as soon as I heard the well thought out manner in which the crime was planned; I
              would have voted against death if the evidence showed that the killing was accidental.
 5
 6   The critical statement from this excerpt is “My own mind was made up to vote for death as soon as I
 7   heard the well thought out manner in which the crime was planned.” (Emphasis added.)
 8            In light of Mr. Gildez’s statement that he made up his mind to vote for death when he “heard”
 9   the “well thought out manner in which the crime was planned,” and given that evidence of how “the
10   crime was planned” was adduced during the presentation of Ben-Sholom’s confession at guilt
11   proceedings, the Court determined that further inquiry should be made as to when Mr. Gildez actually
12   decided to vote for death. The Court further determined this statement was neither totally ambiguous
13   nor conclusive.
14            On December 6, 2001, the Warden’s attorneys and an investigator conducted an interview of Mr.
15   Gildez to explore this issue. Over Ben-Sholom’s objections, the Court determined the Warden could
16   file Mr. Gildez’s supplemental declaration, which was so filed on September 27, 2002. See Order
17   Denying Petitioner’s Motion to Preclude Evidence, filed April 26, 2002, document 328. In his second
18   declaration, admitted on behalf of the Warden and executed on September 17, 2002, Mr. Gildez
19   addressed the issue of when he made his penalty decision to vote for the death penalty and whether he
20   truthfully answered voir dire questions and followed the trial court’s admonitions. See Exhibit A to
21   EHT. Mr. Gildez confirmed that he truthfully answered voir questions and followed the trial court’s
22   admonitions not to form an opinion until the case was submitted for a penalty decision. With respect
23   to the critical statement, that he made up his mind to vote for death as soon as he heard the well thought
24   out manner in which the crime was planned, he affirmed this referred to “a discussion of what occurred
25   during the penalty phase deliberations,” and during those deliberations, “the jury reviewed all the facts
26   which had been presented during both phases of the trial.” During penalty deliberations, Mr. Gildez
27   “listened to and recalled the evidence of how the crime was planned.” He stated that his consideration
28   of this evidence “became the determinative factor in [his] penalty decision.” He conceded that the

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 1   interpretation of the emphasized statement by Ben-Sholom was understandable, but nonetheless
 2   incorrect. He stressed that he maintained an open mind about the appropriate penalty until the case was
 3   submitted to the jury for a penalty determination.
 4                     3.        Evidence Adduced at the Evidentiary Hearing.
 5            On direct examination, Mr. Gildez confirmed that the prior to his meeting with members of the
 6   Warden’s litigation team, he was informed the primary concern was “the point in time” he determined
 7   Ben-Sholom92 “deserved the death penalty for what he had done.” EHT-3: 378. He understood from the
 8   initial contacts that the purpose of the meeting with the Warden’s litigation team was to clarify this issue.
 9   Id.: 379-80. Mr. Gildez did not remember which witnesses testified at the guilt phase proceedings and
10   which testified at the penalty phase proceedings. Id.: 390. In response to questioning by Ben-Sholom’s
11   counsel Ms. Milrod, he recalled that in his mind, the evidence which established Ben-Sholom’s guilt was
12   his taped confession. Id.: 391.
13            The Court sustained an objection to further questions testing Mr. Gildez’s recollection about the
14   state trial proceedings. Id.: 391-407. Instead, the Court suggested that Ms. Milrod’s direct examination
15   focus on the reason the two declarations Mr. Gildez executed were inconsistent by questioning him
16   about the intervening interview with the Warden’s litigation team. Id. 407-12.
17            The circumstances of his signing of the first declaration (prepared by Ms. Zupko) include that
18   he initially thought she was working for the prosecution arm of the government. At some later point,
19   however, perhaps contemporaneous with signing the declaration, Ms. Zupko informed him that she was
20   working for Ben-Sholom’s appellate counsel. Id.: 412-18. Mr. Gildez may have suspected she was
21   working for the defense prior to that, and he certainly knew it afterwards, but he wasn’t sure when his
22   suspicions solidified into a conclusion. Id.: 419. When Ms. Zupko presented him with the 1988
23   declaration for his signature, he read it through and satisfied himself that it was not false or misleading.
24   Id.: 426.
25            During the December 2001 interview with the Warden’s litigation team, Mr. Gildez learned that
26   if in fact he made the determination to vote for the death penalty during the guilt phase, “that could be
27
              92
               Mr. Gildez knew Ben-Sholom as Ryan Marshall. All questions regarding the trial proceedings
28   referred to Ben-Sholom by this birth name, Ryan Marshall or Mr. Marshall.

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 1   considered as prejudice,” and if that occurred, “[i]t might have influenced the outcome of the penalty
 2   phase.” Id.: 428. He derived this understanding from information conveyed to him by the Warden’s
 3   counsel Deputy Attorney General J. Robert Jibson. Id.: 429-30. Mr. Gildez also understood from Mr.
 4   Jibson that if he (Mr. Gildez) executed the second declaration, he might not be called to give live
 5   testimony. Id.: 431. During the interview with the Warden’s litigation team, Mr. Gildez explained what
 6   he meant in the first declaration by his statement as to when he determined to vote for the death penalty,
 7   and he did so before conversing any further with or receiving prompting from Mr. Jibson. Id.: 436-37.
 8   He explained:
 9            So the wording is not necessarily mine, although some of the words are words that I said.
              But the – what I mean by that is we’re talking about this declaration, the guilt phase of
10            the trial had already been decided. We’re now in the penalty phase and we’re talking
              about voting for – or doing the ballot for the penalty.
11
12   Id.: 437-38. He further clarified that the context of his making up his mind was after the first ballot
13   during penalty deliberations. Id.: 438. Although the penalty phase was not the first time Mr. Gildez
14   heard how the crime was committed, it was the first time he considered the appropriate penalty, because
15   that is what he was instructed to do. Id.: 438-39.
16            On cross examination, Mr. Gildez confirmed that Mr. Jibson did not put words in his (Mr.
17   Gildez’s) mouth or tell him that the Warden’s litigation team needed to get a particular result in the case.
18   Id.: 442. What Mr. Gildez understood after his initial conversation with Mr. Jibson in December 2001
19   was that the Court had a concern and saw an ambiguity in the first declaration. Id.: 444. After reviewing
20   the second declaration, Mr. Gildez did not discern a conflict between it and the first declaration. Id.:
21   445.
22            On direct examination Ms. Zupko stated that she identified herself to Mr. Gildez as an
23   investigator for the California Appellate Project when she first met Mr. Gildez. EHT-4: 587. She gave
24   him her business card and him (as she told all jurors she interviewed) that she was working for Michael
25   Snedeker, Ben-Sholom’s appellate attorney. Id.: 588. Mr. Gildez signed the declaration and didn’t ask
26   Ms. Zupko to make any changes to it. Nor did he express to her any surprise that she worked for the
27   defense. Id. 591-92. On cross examination, Ms. Zupko stated her objective in talking with Mr. Gildez,
28   as with talking to any juror, was to inquire about the process of deliberations. Id.: 593. She did not tell

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 1   Mr. Gildez or any juror she interviewed she was trying to get the verdict overturned, because that was
 2   not her job. She categorically denied any deception. Id.: 594-95.
 3            B.       Analysis.
 4            The legal principles applicable to Claim 22 are the same now as they were when the Court issued
 5   the October 5, 2001 order. “The bias or prejudice of even a single juror” violates a criminal defendant’s
 6   “right to a fair trial.” Dyer v. Calderon, 151 F.3d 970, 973 (9th Cir. 1998) (en banc). “Actual bias
 7   against a defendant on a juror’s part is sufficient to taint an entire trial.” Green v. White, 232 F.3d 671,
 8   676 (9th Cir. 2000). The presence of juror bias is a structural error not subject to harmless error analysis.
 9   Dyer, 151 F.3d at 973, n. 2 (quoting United States v. Allsup, 566 F.2d 68, 71 (9th Cir. 1977); see Brecht
10   v. Abrahamson, 507 U.S. 619, 629 (1993) (structural errors infect the integrity of the entire trial process).
11            The question to be resolved at the evidentiary hearing was whether the “bias” shown by Mr.
12   Gildez’s first, 1988 declaration is the type of bias which deprived Ben-Sholom of his due process rights
13   to a fair trial. See Dyer, 151 F.3d at 973 (quoting United States v. Hendrix, 549 F.2d 1225, 1227 (9th
14   Cir. 1977). The Warden endeavored to clarify this matter by submitting a second declaration over Mr.
15   Gildez’s signature in September 2002. The issue was further clarified at the evidentiary hearing.
16            Mr. Gildez clarified that when he said he decided the death penalty was appropriate when he
17   learned of the well thought out manner in which the crime was committed, he was referring to penalty
18   deliberations. In fact he did not make up his mind to vote for the death penalty during guilt proceedings,
19   because, as he testified at the evidentiary hearing, this would have been in contravention to the explicit
20   instructions and admonitions from the trial judge. Even though Mr. Gildez first heard evidence of the
21   well thought out manner in which the crime was planned during guilt proceedings when Ben-Sholom’s
22   custodial statement was presented, he didn’t at the time decide the penalty.
23            While it cannot be disputed that there is a contradiction between the first declaration and the
24   subsequent testimony (in the second declaration and the evidentiary hearing testimony), the Court is
25   satisfied that the alleged prejudging did not occur. Where Mr. Gildez’s first declaration recites “as soon
26   as I heard,” subsequent testimony has clarified the intent was “when I considered” the well thought out
27   manner in which the crime was planned. It cannot be disputed that Ben-Sholom’s custodial statements
28   describing the circumstances of the offense were proper factors for Mr. Gildez to consider in making his

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 1   individual penalty determination. During closing argument, Mr. Walton urged the jurors to consider the
 2   evidence presented during the guilt phase, emphasizing the circumstances of the crime.
 3            Claim 22 is denied on the merits for lack of factual support.
 4   VII.     Juror Misconduct for Receipt and Consideration of Extrinsic Evidence (Claim 23).
 5            In Claim 23, Ben-Sholom alleges a second form of juror misconduct against Mr. Gildez,
 6   interjecting extraneous and incorrect information for the jury’s consideration during penalty
 7   deliberations. That extraneous, incorrect information was that Ben-Sholom likely had a criminal record
 8   as a juvenile and that the reason so little evidence was presented about Ben-Sholom’s juvenile record
 9   was that juvenile records are sealed. The misconduct has already been determined to have occurred.
10   See People v. Marshall, 50 Cal. 3d 907, 949-50 (1990), as summarized in Part XII.B.2. of the October
11   5, 2001 order.
12             Prior to the evidentiary hearing, Ben-Sholom attempted to augment the extraneous evidence
13   argument of Claim 23 to include information juror Portia Bordeaux received from her law enforcement
14   husband. Specifically, Mr. Bordeaux purportedly told his wife, during her service on Ben-Sholom’s
15   jury, that life without the possibility or parole actually didn’t mean without parole. In her declaration,
16   Ms. Bordeaux averred that this information influenced her vote for the death penalty. Prior to receipt
17   of that information from her husband, she had been a “hold-out” for a sentence of life without parole,
18   but afterwards, she voted for the death penalty. Prior to the commencement of the evidentiary hearing,
19   on January 31, 2003, the Court excluded the testimony, since it was not contemplated by the allegations
20   of Claim 23. The order was without prejudice to further argument, which was presented on February
21   5, 2003. Prior to receipt of live testimony, on February 7, 2003, the Court again ruled that Ms.
22   Bordeaux’s testimony would be excluded. As stated on the record, see EHT-4: 584-85, Claim 23 is not
23   alleged broadly enough to include evidence of additional extraneous information apparently received
24   and considered by juror Bordeaux. Rather, Claim 23 alleges that juror Gildez volunteered information
25   about Ben-Sholom’s juvenile record and shared that with the other jurors.
26            The only issue left to decide is whether Mr. Gildez’s alleged misconduct in this regard had a
27   “substantial and injurious effect or influence in determining the jury’s verdict.” Sassounian v. Roe, 230
28   F.3d 1097, 1008 (9th Cir. 2000) (quoting Brecht, 507 U.S. at 623). In making his argument to the Court

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 1   in advance of the October 5, 2001 order, Ben-Sholom focused on sentencing factors § 190.3(b) (absence
 2   of uncharged violent criminal activity) and (c) (absence of prior felony convictions), arguing that Ben-
 3   Sholom’s juvenile records would have been inadmissible under either factor.
 4            In light of the extensive analysis concerning Mr. Alexander’s failure to present a persuasive
 5   mitigation case, inquiry into the inadmissibility of Ben-Sholom’s juvenile records is superfluous. Ben-
 6   Sholom’s right to a constitutional penalty trial was violated because of Mr. Alexander’s constitutionally
 7   ineffective representation. Further, the presentation of mitigating evidence in these proceedings includes
 8   key evidence of Ben-Sholom’s suicidal and patricidal thoughts. As the Court has observed, Ben-
 9   Sholom’s case was not a particularly suitable case for a mitigation under factor (b). In any event,
10   because of the complete alteration in the state of the evidence that would have been presented to the jury
11   had Mr. Alexander performed competently, Mr. Gildez’s misconduct is moot and Claim 23 is denied
12   on that basis.
13   VIII. Disproportionality of the Death Sentence (Claim 27).
14            The last claim reserved until after the evidentiary hearing was that portion of Claim 27 pertaining
15   to intra-case proportionality. The inquiry for this remaining issue is whether Ben-Sholom’s death
16   sentence was disproportionate in comparison with the circumstances of the crime and the mitigation
17   evidence presented in this habeas proceeding. See Part XIII., October 5, 2001 order, at p. 216. The
18   Court declines to make this determination in light of the grant of Claim 19. Claim 27 is denied as moot.
19   IX.      Challenge to Fair-Cross Section Requirement (Claim 14).
20            In Claim 14 of the Petition, Ben-Sholom alleged a Sixth Amendment violation regarding the
21   proportion of Hispanics selected for jury service in Tulare County at and around the time of his trial.
22   This claim is governed by Duren v. Missouri, 439 U.S. 357 (1979). To establish a prima facie violation
23   of the fair-cross section requirement Ben-Sholom must show:
24            (1) that the group alleged to be excluded is a “distinctive” group in the community; (2)
              that the representation of this group in venires from which juries are selected is not fair
25            and reasonable in relation to the number of such persons in the community; and (3) that
              this underrepresentation is due to the systematic exclusion of the group in the jury
26            selection process.
27   Id. at 364.
28

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 1            In reviewing this claim and request for an evidentiary hearing, the Court considered the offer of
 2   proof from sociologist J. Dennis Willigan, Ph.D.         Dr. Willigan constructed a statistical model to
 3   estimate the adult Hispanic population in Tulare County, generally, and in jury venires during the years
 4   1985 and 1986. Based on data obtained from the Census Bureau, Dr. Willigan calculated 21.69% for
 5   the proportion of Hispanics in the general population. Separately, after adjusting this figure for the
 6   “known” undercount of Hispanics by census takers, he arrived at 26.14% figure. He also determined
 7   that Tulare County jury venires during the relevant period were only 10.96% Hispanic. Using the high
 8   and low figures for the Hispanic population proportion in the County, he calculated high and low
 9   absolute disparity figures of 15.18% (26.14% - 10.96%) and 10.73% (21.69% - 10.96%). The 15.18%
10   figure is statistically significant for meeting the second prong of the Duren test. See United States v.
11   Rodriguez-Lara, 421 F.3d 932, 944 (9th Cir. 2005) (absolute disparities of 15.4% and 14.1% in collected
12   cases found to be sufficient to meet the second prong in Duren). It is not certain whether the 10.73%
13   figure is sufficient. See id. (underrepresentation of a distinctive group where the absolute disparity is
14   7.7% or lower is insufficient under the second Duren prong). The Court expressed concern about the
15   process Dr. Willigan employed to arrive at his statistical figures as it appeared he utilized a statistical
16   model rather than reviewing actual juror lists. The Court also found troubling that the actual proportion
17   of Hispanics in Ben-Sholom’s venire was as high18.61% .93 Rather than base its decision to deny further
18   evidentiary development for failure to make out a prima facie case on the second, Duren prong, however,
19   the Court proceeded to the third Duren prong.
20            Relying on United States v. Footracer, 189 F.3d 1058 (9th Cir. 1999), the Court concluded that
21   Ben-Sholom had not made a sufficient showing for “systematic exclusion.” Since the October 5, 2001
22   order was drafted, the Footracer opinion was withdrawn, 252 F.3d 1059 (9th Cir. 2001), and an
23   unpublished disposition of the case has been filed in its stead. See 16 Fed.Appx. 595 (9th Cir. 2001).
24   Accordingly, the Court’s reliance on Footracer is no longer valid. Nonetheless, Ben-Sholom still has
25   not made out a prima facie case under the third Duren prong, as he has not alleged what procedures
26
27            93
              This finding was made after the Court’s review of the 231 names on Ben-Sholom’s venire.
     Based on review of names (nominal review) it appeared to the Court that 43 of those persons may be
28   Hispanic. That amounts to 18.61% (43 ÷ 231 = .186147).

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 1   Tulare County utilized to systematically exclude Hispanics. Rather, he has relied solely on Dr.
 2   Willigan’s findings that the differences between the proportion of Hispanics in the general population
 3   and the proportion of Hispanics in the jury venires were attributable to many, many standard deviations:
 4   56 standard deviations respecting the low, 10.73% absolute disparity figure, and 68 standard deviations
 5   for the high, 15.18% absolute disparity figure.
 6            This showing is insufficient under controlling precedent.
 7            A showing that a jury venire underrepresents an identifiable group is, without more, an
              insufficient showing of systematic exclusion under the third prong of the Duren test. If
 8            underrepresentation by itself were sufficient to support a holding of unconstitutionality,
              the second and third prong of Duren would effectively collapse into one inquiry.
 9
10   Randolph v. California, 380 F.3d 1133, 1141 (9th Cir. 2004). Just as the petitioner in Randolph could
11   not prevail with respect to a challenge to the Fresno County jury selection process, Ben-Sholom cannot
12   satisfy the third Duren prong “because he has failed to present any evidence that the underrepresentation
13   of Hispanics is due to the system [Tulare] County uses to assemble the venire.” Id. Nothing is alleged
14   at all about the process by which jurors are selected for Tulare County venires.
15            Claim 14 is denied on the merits.
16   X.       Order.
17            Having considered all the pleadings, records, submitted evidence, and arguments of the parties,
18   the Court rules as follows.
19            The Warden’s request for judicial notice of the Frierson order and Baranyi Transcript is granted.
20            Ben-Sholom’s request to expand the record to include the supplemental declaration of Karen
21   Froming, Ph.D., defense trial exhibit photographs, and the original of the declaration of Mavis Gilbert
22   is granted.
23            Claim 19 is granted. A writ of habeas corpus shall issue directing the State of California to
24   vacate and set aside the death sentence in People v. Ryan Michael Marshall, Tulare County Superior
25   Court Case No. 23087, unless within 90 days of the entry of judgment herein, the State of California
26   initiates proceedings to retry Ben-Sholom’s sentence. In the alternative, the State of California shall
27   re-sentence Ben-Sholom to life without the possibility of parole.
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 1            All other claims presented in the Petition are denied. Claims 14, 16, and 22 are denied on the
 2   merits pursuant to this order. Claims 23 and 27 are denied as moot pursuant to this order. All other
 3   claims are denied pursuant to the October 5, 2001 order.
 4            The Clerk is directed to enter judgment forthwith.
 5            IT IS SO ORDERED.
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 7   Dated:       July 11, 2008                                         /s/ Anthony W. Ishii
                                                                          Anthony W. Ishii
 8                                                                 United States District Judge
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